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                               EXHIBIT 11
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     1                  UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3                               - - -
     4    IN RE:    NATIONAL                 )
          PRESCRIPTION                       )   MDL No. 2804
     5    OPIATE LITIGATION                  )
          ___________________________ )          Case No.
     6                                       )   1:17-MD-2804
          THIS DOCUMENT RELATES              )
     7    TO ALL CASES                       )   Hon. Dan A. Polster
     8                               - - -
     9                    Tuesday, August 7, 2018
    10          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                           CONFIDENTIALITY REVIEW
    11
                                     - - -
    12
    13              Videotaped deposition of Jennifer R. Norris,
    14    held at the offices of BakerHostetler, 200 Civic Center
    15    Drive, Suite 1200, Columbus, Ohio, commencing at
    16    8:09 a.m., on the above date, before Carol A. Kirk,
    17    Registered Merit Reporter and Notary Public.
    18
    19                               - - -
    20
    21
    22
    23                   GOLKOW LITIGATION SERVICES
                    877.370.3377 ph | 917.591.5672 fax
    24                         deps@golkow.com

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                                                      Page 2                                                      Page 4
    1          A P P E A R A N C E S:                             1 On behalf of McKesson:
    2 On behalf of the Plaintiffs:                                       COVINGTON & BURLING LLP
          MCHUGH FULLER LAW GROUP                                 2      BY: EMILY L. KVESELIS, ESQUIRE
    3     BY: MICHAEL J. FULLER, JR., ESQUIRE                              ekveselis@cov.com
             mike@mchughfuller.com                                3        MARK H. LYNCH, ESQUIRE
    4     97 Elias Whiddon Road                                            mlynch@cov.com
          Hattiesburg, Mississippi 39402                          4        (VIA TELECONFERENCE)
    5     601-261-2220                                                   One CityCenter
             and                                                  5      850 Tenth Street, NW
    6     GREENE KETCHUM FARRELL BAILEY & TWEEL LLP
          BY: PAUL THOMAS FARRELL, JR., ESQUIRE                          Washington, DC 20001
    7        paul@greeneketchum.com                               6      202-662-5110
          419 11th Street                                         7 On behalf of Endo Pharmaceuticals, Inc. and
    8     Huntington, West Virginia 25701                           Endo Health Solutions Inc.:
          304-521-4778                                            8      ARNOLD & PORTER KAYE SCHOLER, LLP
    9                                                                    BY: ANGEL TANG NAKAMURA, ESQUIRE
      On behalf of the Cardinal Health, Inc.:                     9        angel.nakamura@apks.com
   10     WILLIAMS & CONNOLLY LLP                                          (VIA TELECONFERENCE)
          BY: ENU MAINIGI, ESQUIRE                               10      777 S. Figueroa Street, Suite 4400
   11        emainigi@wc.com                                             Los Angeles, California 90017
             NEELUM J. WADHWANI, ESQUIRE                         11      213-243-4000
   12        nwadhwani@wc.com                                    12 On behalf of Teva Pharmaceuticals USA, Inc., Cephalon,
          725 Twelfth Street, N.W.                                  Inc., Watson Laboratories, Inc., Actavis LLC, Actavis
   13     Washington, DC 20005                                   13 Pharma, Inc., f/k/a Watson Pharma, Inc.:
          202-434-5420                                                   MORGAN, LEWIS & BOCKIUS LLP
   14                                                            14      BY: JONATHAN E. MAIER, ESQUIRE
      On behalf of the AmerisourceBergen:                                  jonathan.maier@morganlewis.com
   15     REED SMITH LLP                                         15        (VIA TELECONFERENCE)
          BY: ROBERT A. NICHOLAS, ESQUIRE                                1111 Pennsylvania Avenue, NW
   16        rnicholas@reedsmith.com                             16      Washington, DC 20004
          Three Logan Square                                             202-739-5806
   17     1717 Arch Street, Suite 3100                           17
          Philadelphia, Pennsylvania 19103
   18     215-851-8100                                              On behalf of Anda, Inc.:
   19 On behalf of HBC:                                          18     FOLEY & LARDNER LLP
          MARCUS & SHAPIRA LLP                                          BY: KATY E. KOSKI, ESQUIRE
   20     BY: ERIN GIBSON ALLEN, ESQUIRE                         19       kkoski@foley.com
             allen.marcus-shapira.com                                     (VIA TELECONFERENCE)
   21     One Oxford Center, 35th Floor                          20     111 Huntington Avenue, Suite 2500
          301 Grant Street                                              Boston, Massachusetts 02199
   22     Pittsburgh, Pennsylvania 15219-6401                    21     617-502-3242
          412-338-4682                                           22
   23                                                            23
   24                                                            24

                                                      Page 3                                                      Page 5
    1 On behalf of Walmart:                                       1 On behalf of the Allergan Defendants:
          JONES DAY                                                     KIRKLAND & ELLIS LLP
    2     BY: BRANDY H. RANJAN, ESQUIRE                           2     BY: PRATIK K. GHOSH, ESQUIRE
             branjan@jonesday.com
    3     325 John H. McConnell Boulevard, Suite 600                      pratik.ghosh@kirkland.com
                                                                  3       (VIA TELECONFERENCE)
          Columbus, Ohio 43215-2673
    4     614-469-3939                                                  300 North LaSalle
    5 On behalf of Prescription Supply, Inc.:                     4     Chicago, Illinois 60654
          PELINI, CAMPBELL & WILLIAMS LLC                               312-862-3689
    6     BY: PAUL B. RICARD, ESQUIRE                             5
             pbricard@pelini-law.com                                On behalf of Millinckrodt:
    7     8040 Cleveland Avenue NW, Suite 400                     6     ROPES & GRAY LLP
          North Canton, Ohio 44720                                      BY: MAX R. MAEROWITZ, ESQUIRE
    8     330-305-6400                                            7       max.maerowitz@ropesgray.com
    9 On behalf of Miami-Luken:
          JACKSON KELLY PLLC                                              (VIA TELECONFERENCE)
                                                                  8     800 Boyleston Street
   10     BY: JENNIFER L. HUGHES, ESQUIRE
             jhughes@jacksonkelly.com                                   Boston, Massachusetts 02199
   11     500 Lee Street East, Suite 1600                         9     614-951-7000
          Charleston, West Virginia 25301                        10 On behalf of The Kroger Company:
   12     304-340-1393                                                  BOWLES RICE LLP
   13 On behalf of CVS Indiana, LLC and CVS RX Services, Inc.:   11     BY: UNAIZA RIAZ, ESQUIRE
          ZUCKERMAN SPAEDER LLP                                           uriaz@bowlesrice.com
   14     BY: R. MILES CLARK, ESQUIRE                            12     600 Quarrier Street
             mclark@zuckerman.com
   15        ERIC R. DELINSKY, ESQUIRE                                  Charleston, West Virginia 25301
                                                                 13     304-347-1114
             edelinsky@zuckerman.com                             14
   16        (VIA TELECONFERENCE)
          1800 M Street NW, Suite 1000                           15 ALSO PRESENT:
   17     Washington, DC 20036-5807                              16    Caitlin E. Anderson, Esq., Cardinal Health
          202-778-1800                                                 A.J. Elkins, McHugh Fuller
   18                                                            17    Darnell Brown, Videographer
        On behalf of Johnson & Johnson and                             Gina Veldman, Trial Technician
   19 Janssen Pharmeceuticals:                                   18    Colleen McNamara, Williams & Connolly
            TUCKER ELLIS LLP                                           Matthew Monahan, Williams & Connolly
   20       BY: JUSTIN E. RICE, ESQUIRE                          19
               justin.rice@tuckerellis.com                             Miranda Petersen, Williams & Connolly
                                                                 20
   21       950 Main Avenue, Suite 1100                          21
            Cleveland, Ohio 44113
   22       216-592-5000                                         22                 ---
   23                                                            23
   24                                                            24

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    2        INDEX TO EXAMINATION
                                                              2             DESCRIPTION                  PAGE
                                                                CARDINAL-NORRIS
                                                              3 Exhibit 9     Document titled "Under the      96
    3 WITNESS                     PAGE
                                                                          Counter: The Diversion and
    4 JENNIFER R. NORRIS                                      4           Abuse of Controlled
                                                                          Prescription Drugs in the
    5   CROSS-EXAMINATION BY MR. FULLER:         14           5           U.S.," CAH_MDL_ PRIORPROD_
                                                                          DEA12_00001669
        CROSS-EXAMINATION BY MR. FARRELL:        169          6 CARDINAL-NORRIS
                                                                Exhibit 10 Memorandum for Asa Hutchinson, 102
    6   CROSS-EXAMINATION (CONT'D) BY MR. FULLER:      224    7           Administrator, Drug Enforcement
                                                                          Administrator from Glenn A.
    7                                                         8           Fine, Inspector General
    8                                                           CARDINAL-NORRIS
                                                              9 Exhibit 11     Document titled, "Hearing     105
    9                                                                     Before the U.S. Senate
                                                             10           Permanent Subcommittee on
   10                                                                     Investigations, Buyers Beware:
                                                             11           The Dangers of Purchasing
   11                                                                     Pharmaceuticals Over the
                                                             12           Internet," 6/17/2004
   12                                                           CARDINAL-NORRIS
                                                             13 Exhibit 12     861 Federal Reporter, 3d     116
   13                                                                     Series, Masters Pharmaceutical,
   14
                                                             14           Inc., v. Drug Enforcement
                                                                          Administration
                                                             15 CARDINAL-NORRIS
   15
                                                                Exhibit 13 Drug Enforcement Administration 140
   16                                                        16           to Cardinal Health, dated
                                                                          9/27/2006, CAH_MDL_PRIORPROD_
   17                                                        17           DEA07_00837645 - 837648
                                                                CARDINAL-NORRIS
   18                                                        18 Exhibit 14     Defendants Cardinal Health 110, 156
                                                                          Inc., and Cardinal Health 411,
   19                                                        19           Inc.'s Response to Plaintiff's
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   21                                                           Exhibit 15 Dear Registrant letter, dated 174
                                                             21           12/27/2007, CAH_MDL_PRIORPROD_
   22                                                                     DEA12_0001090 and 10981
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   23                                                           Exhibit 16 Document titled "HDMA Executive 185
                                                             23           Committee Meeting, 6/12/2016,"
   24                                                                     ABDCMDL00275057 - 275100
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    1  VIDEOTAPED DEPOSITION OF JENNIFER R. NORRIS            1           INDEX TO EXHIBITS
    2            INDEX TO EXHIBITS                            2            DESCRIPTION               PAGE
    3              DESCRIPTION                  PAGE            CARDINAL-NORRIS
      CARDINAL-NORRIS                                         3 Exhibit 17 Brief for Healthcare          190
    4 Exhibit 1     First Notice of Deposition     17                    Distribution Management
                Pursuant to Rule 30(b)(6) and                 4          Association and National
    5           Document Request Pursuant to                             Association of Chain Drug
                Rule 30(B)(2) and Rule 34 to                  5          Stores as Amici Curiae in
    6           Defendant Cardinal Health, Inc.                          Support of Neither Party
                                                              6 CARDINAL-NORRIS
      CARDINAL-NORRIS                                           Exhibit 18 Crisis Playbook: An            209
    7 Exhibit 2     Second Notice of Deposition      18       7          Interactive Guide to Crisis
                Pursuant to Rule 30(b)(6) and                            Communications,
    8           Document Request Pursuant to                  8          ABDCMDL00278063 - 278106
                Rule 30(B)(2) and Rule 34 to                    CARDINAL-NORRIS
    9           Defendant Cardinal                            9 Exhibit 19 DEA Compliance Manual, CAH_MDL_ 228
      CARDINAL-NORRIS                                                    PRIORPROD_DEA07_0138385 -
   10 Exhibit 3     Cardinal Health, Inc.'s      20          10          1384238
                Objections and Responses to                     CARDINAL-NORRIS
   11           First and Second Notice of                   11 Exhibit 20 Document titled "Required        228
                Deposition to Rule 30(B)(6)                              Reports to DEA," CAH_MDL_
   12 CARDINAL-NORRIS                                        12          PRIORPROD_HOUSE_ 0002197 - 2200
      Exhibit 4     Document titled "United States 21           CARDINAL-NORRIS
                                                             13 Exhibit 21 Document titled "Standard        234
   13           Code Annotated; Title 21. Food                           Operating Procedures, Corporate
                and Drugs; Chapter 13. Drug                  14          Quality & Regulatory
   14           Abuse Prevention and Control;                            Compliance," CAH_MDL_
                Subchapter 1. Control and                    15          PRIORPROD_DEA07_0118833 -
   15           Enforcement; Part A.                                     1188720
                Introductory Provisions"                     16 CARDINAL-NORRIS
   16 CARDINAL-NORRIS                                           Exhibit 22 Corporate Quality Regulatory 234
      Exhibit 5 Congressional Record from the 35             17          Compliance Manual, Issue Date:
   17           Controlled Substances Act                                6-15-2006, CAH_MDL_PRIORPROD_
      CARDINAL-NORRIS                                        18          DEA07_1188147 - 1188182
   18 Exhibit 6     Code of Federal Regulations     62          CARDINAL-NORRIS
                1301.74                                      19 Exhibit 23 Cardinal Health Corporate        238
   19 CARDINAL-NORRIS                                                    Compliance Policy, 2/5/2006
      Exhibit 7     Document titled "Title 21 -    66        20 CARDINAL-NORRIS
   20           Food and Drugs"                                 Exhibit 24 Document titled "Assurance of 240
                                                             21          Discontinuance Pursuant to
      CARDINAL-NORRIS                                                    Executive Law 63(15)"
   21 Exhibit 8     HathiTrust document,          69         22 CARDINAL-NORRIS
                "Oxycontin: Its Use and Abuse"                  Exhibit 25 Settlement and Release          275
   22                                                        23          Agreement and Administrative
   23                                                                    Memorandum of Agreement,
   24                                                        24          CAH_MDL_PRIORPROD_HOUSE_ 0004009- 4056

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    1        INDEX TO EXHIBITS (CONT'D)                             1 for AmerisourceBergen.
    2            DESCRIPTION                 PAGE
      CARDINAL-NORRIS                                               2       MS. RANJAN: Brandy Ranjan, Jones Day,
    3 Exhibit 26   Anti-Diversion - Know Your        249
               Customer Compliance Manual,                          3 for Walmart.
    4          CAH_MDL_PRIORPROD_DEA07_
               01181142 - CAH_MDL_PRIORPROD_                        4       MR. RICE: Justin Rice, Tucker Ellis, on
    5          DEA07_01181172                                       5 behalf of Johnson & Johnson and Janssen
      CARDINAL-NORRIS
    6 Exhibit 27   Sales - Highlight Report,     251                6 Pharmaceuticals.
               CAH_MDL_PRIORPROD_AG_
    7          0000344 - 347                                        7       MR. RICARD: Paul Ricard for
      CARDINAL-NORRIS
    8 Exhibit 28   Standard Operating Procedure, 254                8 Prescription Supply.
               Pharmaceutical Distribution,
    9          CAH_MDL_PRIORPROD_AG_                                9       MR. CLARK: Miles Clark from Zuckerman
               0000154 - 160                                       10 Spaeder on behalf of CVS Indiana LLC and CVS RX
   10 CARDINAL-NORRIS
      Exhibit 29 Custodial file containing      271                11 Services, Inc.
   11          various documents
      CARDINAL-NORRIS                                              12       MS. KVESELIS: Emily Kveselis from
   12 Exhibit 30   Thumb drive                261
      CARDINAL-NORRIS                                              13 Covington & Burling on behalf of McKesson.
   13 Exhibit 31   (Withdrawn)                287
      CARDINAL-NORRIS                                              14       MS. ALLEN: Erin Gibson Allen from
   14 Exhibit 32   E-mail to Mr. Brantley and      289
               others from Mr. Reardon, dated                      15 Marcus & Shapira on behalf of Defendant HBC.
   15          9/14/07, with attachments,
               CAH_MDL_PRIORPROD_DEA07_                            16       MS. ANDERSON: Caitlin Anderson,
   16          0119835 - 1198358
      CARDINAL-NORRIS                                              17 in-house counsel at Cardinal Health.
   17 Exhibit 33   E-mail chain ending with an     301
               e=mail to Michael Mone and                          18       MS. WADHWANI: Neelum Wadhwani,
   18          others from Ms. McPherson,
               dated 1/25/08                                       19 Williams & Connolly, on behalf of Cardinal Health.
   19 CARDINAL-NORRIS
      Exhibit 34 Administrative Memorandum            306          20       MS. MAINIGI: Enu Mainigi from
   20          Agreement, CAH_MDL_PRIORPROD_                       21 Williams & Connolly on behalf of Cardinal Health.
               BOP_0000042 - 49
   21 CARDINAL-NORRIS
      Exhibit 35 Document titled, "CVS 5195         310
                                                                   22       Also here from Williams & Connolly are
   22          Threshold Changes," Bates-                          23 Colleen McNamara, Matt Monahan, and Miranda
               stamped CAH_MDL_PRIORPROD_
   23          DEA12_00004729 - 4938                               24 Petersen.
   24
                                                         Page 11                                                   Page 13
    1                ---                                            1        THE VIDEOGRAPHER: Those on the phone?
    2           PROCEEDINGS                                         2        MR. LYNCH: Mark Lynch from Covington &
    3                ---                                            3 Burling for McKesson.
    4        THE VIDEOGRAPHER: Good morning. We are                 4        MR. MAIER: Jonathan Maier from Morgan
    5 now on the record. My name is Darnell Brown, and              5 Bockius for Teva.
    6 I'm the videographer with Golkow Litigation                   6        MS. KOSKI: Katy Koski from Foley &
    7 Services. Today's date is August 7, 2018, and the             7 Lardner for Anda, Inc.
    8 time is 8:09 a.m.                                             8        MR. DELINSKY: Eric Delinsky from
    9        This video deposition is being held in                 9 Zuckerman Spaeder for CVS Indiana and CVS RX
   10 Columbus, Ohio, in the matter of In Re: National             10 Services.
   11 Prescription Opioid Litigation for the United                11        MS. NAKAMURA: Angel Nakamura of
   12 States District Court for the Northern District of           12 Arnold & Porter for the Endo Defendants and the
   13 Ohio. The deponent is Jennifer Norris.                       13 Par Pharmaceutical Defendants.
   14        Counsel, please identify yourselves for               14        MR. GHOSH: Pratik Ghosh with Kirland &
   15 the record.                                                  15 Ellis for Allergan.
   16        MR. FULLER: Mike Fuller on behalf of                  16        MR. MAEROWITZ: Max Maerowitz with
   17 the Plaintiff.                                               17 Ropes & Gray for Millinckrodt.
   18        MR. ELKINS: A.J. Elkins for the                       18        MS. RIAZ: Unaiza Riaz with Bowles Rice
   19 Plaintiff.                                                   19 for Kroger Company.
   20        MS. VELDMAN: Gina Veldman for the                     20        MS. HUGHES: Jennifer Hughes from
   21 Plaintiff.                                                   21 Jackson Kelly for Miami-Luken.
   22        MR. FULLER: Paul Farrell will be here                 22        MR. FULLER: Anybody else?
   23 at some point on behalf of the Plaintiff.                    23        THE VIDEOGRAPHER: Okay. The court
   24        MR. NICHOLAS: Bob Nicholas, Reed Smith,               24 reporter is Carol Kirk, who will now swear in the


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    1   witness.                                            1    sourcing at one time. We had a corporate sales
    2                ---                                       2 group, sold all of the products and services
    3           JENNIFER R. NORRIS                             3 within Cardinal Health that I supported.
    4 being by me first duly sworn, as hereinafter certified, 4         I supported our specialty pharmaceutical
    5 deposes and says as follows:                             5 distribution business, our specialty services
    6           CROSS-EXAMINATION                              6 business, the 3PL, the third-party logistics
    7 BY MR. FULLER:                                           7 business we have, as well as working on 340B and
    8    Q. Ma'am, please state your name for the              8 other matters within pharmacy distribution.
    9 record.                                                  9    Q. I've seen 340B before. What's 340B?
   10    A. Jennifer Robison Norris.                          10    A. It's a federally mandated essentially
   11    Q. And, Ms. Norris, where are you currently          11 drug discount program for certain types of
   12 employed?                                               12 customers.
   13    A. Cardinal Health.                                  13    Q. Got it. Well, you have the pleasure or
   14    Q. And how long have you been at Cardinal            14 the curse of being designated today as a 30(b)
   15 Health?                                                 15 witness. Are you aware of that?
   16    A. Eighteen years.                                   16    A. I am.
   17    Q. And what is your current position at              17    Q. And do you understand what that means?
   18 Cardinal?                                               18    A. I do.
   19    A. I'm an attorney in the legal department.          19    Q. That's because you're a lawyer, right?
   20    Q. Do you have any particular title?                 20        MS. MAINIGI: Objection.
   21    A. I do. I'm vice president, associate               21    A. Because I'm a lawyer, and that's what I
   22 general counsel, mergers and acquisitions.              22 was asked to do.
   23    Q. I'm sorry. You said mergers and                   23    Q. Sure.
   24 acquisitions, right?                                    24    A. I was not aware of what a 30(b)(6)
                                                 Page 15                                                 Page 17
    1     A. Mm-hmm, and integration.                       1
                                                            witness was before I was asked to do this.
    2     Q. And how long have you held that title?       2     Q. Well, and just so everybody is on the
    3     A. I've been in that group -- my titles         3 same page then, that means you've been designated
    4 varied, but I've been in that group for             4 as the representative for Cardinal Health.
    5 approximately two years.                            5 Because Cardinal Health can't speak on its own,
    6     Q. And that's the mergers and acquisitions      6 you're here to speak on their behalf on certain
    7 and integrations group?                             7 subject matters. Is that your understanding?
    8     A. Yes.                                         8     A. That is my understanding.
    9     Q. How about prior to that?                     9                ---
   10     A. Prior to that, I was still a vice           10      (Cardinal-Norris Exhibit 1 marked.)
   11 president, associate general counsel, but I was in 11                ---
   12 our commercial group supporting our pharmacy       12     Q. And I'm going to attach as Exhibit 1 --
   13 distribution business primarily.                   13        MR. FULLER: And, Counsel, I'll just
   14     Q. When you say supporting pharmacy            14 hand everything to you, and you can take one and
   15 distribution, give me an understanding of what you 15 pass the extras down.
   16 would be doing in that role.                       16        And this is Norris 1 for the record, now
   17     A. My primary role was with acute care and     17 marked as Plaintiff's 1.
   18 alternate care customers, working on the customer 18 BY MR. FULLER:
   19 facing agreements and issues that came up from     19     Q. This is a copy of one of the two
   20 time to time with those customers.                 20 notices.
   21     Q. Okay. And how about prior to that?          21        Have you seen this document before?
   22     A. I've always been in that group. Again,      22     A. I have.
   23 my title has varied, and I've supported other      23     Q. Now, I'm going to sort of weave into
   24 groups within Cardinal Health. I supported         24 this in an agreement that your counsel and I have


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    1 related to certain topics. So you're going to be      1 testifying to all those topic areas that we just
    2 deposed on Notice 1 for Items A through N.            2 mentioned?
    3        Is that your understanding?                    3     A. I am.
    4     A. That is my understanding.                      4                ---
    5        MR. FULLER: And, Counsel, pursuant to          5      (Cardinal-Norris Exhibit 3 marked.)
    6 our agreement, that will be answered in writing at    6                ---
    7 a later date, right?                                  7     Q. And then in full fairness and
    8        MS. MAINIGI: Correct.                          8 disclosure, as counsel just mentioned, here is
    9        MR. FULLER: Okay.                              9 Plaintiff's Exhibit Number 3, which is Norris
   10 BY MR. FULLER:                                       10 Number 3, which is Cardinal Health's objections to
   11     Q. And do you feel comfortable being             11 the prospective 30(b)(6) notices.
   12 designated over those areas set out in Notice 1?     12        Have you seen this prior to today?
   13 And that's A through N.                              13     A. I have.
   14     A. I do.                                         14     Q. And you've had an opportunity to review
   15        MS. MAINIGI: Just for the purpose of          15 it as well?
   16 the record, Mr. Fuller, we will just note that she   16     A. I did review it.
   17 will testify consistent with the objections that     17     Q. All right. Now, ma'am, you are -- and I
   18 we served as to both notices.                        18 say "you." I'm sorry.
   19        MR. FULLER: We'll get there, too. I           19        Speaking on behalf of Cardinal, you're
   20 will give them -- give her those as well.            20 in the business of distributing prescription
   21                 ---                                  21 medications, as well as other things, correct?
   22      (Cardinal-Norris Exhibit 2 marked.)             22     A. Yes.
   23                 ---                                  23     Q. And that also includes controlled
   24                                                      24 substances; is that right?

                                                Page 19                                                 Page 21
    1 BY MR. FULLER:                                        1     A. Yes. Those are some of the prescription
    2    Q. Now, Norris Number 2, which is the              2 medications that we distribute.
    3 second 30(b) notice, will be marked as Plaintiff's    3     Q. And there are certain statutes and
    4 2 for the purposes of the deposition.                 4 regulations and rules that apply to you in
    5        Do you have that document now in front         5 distributing those medications; is that fair?
    6 of you?                                               6     A. Yes.
    7    A. I do.                                           7     Q. And one of them is the Controlled
    8    Q. Okay. And have you seen that document           8 Substances Act; is that right?
    9 previously?                                           9     A. Yes.
   10    A. I have.                                        10     Q. And we'll spend a good part of our day
   11    Q. Now, it's my understanding that with the       11 talking about the Controlled Substances Act and
   12 agreement of counsel, you're going to testify to     12 its various portions and parts.
   13 the subject areas of 7, 8, 12, and 22 with a         13         MR. FULLER: I'm going to mark as
   14 possibility of some examination on subject area      14 Plaintiff's Number 3 -- or excuse me --
   15 number 6.                                            15 Plaintiff's Number 4, which is Norris Number 4.
   16        Is that your understanding as well,           16                 ---
   17 Ms. Norris?                                          17      (Cardinal-Norris Exhibit 4 marked.)
   18    A. It is.                                         18                 ---
   19        MS. MAINIGI: And just to be clear,            19 BY MR. FULLER:
   20 Mr. Fuller, she is prepared to testify as to         20     Q. And you have that document in front of
   21 Topic 6 today.                                       21 you?
   22        MR. FULLER: All right.                        22     A. I do.
   23 BY MR. FULLER:                                       23     Q. Okay. And I'll represent to you that
   24    Q. And, Ms. Norris, are you comfortable           24 this is a portion of the Controlled Substances


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    1 Act, not the entire thing. And if you look there,         1     Q. That's all right.
    2 it says "United States Code Annotated. Title 21.          2        Does Cardinal agree with this statement?
    3 Chapter 13. Drug Abuse Prevention and Control."           3     A. In my personal --
    4        Do you see that?                                   4        MS. MAINIGI: Excuse me. Objection;
    5     A. I do.                                              5 scope.
    6     Q. And do you know that to be the portion             6        Go ahead.
    7 of the U.S. Code that contains the Controlled             7     A. In my personal capacity, I agree that's
    8 Substances Act?                                           8 what the words say.
    9     A. I believe so, yes.                                 9     Q. You also agree that controlled
   10     Q. And this is Subchapter 1, Part A,                 10 substances have legitimate medical purposes and
   11 Introductory Provisions.                                 11 are necessary to maintain the health and welfare
   12        And have you seen this before?                    12 of the American people?
   13     A. I have.                                           13     A. I agree that --
   14     Q. Okay. And you're aware that in Section            14        MS. MAINIGI: Objection; scope.
   15 801, Congress of the United States of America made       15     A. -- that was Congress' finding.
   16 certain declarations and findings; is that right?        16     Q. Okay. And read aloud Number 2 for us,
   17        MS. MAINIGI: Objection.                           17 Congress' second finding of this Controlled
   18     A. That's what the section says,                     18 Substances Act.
   19 "Congressional Findings and Declarations."               19     A. "The illegal importation, manufacture,
   20     Q. Okay. Particularly related to                     20 distribution, and possession and improper use of
   21 controlled substances --                                 21 controlled substances have a substantial and
   22        MS. MAINIGI: Objection.                           22 detrimental effect on the health and general
   23     Q. -- is that true?                                  23 welfare of the American people."
   24        MS. MAINIGI: Excuse me.                           24     Q. Does Cardinal agree and accept that that
                                                   Page 23                                                Page 25
    1     A. It goes on to say, colon, "Controlled              1
                                                            was the United States of America Congress' finding
    2 Substances."                                        2 related to controlled substances?
    3     Q. Yes, ma'am. And then it says, "Congress 3             MS. MAINIGI: Objection; scope.
    4 makes the following findings and declarations."     4     A. I agree that that's what the finding
    5        And if you would, let's start with the       5 says.
    6 first one and read that one aloud for us, please.   6     Q. Now, let's pull that apart a little bit.
    7     A. "Many of the drugs included within this      7 It says that "The illegal importation,
    8 subchapter have a useful and legitimate medical     8 manufacture, distribution, and possession and
    9 purpose and are necessary to maintain the health    9 improper use of controlled substances can have --
   10 and general welfare of the American people."       10 or has -- excuse me -- have a substantial and
   11     Q. Does Cardinal agree with that statement 11 detrimental effect on the health and general
   12 by Congress?                                       12 welfare."
   13        MS. MAINIGI: Objection; form.               13        For Cardinal's purpose, we're worried
   14 Objection; outside the scope of the agreed-upon    14 about -- or focused on the distribution, correct?
   15 notice 30(b)(6) topics.                            15 You don't manufacture, right?
   16        You may answer in your personal             16     A. Cardinal Health does not manufacture.
   17 capacity.                                          17     Q. Okay. And you don't actually use the
   18        As a short form, I will just from here      18 drugs  that you distribute either, do you?
   19 after say "Objection; scope," and the witness will 19     A. The company does not use the drugs.
   20 understand that she can answer the question        20     Q. So we're focused just on distribution.
   21 anyway.                                            21 So do you agree or disagree that the illegal
   22        MR. FULLER: Thank you.                      22 distribution of controlled substances have a
   23     A. Can you please repeat the question?         23 substantial detrimental effect on the health and
   24 Sorry.                                             24 general welfare of the American people?


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    1        MS. MAINIGI: Objection; scope.                1 This was created by a Paul Farrell, Jr.
    2    A. I agree that that's what the finding           2        MS. MAINIGI: Well, I'm glad it's marked
    3 says.                                                3 as an exhibit.
    4    Q. Do you agree that it can?                      4        MR. FULLER: The gentleman raising his
    5        MS. MAINIGI: Objection; scope.                5 hand down the table.
    6    A. The illegal distribution may.                  6 BY MR. FULLER:
    7    Q. That's fair enough.                            7     Q. So, ma'am, Ms. Norris, Cardinal is in
    8        And, again, as you know as a lawyer, I'm      8 the business of distributing Schedule II
    9 going to be asking you a bunch of questions, and     9 controlled substances, amongst other things; is
   10 I'm only asking that you answer to the best of      10 that right?
   11 your ability, okay?                                 11     A. It is.
   12        And if there's something that's unclear      12     Q. And you are also aware, as Cardinal,
   13 about my question, please ask me, and I'll          13 that Schedule IIs have a heightened standard when
   14 certainly try to clarify it the best I can.         14 dealing with them, heightened security standard;
   15    A. I understand.                                 15 is that correct?
   16    Q. And I assume counsel has told you this,       16        MS. MAINIGI: Objection.
   17 but if at any time you need a break, let me know.   17     A. I know that Schedule IIs, in addition to
   18 We'll take a break. We'll probably stop about       18 other controlled substances, have different
   19 every hour, give or take a little bit, and for      19 controls, for lack of a better word, that need to
   20 lunch. If you need anything more than that, no      20 be applied in the manufacture, distribution,
   21 problem. Just let me know. Fair?                    21 dispensing, prescribing, and using.
   22    A. I understand.                                 22     Q. Fair enough. Now, it says Schedule II.
   23    Q. Okay. And I was already moving to the         23 And read A to us, if you don't mind, please.
   24 next topic, and I've got multiple pages here.       24     A. Schedule II. A2?
                                                Page 27                                               Page 29
    1 Sorry.                                               1    Q. Yes, ma'am -- no, no. 2A.
    2        If you turn to the next page, page 2.        2     A. 2A?
    3 You see this is another section of the Controlled   3     Q. Yes, ma'am. I'm sorry.
    4 Substances Act. Do you see that at the top, Title   4     A. I'm sorry. "Schedule II. The drug or
    5 21, Chapter 13. Drug Abuse and Prevention --        5 other substance has a high potential for abuse."
    6 excuse me -- Drug Abuse Prevention and Control?     6     Q. Now, as Cardinal Health, you know that
    7     A. I see that.                                  7 Schedule IIs do have a high potential for abuse;
    8     Q. Okay. And it deals with the authority        8 is that correct?
    9 to control standards and schedules.                 9          MS. MAINIGI: Objection; scope.
   10        Do you see that?                            10     A. That's what the statute says here.
   11     A. I do.                                       11     Q. But as a distributor of controlled
   12     Q. Okay. And it's Section 812, Schedules       12 substances, and particularly Schedule IIs, do you
   13 of Controlled -- and I didn't put Schedules I,     13 also know that to be the case?
   14 III, IV, and V in here, because I didn't think it  14          MS. MAINIGI: Objection; scope.
   15 was necessary. I included Schedule II.             15     Q. Let me ask it differently. Maybe make
   16 Cardinal --                                        16 it a little easier.
   17        MR. FULLER: I'm sorry. Go ahead.            17          Sitting here today as Cardinal Health,
   18        MS. MAINIGI: So, Mike, just for the         18 do you agree that the U.S. Congress has determined
   19 purpose of the record, you have excerpted parts of 19 that Schedule IIs are drugs and other substances
   20 this regulation but left out other parts of the    20 that have a high potential for abuse?
   21 regulation?                                        21          MS. MAINIGI: Objection; scope.
   22        MR. FULLER: The code, yes, ma'am.           22     A. That is the definition that is included
   23        And to be fair, you're not going to be      23 in this statute.
   24 able to Google and find this on the Internet.      24     Q. That's the definition provided by the

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     1 U.S. Congress, correct?                               1    A. I see that title, yes.
     2     A. Yes, it is.                                    2    Q. And it's Section 821, Rules and
     3        MS. MAINIGI: Objection; scope.                 3 Regulations. If you would read that aloud to us,
     4     A. Yes, in this statute.                          4 please.
     5     Q. And read B to us, if you don't mind.           5    A. "The Attorney General is authorized to
     6     A. "The drug or other substance has a             6 promulgate rules and regulations and to charge
     7 currently accepted medical use in treatment in the    7 reasonable fees relating to the registration and
     8 United States or a currently accepted medical use     8 control of the manufacture, distribution, and
     9 with severe restrictions."                            9 dispensing of controlled substances and to listed
    10     Q. And Cardinal also accepts that finding        10 chemicals."
    11 by the U.S. Congress; is that right?                 11    Q. And does Cardinal agree or disagree that
    12        MS. MAINIGI: Objection; scope.                12 the Attorney -- the U.S. Attorney General has the
    13     A. That is what the statute says.                13 authority to enact these rules and regulations
    14     Q. And does Cardinal accept that finding by      14 related to both regulating as well as controlling
    15 Congress --                                          15 controlled substances?
    16        MS. MAINIGI: Objection; scope.                16        MS. MAINIGI: Objection; form.
    17     Q. -- or do you disagree?                        17 Objection; scope.
    18     A. That is what the statute says.                18    A. I agree the statute says the Attorney
    19     Q. So do you accept it or not?                   19 General is authorized to promulgate rules and
    20        MS. MAINIGI: Objection; scope.                20 regulations relating to the registration and
    21     A. In my personal capacity, that's what the      21 control of the manufacture, distribution, and
    22 statute says.                                        22 dispensing of controlled substances and listed
    23        MR. FULLER: Give me one second.               23 chemicals.
    24        (Pause in proceedings.)                       24    Q. And, again, the distribution part is
                                                 Page 31                                                Page 33
     1 BY MR. FULLER:                                        1
                                                            what applies to Cardinal. Can we agree on that?
     2    Q. Ma'am, read C to us aloud, please.           2    A. I agree that Cardinal Health is a
     3    A. "Abuse of the drug or other substances       3 distributor.
     4 may lead to severe psychological or physical       4    Q. Okay. And if you look down at the
     5 dependence."                                       5 bottom section, when does it indicate this statute
     6    Q. And do you agree with that finding by        6 was created? If you look down at the bottom, when
     7 the U.S. Congress related to Schedule II           7 does it indicate this statute was created?
     8 controlled substances?                             8        MS. MAINIGI: Objection; scope.
     9       MS. MAINIGI: Objection; scope.               9    A. The paper says October 27, 1970.
    10    A. I agree that's what the statute says.       10    Q. And do you know whether the -- strike
    11 I'm not a medical professional to opine on that   11 that.
    12 particular statement.                             12        Does Cardinal know whether the
    13    Q. Fair enough.                                13 Controlled Substances Act went into effect in
    14       Now, let's go to page 3. This is still,     14 1970?
    15 what, Exhibit 4.                                  15        MS. MAINIGI: Objection; scope.
    16       Ma'am, do you see at the top this is        16    A. I thought it was 1971, but --
    17 another section of the Controlled Substances Act, 17    Q. Somewhere around that time frame; is
    18 correct?                                          18 that fair?
    19    A. Yes.                                        19    A. The early '70s, yes.
    20       MS. MAINIGI: Objection.                     20    Q. We'll go to page number 4. And this
    21    Q. This deals with "Registration of            21 deals with registration requirements, Section 823.
    22 Manufacturers, Distributors, and Dispensers       22        Do you see that?
    23 Controlled Substances."                           23    A. I see Section 823, Registration
    24       Do you see that?                            24 Requirements.


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     1     Q. One of the things that the potential         1         Do you see that?
     2 distributor has to do is maintain the "maintenance 2      A. September 10, 1970. I see August 12,
     3 of the effective control against diversion of       3 1970.
     4 particular controlled substances into other than    4         MS. MAINIGI: I think he's on the prior
     5 legitimate medical, scientific, and industrial      5 page.
     6 channels."                                          6     A. Oh, you mean actually the first page?
     7        Did I read that correctly?                   7     Q. Yeah. I'm sorry.
     8     A. "Distributors of controlled substances       8     A. I'm sorry. September 10, 1970, yes.
     9 in Schedule I or Schedule II. The following         9     Q. Okay. And on that same page, you see up
    10 factors shall be considered."                      10 near the top, it's the Comprehensive Drug Abuse
    11        Now, I assume there are more factors.       11 Prevention and Control Act of 1970.
    12 You only listed one of them.                       12     A. Yes, I see that title.
    13     Q. That's correct, yes, ma'am.                 13     Q. Okay. And if you will for me turn to
    14     A. But one of the factors in determining       14 page 5. So we're on the same page, in the upper
    15 whether or not the issuance of a registration is   15 right-hand corner, there is a -- most of the
    16 inconsistent with the public interest is           16 documents are going to have a Norris and the
    17 maintaining -- maintenance of an effective control 17 number of the exhibit, or the way I've numbered
    18 against diversion of particular controlled         18 the exhibit, and then a dash and then a page
    19 substances into other than legitimate medical,     19 number. When I call out a page number, that will
    20 scientific, and industrial channels.               20 be what I will be referring to. Is that okay?
    21     Q. And sitting here today, do you take the     21     A. Okay.
    22 position that Cardinal maintains such effective    22     Q. All right. So if you go to page 5, this
    23 controls?                                          23 is titled -- or at least on this page this is
    24     A. Yes.                                        24 titled Control and Enforcement.

                                                Page 35                                               Page 37
     1               ---                                   1        Do you see that?
     2      (Cardinal-Norris Exhibit 5 marked.)            2     A. I see that title.
     3               ---                                   3     Q. And then read the first statement there.
     4     Q. Now, this is going to help us, at least      4     A. "The bill provides for control by the
     5 to some degree, talk about when that act was        5 Justice Department of problems related to drug
     6 passed.                                             6 abuse through registration of manufacturers,
     7        Counsel is handing you what is marked as     7 wholesalers, retailers, and all others in the
     8 Norris 5 and Plaintiff's Exhibit Number 5.          8 legitimate distribution chain and makes
     9        Have you seen this document before?          9 transactions outside the legitimate distribution
    10        MS. MAINIGI: Counsel, can you just          10 chain illegal."
    11 represent to us what it is so that we don't have   11     Q. Does Cardinal agree with that statement?
    12 to spend too much time taking a look through it?   12 Strike that. Let me ask it differently.
    13        MR. FULLER: Sure. It is the                 13        Does Cardinal accept that that is one of
    14 Congressional Record from the Controlled           14 the Congressional bases for passing this act?
    15 Substances Act.                                    15        MS. MAINIGI: Objection; scope.
    16     A. I have not seen this document before,       16     A. I acknowledge that that's what's written
    17 no.                                                17 in the record here.
    18     Q. Okay. And then, therefore, I will           18     Q. And that they make or are attempting to
    19 represent to you that it is the Congressional      19 make transactions outside the legitimate
    20 Record from the Controlled Substances Act. It's    20 distribution chain illegal?
    21 the discussion they had on the floor when they     21        MS. MAINIGI: Objection; scope.
    22 were passing the Act.                              22     A. That's the statement this language
    23        And if you look on the second page, it      23 makes.
    24 has a date of September 10, 1970.                  24     Q. And let me ask you -- we'll get to

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     1 regulations and such further down the road.           1 BY MR. FULLER:
     2        But as Cardinal, sitting here today, is        2    Q. So now if you'll turn to page 8 of this
     3 it your understanding that if we don't comply --      3 document.
     4 well, let me ask it differently.                      4        All right. Since this one is a little
     5        If we follow the regulations of the            5 longer, it's going to be my turn to read it, okay?
     6 Controlled Substances Act, then we are acting         6    A. Sure.
     7 legally. Would you agree with that?                   7    Q. I didn't think you'd object to that.
     8        MS. MAINIGI: Objection; form.                  8        On page 8 it says, "This bill is
     9 Objection; scope.                                     9 designed to improve the administration and
    10     A. The company's obligation is to follow         10 regulation of manufacturing, distribution, and
    11 the regulations and the guidance provided by the     11 dispensing of controlled substances by providing
    12 DEA.                                                 12 for a closed system of distribution for legitimate
    13     Q. And that includes the -- not just the         13 handlers of such drugs.
    14 regulations, but also the statutes pertaining to     14        "Such a closed system should
    15 it, correct?                                         15 significantly reduce the widespread diversion of
    16     A. The statutes, the regulations, the            16 these drugs out of the legitimate channels into
    17 applicable law.                                      17 the illegitimate market while at the same time
    18     Q. All the appropriate rules?                    18 providing the legitimate drug industry with a
    19     A. The applicable law as modified or             19 unified approach to narcotic and dangerous drug
    20 provided and the additional guidance by the DEA.     20 control."
    21     Q. Okay. And would you -- does Cardinal          21        Did I read that right?
    22 agree that if we don't follow those rules as         22    A. Generally.
    23 you've labeled them, that we are breaking the law?   23    Q. And does Congress -- excuse me.
    24        MS. MAINIGI: Objection; form.                 24        Does Cardinal accept that that was the
                                                 Page 39                                                 Page 41
     1 Objection; scope.                                     1 intent by the U.S. Congress, to create a closed
     2    A. A failure -- Cardinal Health's                  2 system of distribution?
     3 obligations are to follow the law.                    3        MS. MAINIGI: Objection; scope.
     4    Q. And if we don't follow the law, for             4    A. I agree that the language here discusses
     5 example, the Controlled Substances Act, then we're    5 the closed system of distribution.
     6 breaking the law --                                   6    Q. And then that was something that
     7       MS. MAINIGI: Objection; form.                   7 Congress intentionally created, right --
     8 Objection; scope.                                     8        MS. MAINIGI: Objection.
     9    Q. -- correct?                                     9    Q. -- a close system of --
    10       MS. MAINIGI: Excuse me.                        10        MR. FULLER: I'm sorry.
    11       MR. FULLER: Sorry.                             11        MS. MAINIGI: No. Go ahead.
    12    A. If you don't follow the law, you're            12    Q. Let me try again. And what we're doing,
    13 breaking the law.                                    13 so that you know, is we're trying to make sure the
    14    Q. Is that a yes?                                 14 record is clear because it's all sloppy if she's
    15    A. Yes.                                           15 objecting and I'm still talking or I start talking
    16       MS. MAINIGI: Objection; form.                  16 again before she finishes her objection. So I
    17 Objection; scope to that.                            17 apologize for that.
    18       MR. FULLER: I just asked if that was a         18        MS. MAINIGI: Was there a question?
    19 yes.                                                 19        MR. FULLER: Huh? Yeah. I'm trying to
    20       MS. MAINIGI: It's a poorly phrased             20 remember what it was.
    21 question, and it's outside the scope.                21 BY MR. FULLER:
    22       MR. FULLER: I'm from Mississippi.              22    Q. Ms. Norris, can we agree that through
    23 There's going to be a lot of poorly phrased          23 this section of this Congressional history, that
    24 questions. I'm kidding.                              24 Congress was attempting to create a closed system


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     1 to try to contain the controlled substances into     1     Q. Fair enough. Let me ask that
     2 the legitimate channels of distribution?             2 differently.
     3         MS. MAINIGI: Objection; scope.               3     A. Sorry.
     4     A. I agree that's what the language says.        4     Q. No, no. You're absolutely right.
     5 I don't -- obviously I haven't read every -- all     5        Congress has created a licensing
     6 the context around it, but the language              6 requirement for manufacturers; is that correct?
     7 highlighted defines the closed distribution          7        MS. MAINIGI: Objection; scope.
     8 system.                                              8     A. I believe so.
     9     Q. Okay. And it even indicates that even         9     Q. We know that Congress has created a
    10 as far back as 1970, Congress is trying to          10 licensing requirement for wholesale distributors
    11 significantly reduce the widespread diversion of    11 such as Cardinal Health, correct?
    12 controlled drugs out of legitimate channels into    12     A. Yes.
    13 the illicit market, correct?                        13     Q. And if you're not licensed, you can't
    14         MS. MAINIGI: Objection; scope.              14 play in this ball game; is that fair?
    15     A. That is what the language says.              15        MS. MAINIGI: Objection; form.
    16     Q. And that one of the ways they do that is     16 Objection; scope.
    17 by creating this closed system.                     17     A. I believe that -- yes, that's the --
    18         Do you have an understanding of what        18     Q. So --
    19 this "closed system" is?                            19     A. That's the closed distribution system.
    20     A. I do, yes.                                   20 Sorry.
    21     Q. Can you -- explain it briefly.               21     Q. No. And if I start to do that, I
    22     A. It's the system that Cardinal Health         22 apologize. It's just that I'm thinking you're
    23 operates in. It purchases pharmaceuticals it        23 done. In normal conversation, it happens.
    24 distributes from licensed manufacturers. It         24     A. I may have pregnant pauses --
                                                Page 43                                                Page 45
     1 distributes those pharmaceuticals to licensed        1     Q. Yes.
     2 pharmacies for dispensing by those pharmacies        2     A. -- so give me a chance.
     3 to -- pursuant to prescriptions by licensed          3     Q. No, no. Same here. Same here.
     4 practitioners.                                       4        By the time we've finished, we'll both
     5     Q. So what Congress was doing was limiting       5 know it, and it will be too late, though.
     6 those who could participate in this industry,        6        All right. If you'll turn to page 11 of
     7 correct?                                             7 this document. Let me know when you get there.
     8        MS. MAINIGI: Objection; scope.                8        And if you want to look at any other
     9     A. I think it was laying out the system to       9 part of this document, 90 whatever pages, you are
    10 go from the -- from licensed player to licensed     10 more than free to do that, Ms. Norris.
    11 player.                                             11        Are you there on page 11?
    12     Q. And that's my point. You have to be a        12     A. I am. Just give me one second, please.
    13 licensed player. I can't go out and set up Mike's   13     Q. Sure.
    14 Drive-Thru Pharmacy and start getting controlled    14     A. Okay.
    15 substances shipped to me, right?                    15     Q. All right. And on page 11 -- and on
    16        MS. MAINIGI: Objection; scope.               16 page 11, Congress says that "The price for
    17     A. Not if you're not licensed                   17 participation in this traffic should be
    18 appropriately.                                      18 prohibitive. It should be made too dangerous to
    19     Q. Not licensed. And what Congress has          19 be attractive."
    20 done is it created licensed manufacturers,          20        And here they're talking about the
    21 correct?                                            21 illegal traffic; is that correct?
    22        MS. MAINIGI: Objection; scope.               22        MS. MAINIGI: Objection; form.
    23     A. I don't know if Congress created them,       23 Objection; scope.
    24 but there are licensed manufacturers, yes.          24     A. I believe, based on the language here --

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     1 again, I don't have the full context, but the     1 But fair enough.
     2 first sentence refers to illegal traffic, and it  2         If you'll next turn to page 26 of this
     3 seems to be referring -- the language in the      3 document. And you see the section there under law
     4 second sentence seems to -- and third seem to be  4 enforce -- I'm sorry. You're not there yet. I
     5 referring to that.                                5 apologize.
     6     Q. And "to be prohibitive," what does         6     A. Sorry.
     7 "prohibitive" mean, if you know?                  7     Q. It's a big document, and I cheated a
     8         MS. MAINIGI: Objection.                   8 little bit because mine has tabs.
     9     A. To cause someone to not do something.      9     A. Page 26?
    10     Q. To detour some sort of -- I'm sorry. Go 10       Q. Yes, ma'am.
    11 ahead. I'm doing it again.                       11     A. Yes.
    12     A. No. That's fine.                          12     Q. Okay. And you see the section there
    13     Q. To detour -- "detour" is not the right    13 under Law Enforcement?
    14 word.                                            14     A. I do.
    15         MS. MAINIGI: Deter.                      15     Q. And can you read that highlighted
    16     Q. Deter. See, I told you. Thank you.        16 section for us, please.
    17 Start again.                                     17     A. "Titles II and Titles III of the bill
    18         "Prohibitive" in this sense means to     18 deal  with law enforcement aspects of drug abuse
    19 deter some type or fashion of conduct.           19 and provide authority for the Department of
    20         Can we agree on that?                    20 Justice to keep track of all drugs subject to
    21     A. Yes.                                      21 abuse manufactured or distributed in the United
    22     Q. And that Congress is trying to make it    22 States in order to prevent diversion of these
    23 too dangerous to be attractive; is that right?   23 drugs from legitimate channels of commerce."
    24         MS. MAINIGI: Objection; scope.           24     Q. And Cardinal agrees that the Department
                                               Page 47                                              Page 49
     1     A. Congress is making the statement that      1  of Justice has that authority which we just
     2 the price for participation should be made too     2 mentioned earlier, correct?
     3 dangerous to be attractive, participation in the   3        MS. MAINIGI: Objection; scope.
     4 illegal and -- in the illegal trafficking.         4    A. The Department of Justice -- I guess we
     5     Q. Right. And we know from an earlier          5 were talking about the Attorney General earlier.
     6 section of the code, that the U.S. Congress gave   6    Q. And who heads up the Department of
     7 the Department of Justice the ability to control   7 Justice?
     8 that issue, correct?                               8    A. The Attorney General. So the -- yes,
     9     A. Yes.                                        9 yes.
    10        MS. MAINIGI: Objection; scope.             10    Q. Different terms, but generally we're
    11     Q. Yes, I believe that's what we talked       11 speaking about the same entity or guy or girl,
    12 about. When it says "made too dangerous to be     12 whoever it may be?
    13 attractive," is it -- we can agree, can we not,   13    A. I'm just a lowly commercial attorney
    14 that that means the penalty needs to be high      14 so --
    15 enough to deter the conduct; is that fair?        15    Q. No. Nothing lowly about it.
    16        MS. MAINIGI: Objection; scope.             16    A. -- to get all of this straight.
    17     A. Generally, yes. I couldn't say what        17    Q. And the goal is, at least according to
    18 that is.                                          18 this section, for the Department of Justice "to
    19     Q. When you say "what that is," you mean      19 keep track of all drugs subject to abuse
    20 what the penalty would have to be?                20 manufactured or distributed in the United States
    21        MS. MAINIGI: Objection; scope.             21 in order to prevent the diversion of these drugs
    22     A. Yes.                                       22 from legitimate channels of commerce."
    23     Q. Correct. And I'm not even asking you       23        Do you agree with that?
    24 about that. That's for DOJ and DEA to figure out. 24        MS. MAINIGI: Objection; scope.

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     1    A. I agree that that's what the language          1 according to the Congressional -- according to the
     2 says, yes.                                           2 statute, but they also have a legitimate medical
     3    Q. And do you agree that that's a good goal       3 purpose.
     4 to have?                                             4    Q. Sure. And as a distributor, Cardinal
     5        MS. MAINIGI: Objection; scope.                5 wants to try to prevent as much abuse and
     6    A. Generally speaking, yes.                       6 addiction as we can, correct?
     7    Q. Does Cardinal try to operate in a              7        MS. MAINIGI: Objection; scope.
     8 fashion that prevents the diversion of controlled    8    A. Cardinal Health's obligation is to
     9 substances into the illicit market?                  9 operate in the closed distribution system in
    10    A. Yes.                                          10 accordance with the applicable laws, rules,
    11    Q. Why?                                          11 regulations, and guidance from the DEA.
    12        MS. MAINIGI: Objection; scope.               12    Q. Does Cardinal also want to, in its
    13    A. Cardinal Health, in performing its            13 operations, do what it can to prevent abuse and
    14 distribution services, follows the applicable       14 addiction?
    15 laws, rules, and regulations, and the guidance      15        MS. MAINIGI: Objection; scope.
    16 provided by the DEA.                                16    A. Cardinal Health wants to perform its
    17    Q. And Cardinal is in the business of            17 services in compliance with the applicable laws,
    18 dealing and distributing controlled substances,     18 rules, and regulations, and the guidance by the
    19 particularly Schedule IIs, correct?                 19 DEA.
    20    A. Not dealing.                                  20    Q. No. I understand that. You said that.
    21    Q. Sorry. Distributing. Let me ask it            21 But do they want to help try to prevent abuse and
    22 again.                                              22 addiction?
    23        Cardinal is in the business of               23        MS. MAINIGI: Objection; asked and
    24 distributing controlled substances, including       24 answered. Objection; scope.

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     1 Schedule IIs; is that correct?                       1   A. Cardinal Health doesn't interact with
     2     A. Cardinal Health distributes                  2 the ultimate users of the pharmaceuticals. As we
     3 pharmaceuticals, including controlled substances,   3 talked about, the system is -- Cardinal Health is
     4 which includes Schedule II items.                   4 removed through the closed distribution system.
     5     Q. And as we discussed earlier, Schedule        5    Q. Cardinal Health isn't removed; it's
     6 IIs have a heightened designation to them because 6 specifically included in the closed distribution
     7 they are considered to be potentially dangerous --  7 system; is that true?
     8        MS. MAINIGI: Objection.                      8    A. I misspoke. Cardinal Health is removed
     9     Q. -- is that correct?                          9 from the ultimate user within the closed
    10        MS. MAINIGI: Excuse me. Objection;          10 distribution system.
    11 scope.                                             11    Q. But Cardinal Health does have
    12     A. Schedule IIs, as I understand it, have      12 obligations related to the distribution in
    13 additional controls that need to be applied to the 13 ensuring that they -- that these controlled
    14 manufacture, distributing, dispensing,             14 substances maintain into the licit market and not
    15 prescribing, and using, yes.                       15 the illicit market, correct?
    16     Q. And is that because they are potentially    16         MS. MAINIGI: Objection; form.
    17 dangerous?                                         17    A. Cardinal Health has an obligation to
    18        MS. MAINIGI: Objection; scope.              18 maintain effective controls against diversion.
    19     A. One of the comments, I believe, were        19    Q. Why?
    20 made they have the -- they could --                20         MS. MAINIGI: Objection; form.
    21     Q. And you can refer back -- I'm sorry.        21 Objection; scope.
    22     A. Yeah.                                       22    A. I'm not sure I understand your question.
    23     Q. You can refer back to it if you need to.    23    Q. Sure. You said --
    24     A. They have a high potential for abuse        24         MR. FULLER: I can never work these

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     1 little computer thingies.                                 1        MS. MAINIGI: Objection; form.
     2         THE COURT REPORTER: The arrow on the              2 Objection; scope.
     3 right.                                                    3     A. That is my understanding, that the
     4         MR. FULLER: Yeah, I pushed it. It                 4 parties in the closed distribution chain are all
     5 doesn't work for me. I don't know why.                    5 licensed in their various functions.
     6 BY MR. FULLER:                                            6     Q. Now, if you go to page 34. And I
     7     Q. You said Cardinal Health has an                    7 promise we're getting to the end of my tabs in
     8 obligation to maintain effective controls against         8 this document.
     9 diversion. Why?                                           9        Did you make it there?
    10         MS. MAINIGI: Objection; form.                    10     A. I have.
    11 Objection; scope.                                        11     Q. It says, "The illegal importation,
    12     A. My understanding is that's the language           12 manufacture, distribution, and possession, and
    13 of the law that applies to us.                           13 improper use of controlled substances have a
    14     Q. So are they only doing that because               14 substantial detrimental effect on the public's
    15 that's the law that applies to them?                     15 health and general welfare."
    16         MS. MAINIGI: Objection; scope.                   16        Do you see that?
    17     A. Cardinal Health is a corporation that             17     A. I do.
    18 operates in accordance with the laws that apply to       18     Q. And does Cardinal agree that that's one
    19 it.                                                      19 of the findings by Congress?
    20     Q. All right. Now, we're going to just               20        MS. MAINIGI: Objection; scope.
    21 turn one page, page 27 of this document.                 21     A. I believe, as we talked about before, in
    22         You see the section there Registration           22 accordance with Section 801, that is a finding of
    23 Requirements?                                            23 Congress, yes.
    24     A. I do.                                             24     Q. And that's one of the goals behind this
                                                    Page 55                                                 Page 57
     1     Q. It says, "The legislation provides that            1
                                                             Controlled Substances Act, again, is to ensure the
     2 all persons engaged in the legitimate distribution  2 legitimate distribution of controlled substances
     3 chain involving drugs included in one of the        3 in keeping them out of the illicit market, right?
     4 schedules under this bill must be registered with   4        MS. MAINIGI: Objection; scope.
     5 the Attorney General."                              5     A. Yes.
     6        Does Cardinal agree and concur with that     6     Q. And Cardinal also recognizes that
     7 statement?                                          7 distributions into the illicit market have a
     8        MS. MAINIGI: Objection to scope.             8 substantial and detrimental effect on the public's
     9     A. I agree that that's what that sentence       9 health and general welfare?
    10 says, yes.                                         10        MS. MAINIGI: Objection; scope.
    11     Q. And is that a requirement, to be a          11     A. Distribution -- the illegal distribution
    12 distributor when you're dealing with controlled    12 has a substantial detrimental effect on the
    13 substances, is to be registered through the        13 public's health and general welfare.
    14 Attorney General?                                  14     Q. Okay. Turn to page 44, if you would,
    15        MS. MAINIGI: Objection; form.               15 please.
    16     A. That is my understanding.                   16        And this section just sort of
    17     Q. And Cardinal is registered with the         17 resolidifies what we read earlier. Do you see
    18 Attorney General through the DEA, correct?         18 Section 301 sort of in the middle of the page
    19     A. Yes.                                        19 there?
    20     Q. Okay. And, again, that goes to that         20     A. I do.
    21 whole closed system we were talking about earlier. 21     Q. And it says, "Section 301 authorizes the
    22 You have to have a ticket to be able to            22 Attorney General to promulgate rules and
    23 participate in this distribution chain; is that    23 regulations and to charge reasonable fees relating
    24 right?                                             24 to the registration and control of the


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     1 manufacture, distribution, and dispensing of       1health and safety."
     2 substances covered by this Act."                  2        Do you see that?
     3        Does Cardinal recognize that as part of    3    A. I see that.
     4 the powers conferred to the Attorney General by 4      Q. And we're next going to move to the
     5 the United States Congress?                       5 regulations which deal with suspicious orders.
     6        MS. MAINIGI: Objection; scope.             6        You're aware of that, correct?
     7    A. That's what the language says.              7        MS. MAINIGI: Objection; form.
     8    Q. If you'll turn one more page, 44 -- or      8    A. I'm not aware we're going to move to
     9 excuse me. 45. It starts at the bottom of the     9 that. I'm aware of the regulations.
    10 page under the Section 303, Registration         10    Q. Well, this is sort of a prequel in a
    11 Requirements.                                    11 movie. I'm giving you the foreshadowing, okay?
    12        Do you see that?                          12    A. Okay.
    13    A. I see the highlighted section. Just one    13        MR. FULLER: You don't have to shake
    14 second.                                          14 your head every time I do something.
    15    Q. Take your time. And I'll tell you, the     15        MS. MAINIGI: Just waiting for the next
    16 question is going to go on to the next page, so  16 question.
    17 you might want to flip over.                     17 BY MR. FULLER:
    18    A. Okay.                                      18    Q. But before we do that, you are aware
    19    Q. Okay. So I'm not going to start all the    19 that there is a suspicious order reporting
    20 way at the top. I'm going to start where it says 20 requirement; is that correct?
    21 "In determining."                                21    A. I am.
    22        Do you see that? Second to last line on   22    Q. And this obligation to maintain
    23 the first page.                                  23 effective controls against diversion is separate
    24    A. Yes, sir.                                  24 and distinct from that other regulation; would you

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     1     Q. Ms. Norris, can you read from "In           1 agree?
     2 determining" just through -- actually, let me      2        MS. MAINIGI: Objection; form.
     3 strike that. I'll just read it to you to make it   3 Objection; scope.
     4 easier because I know where I want to go.          4    A. They're in two separate places, but I
     5        Ms. Norris, "In determining the public      5 would argue that suspicious order reporting is
     6 interest, the Attorney General shall consider the  6 part of maintaining effective controls against
     7 following factors."                                7 diversion.
     8        Do you see that?                            8    Q. It may be a subset, correct?
     9     A. I do.                                       9    A. Yes.
    10     Q. And the following factors include 1        10    Q. You would also agree, as Cardinal, that
    11 through 5, but particularly 1 is "The maintenance 11 there are other things that we have to do to
    12 of the effective controls against diversion of    12 maintain effective controls against diversion
    13 particular controlled substances into other than  13 other than suspicious order reporting, correct?
    14 legitimate medical, scientific, and industrial    14        MS. MAINIGI: Objection; form.
    15 channels."                                        15    A. Yes.
    16        Does Cardinal agree that that is one of    16    Q. What are some of those other things that
    17 the requirements to be a participant in this      17 Cardinal has to do to prevent or have effective
    18 distribution channel?                             18 controls against diversion?
    19        MS. MAINIGI: Objection; scope.             19        MS. MAINIGI: Objection; form.
    20     A. I believe that's generally the             20 Objection; scope.
    21 obligation.                                       21        I think, Mike, if you are asking what
    22     Q. And then it goes on to 2, 3, and 4, but    22 does Cardinal do to meet its obligations, that
    23 significant to us is 5. "Such other factors as    23 might be the better question.
    24 may be relevant to and consistent with public     24        MR. FULLER: I'll strike the question.

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     1 Don't worry about it.                               1 applies to Cardinal.
     2 BY MR. FULLER:                                      2    Q. Okay. And then read the requirements
     3     Q. All right. I think we're done with that      3 under B to us, if you would, please.
     4 book.                                               4    A. "The registrant shall design and operate
     5                ---                                  5 a system to disclose to the registrant suspicious
     6      (Cardinal-Norris Exhibit 6 marked.)            6 orders of controlled substances. The registrant
     7                ---                                  7 shall inform the field division office of the
     8     Q. All right. Next is Norris 6, which is        8 administration in his area of suspicious orders
     9 going to be Plaintiff's Number 6.                   9 when discovered by the registrant. Suspicious
    10        What did I tell you? Where do we go         10 orders include orders of unusual size, orders
    11 next?                                              11 deviating substantially from a normal pattern, and
    12        I'm sorry. Do you have Exhibit Number 6 12 orders of unusual frequency."
    13 in front of you, Ms. Norris?                       13    Q. And does Cardinal believe it fits the
    14     A. I do.                                       14 description of registrant as it relates to this
    15     Q. Okay. And this is -- we were earlier        15 code section -- this regulation? I'm sorry.
    16 looking at the U.S. Code, correct, and now we're   16    A. Yes. Cardinal is a registrant.
    17 looking at the Code of Federal Regulations, right? 17    Q. And does Cardinal believe it has an
    18     A. Yes.                                        18 obligation under this regulation to operate a
    19     Q. Okay. And this is still Title 21,           19 system to disclose suspicious orders of controlled
    20 Chapter 2. Do you see that? "Drug Enforcement 20 substances?
    21 Administration, Department of Justice."            21    A. Cardinal Health's obligation is to
    22     A. I see that in the title.                    22 comply with this section, which requires it to
    23        MS. MAINIGI: And, Mr. Fuller, for the       23 design and operate a system to disclose suspicious
    24 purpose of the record, is it fair to say that you  24 orders of controlled substances.

                                                 Page 63                                               Page 65
     1 again have just excerpted a portion of the          1     Q. And if you look at the bottom of this
     2 regulations?                                        2 section, it gives a date.
     3        MR. FULLER: Yes, ma'am. Although, we         3        Do you see that date there, April 24th
     4 sometimes question what our rulemaking bodies do, 4 of 1971?
     5 they did not start with B.                          5     A. I do.
     6        MS. MAINIGI: Thank you.                      6     Q. And I'll represent to you that that's
     7        MR. FULLER: Fair enough.                     7 the date this particular regulation was created.
     8 BY MR. FULLER:                                      8        Is that your understanding, is that this
     9    Q. And this is -- Ms. Norris, this is Part       9 regulation has been in place since approximately
    10 1301, "Registration of Manufacturers,              10 1971?
    11 Distributors, and Dispensers of Controlled         11     A. It is.
    12 Substances, Security Requirements."                12     Q. Is it your understanding that this
    13        Have you seen this section before or the    13 regulation has remained significantly unchanged
    14 complete section?                                  14 since 1971, meaning that there has been a
    15    A. I have.                                      15 suspicious order reporting requirement since that
    16    Q. And if you will read 1301.74 there to        16 time?
    17 us, please.                                        17     A. The language of the statute has not
    18    A. "Other security controls for                 18 changed since 1971. Guidance from the DEA
    19 non-practitioners; narcotic treatment programs and 19 regarding the statute has evolved over time.
    20 compounders for narcotic treatment programs."      20     Q. So, again, let me ask the question. Is
    21    Q. And does Cardinal agree that this            21 it your understanding that Cardinal has had a
    22 section applies to them?                           22 suspicious order reporting requirement since 1971?
    23        MS. MAINIGI: Objection; scope.              23     A. This requirement has been in place since
    24    A. It's my understanding that this section      24 1971 and applicable to Cardinal Health as modified

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     1 by the guidance provided by the DEA over the          1A.   Generally.   There's some variation.
     2 years.                                            2    Q. But no substantive changes; can we
     3    Q. Sure. And we'll talk about that.            3 agree?
     4    A. Sure.                                       4        MS. MAINIGI: Objection.
     5    Q. I'm sure we will spend a good bit of the    5    A.   It does not appear to be substantive.
     6 day on that.                                      6    Q. So does Cardinal agree and accept that
     7        Does Cardinal operate a system to          7 the obligations under 21 CFR 1301.74(b) have been
     8 disclose suspicious orders?                       8 in place and applied to Cardinal since 1971?
     9    A. Yes.                                        9        MS. MAINIGI: Objection; form.
    10    Q. And have they always operated or           10 Objection; scope.
    11 maintained such a system?                        11    A. This regulation has been in place since
    12    A. Yes, in accordance with the DEA            12 1971. To the extent Cardinal Health was
    13 guidance.                                        13 distributing pharmaceuticals -- I believe they
    14                ---                               14 were -- yes, this is applicable.
    15     (Cardinal-Norris Exhibit 7 marked.)          15    Q. Thank you. I was going to go back and
    16                ---                               16 place that caveat in there, but you did it for me.
    17    Q. And just so we have -- no, that's not      17 I appreciate that.
    18 going to work.                                   18        We've been going a little over an hour
    19        I'm going to put up Exhibit Number 7,     19 already. Do you mind if we take a break real
    20 which is Norris 07 and also going to be          20 quick?
    21 Plaintiff's Exhibit Number 7. You see -- and I'm 21    A. It's up to you.
    22 sorry. I'm jumping around on you. But back on 22           MR. FULLER: Are you good?
    23 Number 6, you see there at the bottom, it also   23        MS. MAINIGI: Mm-hmm.
    24 says, "36 FR 7778" -- excuse me.                 24        THE VIDEOGRAPHER: The time is now 9:23.

                                                  Page 67                                                Page 69
     1        MS. MAINIGI: You're at the bottom of          Going
                                                             1      off the record.
     2 the 6?                                             2        (Recess taken.)
     3     A. Yep. Yes, I see that.                       3        THE VIDEOGRAPHER: The time is now 9:44.
     4     Q. Actually, just ignore that.                 4 Back on the record.
     5     A. Okay.                                       5                 ---
     6     Q. Go on to Number 7. And if you will          6      (Cardinal-Norris Exhibit 8 marked.)
     7 turn -- and, again, feel free to review it. If     7                 ---
     8 you'll go to page 7 of that document. I'm sorry. 8 BY MR. FULLER:
     9 Page 10.                                           9    Q. Next we'll mark Plaintiff's Exhibit
    10        Do you see the highlighted section         10 Number 8, which is Norris 11.
    11 there?                                            11        MS. MAINIGI: Norris 11?
    12     A. I'm sorry. What page? I was                12        MR. FULLER: Yes. So that's my sort of
    13 familiarizing --                                  13 Bates numbering at the top. Sorry.
    14     Q. I'm sorry. Page --                         14        MS. MAINIGI: But the last one we marked
    15     A. -- myself at least with what this          15 was Norris 7, right?
    16 document is.                                      16        MR. FULLER: Yes.
    17     Q. Fair enough. Fair enough.                  17        MS. MAINIGI: Okay. But you want to
    18        And I'll represent to you it is the        18 jump  to 11?
    19 actual regulation back in 1971.                   19        MR. FULLER: Yes, ma'am.
    20     A. Okay. And now what page?                   20        MS. VELDMAN: No, no. It's still 8.
    21     Q. It's page 10 of that document. And if      21        MR. FULLER: No. For the record, it's
    22 you look real briefly at the highlighted section, 22 going to be 8, but my numbering system is going to
    23 tell me whether it appears to be the same         23 be --
    24 regulation that we just read.                     24        MS. MAINIGI: Yeah. Thank you.

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     1        MR. FULLER: Sorry.                            1       MS. MAINIGI: Objection; scope.
     2        MS. MAINIGI: No, no, no. That's okay.         2    A. It's a pharmaceutical to treat pain.
     3    A. We're done with the regulations?               3    Q. It's an opioid medication, right?
     4    Q. Yes, ma'am.                                    4       MS. MAINIGI: Objection; scope.
     5        MR. FULLER: And I'm sorry, Enu -- or          5    A. I believe it is an opioid, yes.
     6 Counsel. It's -- I have them labeled a certain       6    Q. Okay. And let's back up a little bit
     7 way so --                                            7 before we get into this document.
     8        MS. MAINIGI: That's totally fine.             8       And going back to the regulations and
     9        MR. FULLER: -- Gina knows, but as far         9 everything that we just went through, rules, for a
    10 as Plaintiff exhibit numbers --                     10 lack of a better term, do you have an
    11        MS. MAINIGI: She seems to have it under      11 understanding that the -- does Cardinal have an
    12 control, so all good.                               12 understanding that the Controlled Substances Act
    13        MR. FULLER: She does a great job.            13 was designed to prevent the American public from
    14 BY MR. FULLER:                                      14 diversion of controlled substances?
    15    Q. Ms. Norris, have you ever heard of the        15       MS. MAINIGI: Objection; scope.
    16 HathiTrust?                                         16    A. The -- I believe the Controlled
    17    A. I have not.                                   17 Substances Act was designed to ensure there was
    18    Q. Neither had I until this litigation, or       18 oversight over the distribution of controlled
    19 until Paul Farrell, Jr., told me about it.          19 substances.
    20        MR. FULLER: That is awful loud.              20    Q. And why do we want oversight over
    21        MS. MAINIGI: Yeah. I was just thinking       21 controlled substances? Because they're
    22 the same thing. It is very loud.                    22 potentially dangerous; is that right?
    23        THE WITNESS: If you speak up, I think I      23       MS. MAINIGI: Objection; scope.
    24 will be fine. I will ensure that I do the same.     24    A. I believe we read Congress identified
                                                Page 71                                                 Page 73
     1        MR. FULLER: I don't know how it's             1 that at least Schedule II controlled substances
     2 picking up on the tape, though. All right. Well,     2 have a high potential for abuse.
     3 we'll try.                                           3    Q. And that they're actually dangerous if
     4 BY MR. FULLER:                                       4 not used appropriately, correct?
     5     Q. The HathiTrust is a non-profit set of         5        MS. MAINIGI: Objection; scope.
     6 libraries that actually collects stuff throughout    6    A. They have a high potential for abuse.
     7 history, generally Congressional type of items.      7    Q. So does that mean they're potentially
     8 And what you have before you, if you turn to the     8 dangerous?
     9 second page, is a hearing before the Subcommittee    9        MS. MAINIGI: Objection; scope.
    10 on Oversight and Investigations.                    10    A. I'm not sure. "Dangerous" has a lot of
    11        Do you see that?                             11 connotations. They have a high potential for
    12     A. I see that in the title, yes.                12 abuse per the language in the statute --
    13     Q. Yes, ma'am. And what is the title of         13 regulation. Sorry.
    14 this hearing?                                       14    Q. So, ma'am, going back to Exhibit Number
    15     A. "OxyContin: Its Use and Abuse."              15 5, which you have there, on page 8 of that
    16     Q. And you're aware, are you not, that          16 document -- let me know when you have that.
    17 OxyContin is a product that was put on the market   17    A. I do. Page 8, yes.
    18 in 1996 by Purdue Pharma?                           18    Q. It says there at the end that "While at
    19        MS. MAINIGI: Objection; scope.               19 the same time providing the legitimate drug
    20     A. I don't -- I don't know the exact date       20 industry with a unified approach to narcotic and
    21 in my personal capacity.                            21 dangerous drug control."
    22     Q. Do you know what OxyContin is?               22        Correct?
    23     A. I do.                                        23    A. That's what the language says, yes.
    24     Q. What is OxyContin?                           24    Q. So it recognizes that these are

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     1 potentially dangerous drugs; would you agree with       1    Q. Do you think -- does Cardinal believe
     2 that?                                                   2 that drugs that have a high potential for abuse
     3        MS. MAINIGI: Objection; form.                    3 could be potentially dangerous?
     4 Objection; scope.                                       4        MS. MAINIGI: Objection; form.
     5    Q. Or do you disagree?                               5 Objection; scope.
     6        MR. FULLER: Objection; form.                     6    A. Not necessarily.
     7 Objection; scope.                                       7    Q. Well, that's why I said "can be
     8    A. I think they're using the term                    8 potentially dangerous." So let me ask the
     9 "dangerous" to create a category of drugs, not --       9 question again.
    10 so ...                                                 10        Does Cardinal believe that drugs that
    11    Q. Would you agree they're trying to                11 have a high potential for abuse can be potentially
    12 control dangerous drugs, whether you look at it as     12 dangerous?
    13 a category or an individual drug, correct?             13        MS. MAINIGI: Objection; form.
    14        MS. MAINIGI: Objection; form.                   14 Objection; scope.
    15 Objection; scope.                                      15    A. Perhaps.
    16    A. Yes, understanding the legitimate --             16    Q. So is that a yes?
    17 there is a legitimate purpose and use for these        17        MS. MAINIGI: Objection; form.
    18 pharmaceuticals.                                       18 Objection; scope.
    19    Q. That is undeniable as they set out in            19    A. Potentially. Perhaps, yes.
    20 each one of their schedules. We looked at              20    Q. Okay. So just so I get it clean on the
    21 Schedule II. There is a legitimate medical             21 record, does Cardinal believe that drugs that have
    22 purpose. We can agree on that, correct?                22 a high potential for abuse can be potentially
    23    A. Yes.                                             23 dangerous?
    24    Q. But these are also potentially dangerous         24        MS. MAINIGI: Objection; form. Asked
                                                    Page 75                                                Page 77
     1 drugs, particularly when we're talking about            1 and answered multiple times now. Objection;
     2 Schedule II?                                            2 scope.
     3        MS. MAINIGI: Objection; form.                    3     A. Perhaps, yes.
     4 Objection; scope.                                       4     Q. And can we agree that the rules that are
     5    A. They're not particularly mentioning               5 laid out are partially designed to keep the
     6 Schedule II in this language. I agree that              6 American people safe when we're dealing with
     7 Schedule II drugs per the language have a high          7 controlled substances?
     8 potential for abuse.                                    8        MS. MAINIGI: Objection; scope.
     9    Q. So are they dangerous drugs or not; yes           9     A. The rules, as I understand them, are to
    10 or no?                                                 10 ensure that the participants in the distribution
    11        MS. MAINIGI: Objection; form.                   11 system understand their obligations and operate
    12 Objection; scope.                                      12 within that distribution -- that closed
    13    Q. You could say yes, no, or I don't know.          13 distribution system, maintaining the security of
    14    A. I can't opine on whether that's what             14 the pharmaceuticals we distribute, the scheduled
    15 they meant when they said "dangerous drug control"     15 substances we distribute.
    16 here. I can only say what the statute says.            16     Q. And the rules also indicate a
    17    Q. Okay. And it specifically refers to              17 Congressional finding that if we don't keep them
    18 dangerous drugs?                                       18 in their legitimate channels, that they can be
    19    A. The Congressional Record refers to               19 dangerous to the health and general welfare of the
    20 dangerous drugs.                                       20 American public, correct?
    21    Q. Yes, ma'am.                                      21        MS. MAINIGI: Objection; form. Asked
    22    A. The statute talks about drugs with a             22 and answered. Objection; scope.
    23 high potential for abuse, but also having a            23     A. Congress made a finding that the illegal
    24 legitimate medical purpose.                            24 distribution -- let me make sure I read it


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     1 correctly -- "would have a substantial and                 1 American public?
     2 detrimental effect on the health and general               2        MS. MAINIGI: Objection; scope.
     3 welfare of the American people."                           3 Objection; form.
     4     Q. So can we agree that that's one of the              4     A. I agree that that is what this language
     5 type of things that they're trying to protect              5 says.
     6 from?                                                      6     Q. That that's what the Congress found in
     7        MS. MAINIGI: Objection; form.                       7 the subcommittee, correct?
     8 Objection; scope.                                          8        MS. MAINIGI: Objection; form.
     9     A. I don't know what Congress was thinking.            9 Objection; scope.
    10 I know that was one of their findings as an               10     A. Because I'm not really familiar with
    11 introduction.                                             11 this document, if this is what --
    12     Q. So does Cardinal believe the intent                12     Q. Well, I didn't alter it, I promise.
    13 behind the Controlled Substances Act is to try to         13     A. No, I understand that. I just want to
    14 protect the American people from the illicit              14 make sure we're talking about the same thing. If
    15 distribution of controlled substances; yes or no?         15 that is what this document says and if you're
    16        MS. MAINIGI: Objection; form.                      16 telling me that's what this document is, that is
    17 Objection; scope.                                         17 what this document says.
    18     A. Can you ask the question again? I'm                18     Q. And, therefore, Congress made a finding
    19 sorry.                                                    19 in the subcommittee that as of 2001, OxyContin is
    20     Q. Sure. Does Cardinal believe that the               20 providing a dilemma for the American public -- or
    21 Controlled Substances Act -- let me try that              21 the abuse of OxyContin is, correct?
    22 again.                                                    22        MS. MAINIGI: Objection; form.
    23        Does Cardinal believe that the                     23 Objection; scope.
    24 Controlled Substances Act is to protect the               24     A. That is what the document says, yes.
                                                       Page 79                                                    Page 81
     1 American people from the illicit distribution of           1     Q. Okay. And if you go down to the next
     2 controlled substances; yes or no?                          2 paragraph that starts off "Today."
     3        MS. MAINIGI: Objection; form.                       3        It says, "Today, we will hear from law
     4 Objection; scope.                                          4 enforcement officials who argue that OxyContin has
     5    A. I can't opine in my personal capacity on             5 quickly become the abuser's drug of choice
     6 what Cardinal believes. Cardinal understands its           6 surpassing heroin and cocaine in some
     7 obligations under the statute, regs, and the               7 jurisdictions."
     8 guidance from the DEA.                                     8        Does Cardinal recognize that even again
     9    Q. Okay. Fair enough. Let's go to that                  9 back in 2001, that there's concern by law
    10 Exhibit 8 now. If you'll turn to page 6 of that           10 enforcement of OxyContin becoming the abuser's
    11 document. On page 6, this is the introductory             11 drug of choice?
    12 statement by the chairman of the Subcommittee on          12        MS. MAINIGI: Objection; scope.
    13 Oversight and Investigations, James Greenwood from        13     A. That is what this language says.
    14 Pennsylvania.                                             14     Q. And you have no reason to disagree with
    15        Can you read that highlighted section              15 this language, do you?
    16 there that starts with "The use and the abuse."           16        MS. MAINIGI: Objection; scope.
    17    A. "The use and the abuse of OxyContin                 17     A. In my personal capacity, I don't if this
    18 provides quite a dilemma for us in Congress and           18 is what Congress had on the record.
    19 for the American public. For some, OxyContin is           19     Q. And during 2001, Cardinal Health was
    20 the angel of mercy. For others, it is the angel           20 distributing OxyContin, correct?
    21 of death."                                                21     A. Yes.
    22    Q. Do you recognize by this time in 2001,              22     Q. If you turn to page 8. Let me know when
    23 that Congress has found that the use and abuse of         23 you get there.
    24 OxyContin has created quite a dilemma for the             24        There's the rocket ship again.

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     1    A. Okay.                                               1 customers and where it is delivering
     2    Q. You see where it reads "These actions,              2 pharmaceuticals to.
     3 though commendable, also appear long overdue.             3         (Reporter clarification.)
     4 According to the DEA, the number of OxyContin --          4     A. Cardinal Health understands who its
     5 excuse me -- oxycodone-related deaths has                 5 customers are and where it's delivering to.
     6 increased nearly 400 percent since 1996, the same         6     Q. And Cardinal Health would also stay
     7 period -- excuse me -- the same time period in            7 abreast of what's going on in those communities
     8 which the annual number of prescriptions for              8 that it's delivering to; is that fair?
     9 OxyContin has risen from approximately 300,000 to         9         MS. MAINIGI: Objection; scope, as well
    10 almost 6 million."                                       10 as time period.
    11       Did I read that correctly?                         11     A. Again, I wasn't at the company at this
    12    A. I believe so.                                      12 time. I don't -- I don't know.
    13    Q. And is Cardinal aware that deaths were             13     Q. You would expect Cardinal Health would
    14 increasing from oxycodone overdoses during this          14 be aware if drugs that it was distributing were
    15 time frame?                                              15 causing an increasing number of deaths in the
    16       MS. MAINIGI: Objection; scope. I'm                 16 communities to which it distributed; is that fair?
    17 also going to interpose my one time, but have it         17         MS. MAINIGI: Objection; scope, form.
    18 be continuing -- a time period objection                 18     A. I can't say.
    19 consistent with Discovery Rulings 2 and 3 of the         19     Q. Should Cardinal be aware if oxycodone
    20 Special Master, which -- our reading of which            20 that it's distributing is causing nearly a
    21 allows you to question on the time period 2006           21 400 percent increase in deaths across this
    22 forward with the exception of the suspicious order       22 country?
    23 reports aspect of those rulings.                         23         MS. MAINIGI: Objection; scope, form,
    24       So I will just interpose a continuing              24 and time period.

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     1 objection for any questions you ask that may              1     A. Cardinal Health -- Cardinal Health isn't
     2 relate to time periods earlier than 2006. She'll          2 aware of deaths related to products it
     3 answer all of your questions and we'll deal with          3 distributes.
     4 it later.                                                 4     Q. So Cardinal Health doesn't have any
     5         MR. FULLER: That's fair enough.                   5 information as to whether products it distributed
     6     A. I'm sorry. Could you repeat the                    6 caused or contributed to anyone's demise?
     7 question?                                                 7        MS. MAINIGI: Objection; scope.
     8     Q. And Cardinal was aware that during this            8     A. I think, as we talked about earlier,
     9 time frame that deaths were increasing from               9 Cardinal Health distributes to licensed pharmacies
    10 OxyContin overdoses -- or excuse me -- oxycodone.        10 who dispense pursuant to prescriptions by licensed
    11 No, it's OxyContin. No, it's not. Back up.               11 physicians that then go to users. Cardinal Health
    12 Sorry.                                                   12 is not aware of any deaths related to the
    13         Cardinal is aware that during this time,         13 pharmaceuticals that it has distributed.
    14 oxycodone overdoses were rapidly increasing,             14     Q. Are you sure?
    15 correct?                                                 15        MS. MAINIGI: Objection; form.
    16         MS. MAINIGI: Objection; scope.                   16 Objection; scope.
    17     A. I can't speak as to what Cardinal Health          17     A. I am.
    18 was aware of at this time. I didn't work there.          18     Q. Give her just a second to --
    19     Q. Sure. And I get that. But one of the              19     A. I'm sorry.
    20 things that Cardinal did was stay informed as to         20     Q. That's all right.
    21 what was going on in the world, the communities it       21        Is Cardinal aware that OxyContin -- or
    22 delivered to, correct?                                   22 excuse me -- oxycodone that's distributed by it or
    23         MS. MAINIGI: Objection; scope.                   23 others has contributed to increased deaths in this
    24     A. Cardinal Health understands its                   24 country?


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     1        MS. MAINIGI: Objection; form.                  1    A. The distributor -- I know you're not
     2 Objection; scope.                                     2 going to want to hear -- the distributor
     3     A. It is not.                                     3 distributes to a licensed pharmacy who dispenses
     4     Q. So oxycodone, how does it get to the           4 pursuant to a prescription from a licensed
     5 pharmacies?                                           5 physician.
     6        MS. MAINIGI: Objection; scope.                 6    Q. Yes, ma'am. And I'll ask you again.
     7     A. Cardinal Health distributes oxycodone,         7 Just listen to my question and answer the question
     8 as well as many other pharmaceuticals, to licensed    8 I'm asking.
     9 pharmacies.                                           9    A. I hear your question. Yes.
    10     Q. And there are others out there that           10    Q. Well, and I'm hearing your answer, but
    11 distribute oxycodone and OxyContin as well,          11 my problem is you're not answering the question
    12 correct? AmerisourceBergen.                          12 I'm asking. Okay? So let me try it one more
    13     A. Other distributors?                           13 time.
    14     Q. Yes, ma'am.                                   14        In order for the people out there that
    15     A. Yes.                                          15 are getting these oxycodone pills that are causing
    16     Q. We don't have Joe making oxycodone in         16 these overdoses, those pills have to come through
    17 his trailer up in the foothills of West Virginia,    17 a wholesale distributor; is that correct or
    18 do we?                                               18 incorrect?
    19        MS. MAINIGI: Objection; form.                 19        MS. MAINIGI: Objection; asked and
    20 Objection; scope.                                    20 answered multiple times. Objection; scope.
    21     A. Not to my knowledge.                          21        Mike, you may not like her answer, but
    22     Q. To your knowledge, no one is out there        22 she has, in fact, answered your question multiple
    23 in their homes or farmhouses manufacturing           23 times. I'll ask her to answer it again.
    24 OxyContin, correct?                                  24    Q. It's a yes or no question.
                                                 Page 87                                                      Page 89
     1        MS. MAINIGI: Objection; form.                  1        Did those pills have to come through a
     2 Objection; scope.                                     2 wholesale distributor?
     3     A. Not to my knowledge.                           3        MS. MAINIGI: Objection; asked and
     4     Q. So the only way these people are getting       4 answered. Objection; scope.
     5 oxycodone that they're overdosing from is when we     5     A. Cardinal Health distributes to a
     6 go up the chain from a manufacturer that has          6 licensed pharmacy who dispenses prescriptions from
     7 distributed or sold to a wholesale distributor who    7 a licensed physician.
     8 has sold to a pharmacy, correct?                      8     Q. Again, that's not my question. I'm
     9        MS. MAINIGI: Objection; form.                  9 asking you if Cardinal knows whether these pills
    10 Objection; scope.                                    10 that are causing overdoses have to come through a
    11     A. Cardinal Health has distributed the           11 licensed wholesale distributor before they get to
    12 pharmaceuticals to a licensed pharmacy for           12 the person who is overdosing? That's all I'm
    13 dispensing pursuant to a licensed -- prescription    13 asking.
    14 from a licensed physician.                           14        I understand that you guys distribute to
    15     Q. Yes, ma'am. I understand that. You've         15 licensed pharmacies. You've made that abundantly
    16 told me that several times, but that's not my        16 clear.
    17 question. So listen to my question, and we'll        17        You would agree with me, would you not,
    18 move through this.                                   18 that those pills have to come through a wholesale
    19        In order for the people out there to get      19 distributor before they get to the person that is
    20 these oxycodone pills that they're overdosing on,    20 ultimately overdosing on them, correct?
    21 it had to have come through a wholesale              21        MS. MAINIGI: Objection; form. Asked
    22 distributor; correct or incorrect?                   22 and answered multiple times. Objection; scope.
    23        MS. MAINIGI: Objection; form.                 23        Answer it one more time.
    24 Objection; scope.                                    24     Q. I'll just be happy if you answer my

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     1 question once.                                            1
                                                                Q. And the communities that they are
     2     A. The pharmaceuticals move through the         2 providing all these pills to, these drugs to,
     3 closed distribution system, from a wholesaler to a  3 correct?
     4 licensed pharmacy, dispensed from a licensed        4        MS. MAINIGI: Objection; scope and form.
     5 prescriber.                                         5    A. I can't say what Cardinal Health was
     6     Q. So they have to go through a licensed        6 doing at this time. I wasn't there.
     7 wholesale distributor before getting to the end     7    Q. But you did just testify that Cardinal
     8 user or the person overdosing, correct?             8 did its job in staying informed as to what's going
     9        MS. MAINIGI: Objection; asked and            9 on in the communities that it's distributing to
    10 answered. Objection; form.                         10 around the country -- or excuse me. That's my
    11        Mike, why don't we -- she's answered it     11 question. I'm sorry. I was going to say that
    12 multiple times. You don't like her answer. Why     12 sounded like a pretty damn good answer.
    13 don't you just move on?                            13        MS. MAINIGI: I would stick with that
    14        MR. FULLER: I just want her to answer       14 one, Mike.
    15 the question I asked.                              15    Q. You testified that "Cardinal Health
    16        MS. MAINIGI: She's answered it multiple 16 understands customers that it's distributed to."
    17 times.                                             17 When you say "understands customers," what is its
    18        MR. FULLER: No.                             18 obligation related to understanding customers, if
    19 BY MR. FULLER:                                     19 you know?
    20     Q. Go ahead, ma'am.                            20    A. I think -- I want to be careful about
    21     A. The pharmaceuticals we distribute are       21 the word -- use of the word "obligation." As part
    22 distributed to a licensed pharmacy for dispensing 22 of Cardinal Health's anti-diversion program, we
    23 pursuant to a licensed prescription --             23 have a "know your customer" component where we
    24 prescription from a licensed physician. Sorry.     24 inquire, ask questions, obtain information from

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     1    Q. If you go to the next section of this               1 our customers to get an idea about the general
     2 page. "In its testimony today, Purdue Pharma will         2 area in which they're operating their business.
     3 argue that the death figures heralded by                  3     Q. And the increase in prescriptions from
     4 newspapers nationwide are inaccurate and are the          4 300,000 to almost 6 million from 1996 to 2001, you
     5 prime mover of negative hype surrounding                  5 would agree that's a significant increase in the
     6 OxyContin."                                               6 prescriptions for OxyContin, correct?
     7        Do you see that?                                   7        MS. MAINIGI: Objection; scope.
     8    A. I see that language.                                8     A. That's an increase from 300,000 to
     9    Q. And does Cardinal recognize that during             9 6 million. I don't know how we want to define
    10 this time frame, newspapers are reporting these          10 "significant." During that time, the DEA was
    11 death figures from OxyContin overdoses?                  11 approving and increasing the quotas to allow that
    12        MS. MAINIGI: Objection; form, time                12 many prescriptions, so ...
    13 period, and scope.                                       13     Q. So it's a 20-time increase over a what,
    14    A. I can't say. Again, I didn't work at               14 a five-year period, four-year -- five-year period?
    15 the company and know what newspapers they may or         15 Do you not consider that significant?
    16 may not have read.                                       16        MS. MAINIGI: Objection; form.
    17    Q. But, again, Cardinal did its job in                17 Objection; scope.
    18 staying informed as to what's going on in the            18     A. It depends on the circumstances. Like I
    19 communities that it's distributing to around the         19 said, the DEA felt there was legitimate medical
    20 country, correct?                                        20 needs for these prescriptions. They were
    21        MS. MAINIGI: Objection; scope and time            21 increasing the quotas during this time period.
    22 period.                                                  22     Q. Do you have an understanding of how they
    23    A. Cardinal Health understands the                    23 were increasing the quotas and what information
    24 customers that it is distributing to.                    24 they were relying on when increasing these quotas?


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     1        MS. MAINIGI: Objection; scope.                  1     Q. Ma'am, even if it distributed some of
     2 Objection; time period.                                2 them, it would have increased the business; would
     3    A. I don't know exactly how they increased          3 it not?
     4 the quotas. I would be guessing that they rely on      4        MS. MAINIGI: Objection; scope.
     5 a variety of information.                              5 Objection; form. Objection; time period.
     6    Q. Including information provided by the            6     A. A small portion of the overall
     7 manufacturers and wholesale distributors, correct?     7 pharmaceuticals that Cardinal Health distributes.
     8        MS. MAINIGI: Objection; scope.                  8     Q. So is that a yes, it would have
     9    A. That is likely one of the data points.           9 increased the business?
    10    Q. And this increase -- this 20 times              10        MS. MAINIGI: Objection; asked and
    11 multiple increase in OxyContin prescriptions,         11 answered. Objection; form and scope, and time
    12 those pills all have to flow through the wholesale    12 period.
    13 distributor as you testified, correct?                13     A. I don't know specifically.
    14        MS. MAINIGI: Objection; form.                  14        MR. FULLER: All right. This is Norris
    15 Objection; scope. Objection; asked and answered.      15 31.
    16    A. I believe I testified that the                  16                ---
    17 pharmaceuticals are distributed by -- the pills       17      (Cardinal-Norris Exhibit 9 marked.)
    18 are distributed by Cardinal Health to a licensed      18                ---
    19 pharmacy for dispensing pursuant to a prescription    19        MR. FULLER: This is going to be
    20 from a licensed physician.                            20 Plaintiff's Exhibit Number 9.
    21    Q. So that means more business for Cardinal        21 BY MR. FULLER:
    22 Health, correct?                                      22     Q. Do you see this document, ma'am, what's
    23        MS. MAINIGI: Objection; scope.                 23 been marked as Plaintiff's Number 9? It's
    24    A. I don't know that Cardinal Health               24 entitled "Under the Counter: The Diversion and

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     1 distributed all of these.                              1
                                                             Abuse   of  Controlled  Prescription  Drugs in the
     2     Q. Well, they may not have distributed all      2 U.S.," July of 2005?
     3 of them, but they probably distributed some of      3     A. I see that's the title of the document.
     4 them.                                               4     Q. Who does it say it's funded by with an
     5          Can we agree to that?                      5 unrestricted grant?
     6          MS. MAINIGI: Objection; scope.             6     A. It says, "Funded by an unrestricted
     7 Objection; time period.                             7 grant from Purdue Pharma LP."
     8     A. Perhaps as a small percentage of             8     Q. And this was a study that was
     9 everything else Cardinal Health distributes to its 9 commissioned by this grant by Purdue Pharma. And
    10 customers.                                         10 if you'll turn to page 9. And just let me know
    11     Q. So we can agree that this increase also     11 when you get there.
    12 increased the business at Cardinal Health?         12     A. Okay.
    13          MS. MAINIGI: Objection; time period.      13     Q. And on page 9, do you see where it says
    14 Objection; scope.                                  14 "The bottom line"?
    15     Q. Yeah. Let me strike that. Let me ask        15     A. I see that.
    16 it a little better.                                16     Q. Read that to us, if you would, please,
    17          We can agree that this 20-time increase   17 or read it to the jury.
    18 in the number of OxyContin prescriptions also      18     A. "The bottom line: Our nation is in the
    19 increased the business at Cardinal Health?         19 throws of an epidemic of controlled prescription
    20          MS. MAINIGI: Objection; scope.            20 drug abuse and addiction. Today 15.1 million
    21 Objection; time period. Objection; form.           21 people admit abusing prescription drugs, more than
    22     A. Not necessarily. As I said, I don't         22 the combined number who admit abusing cocaine,
    23 know that Cardinal Health distributed all or a     23 hallucinogens, inhalants, and heroin combined."
    24 significant portion of these.                      24        Sorry. I didn't read the numbers. If

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     1 you want me to read it --                          1         MS. MAINIGI: Objection; form.
     2     Q. No, no, no.                                  2 Objection; scope and time period.
     3     A. -- again with the numbers, I can.            3     A. That is what the document says, yes.
     4     Q. That's fine. Thank you.                      4     Q. And if you scroll on down to the next
     5        Does Cardinal recognize that at this         5 highlighted section. It says, "Children are
     6 time during 2005 that we are in the throws of an    6 especially at risk. In 2003, 2.3 million teens
     7 epidemic of controlled prescription drug abuse?     7 between the ages of 12 and 17 admitted abusing
     8        MS. MAINIGI: Objection; scope.               8 prescription drugs in the past year. 83 percent
     9 Objection; time period.                             9 of them admitted abusing opioids."
    10     A. Cardinal Health recognizes that there is    10        Do you see that?
    11 an issue in the country with prescription drug     11     A. I see that language, yes.
    12 abuse. It's not qualified to determine the timing  12     Q. Would you agree if that is true, that
    13 of that. That's for the public policymakers, but   13 that is clearly a sign of an epidemic in this
    14 Cardinal Health understands there is a significant 14 country?
    15 issue.                                             15        MS. MAINIGI: Objection; form, time
    16     Q. And as it relates to this study, it         16 period, and scope.
    17 indicates that we're in the throws of it even back 17     A. I agree that it's a finding. I don't
    18 in 2005, correct?                                  18 know what the indicia of an epidemic -- I can't
    19        MS. MAINIGI: Objection; scope.              19 say what the indicia of an epidemic are. This is
    20 Objection; time period.                            20 a finding that the study made.
    21     A. That is when this study was -- what this 21        Q. So you can't tell us whether it's an
    22 study found at the time. Again, Cardinal Health 22 epidemic whether 2.3 kids between the ages of 12
    23 isn't making a determination. It's not in the      23 and 17, which, according to this, is 9.3 percent
    24 position to make the determination, but it is      24 of the kids in that age group are abusing

                                                Page 99                                             Page 101
     1 aware of it.                                       1
                                                          prescription pain drugs, and you can't tell us
     2    Q. And at this time, at least according to    2 whether that's an epidemic --
     3 the findings in the study -- which you have no   3         MS. MAINIGI: Objection.
     4 reason to disagree with, correct?                4     Q. -- an issue, a crisis?
     5        MS. MAINIGI: Objection; form.             5         MS. MAINIGI: Excuse me. Objection;
     6 Objection; scope. Objection; time period.        6 form, scope, and time period.
     7    A. I haven't read the whole study, so I       7     A. Well, now you've introduced new words.
     8 can't say whether --                             8 It's certainly an issue. Again, I'm not -- I'm
     9    Q. Sure.                                      9 not qualified to opine on what constitutes an
    10    A. -- I agree or disagree.                   10 epidemic.
    11    Q. But, again, sitting here today, you have  11     Q. You certainly agree it's a bad issue?
    12 no basis to disagree with it. I understand you  12 Would you agree with that?
    13 haven't read it. I'm not asking you to read it. 13         MS. MAINIGI: Objection; form, scope,
    14    A. I can't say I agree or --                 14 and time period.
    15        MS. MAINIGI: Hang on. Objection; form, 15       A. It's an issue to be concerned about.
    16 Objection; scope. Objection; time period.       16     Q. It's not something that we want
    17        Go ahead.                                17 happening in this country?
    18    A. I can't say whether I agree or disagree   18         MS. MAINIGI: Objection; form, scope,
    19 with the study. It's a relatively voluminous    19 and time period.
    20 document that I have never seen before.         20     A. It's not something I would want
    21    Q. Sure. And it finds that today             21 happening in this country.
    22 15.1 million people admit to prescription drug  22     Q. Or anywhere else, for that matter,
    23 abuse, more than cocaine, hallucinogens,        23 correct?
    24 inhalants, and heroin combined, right?          24         MS. MAINIGI: Objection; form, scope,

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     1 and time period.                                   1  investigator positions in fiscal year 2001. The
     2     A. No, I wouldn't want this to happen.          2 authorized diversion investigator positions were
     3                ---                                  3 assigned as follows: 55 at headquarters, 455 at
     4      (Cardinal-Norris Exhibit 10 marked.)           4 domestic field offices, and the remaining 13 at
     5                ---                                  5 overseas offices."
     6     Q. Okay. Ma'am, I think you have in front       6    Q. So that puts somewhere about 510 DEA
     7 of you what for the record is Norris 12 and has     7 investigators keeping oversight of the controlled
     8 been marked for this deposition Plaintiff's         8 substances in this country, correct?
     9 Exhibit Number 10; is that correct? It's the        9        MS. MAINIGI: Objection; time period,
    10 sticker number 10 on the bottom.                   10 scope, form.
    11     A. It is.                                      11    A. There were 500 and so in the
    12     Q. All right. And do you know who Glenn        12 authorized --
    13 Fine is?                                           13    Q. Well, I'm just doing --
    14     A. I don't, other than the document says       14    A. -- diversion investigator positions.
    15 Inspector General.                                 15    Q. Yeah. I'm doing 55 plus 455 I think is
    16     Q. Inspector General. Well, I assure you       16 510, right?
    17 that I didn't make that up.                        17    A. Sorry.
    18        Okay. And do you see the subject? Read      18        MS. MAINIGI: Objection; form.
    19 the subject to us, if you would, please.           19    A. And then plus 13.
    20     A. The subject is, "Review of the Drug         20    Q. Yeah, those are overseas.
    21 Enforcement Administration's Investigations of the 21    A. Yeah. Okay.
    22 Diversion of Controlled Pharmaceuticals, Report    22    Q. So we can agree that in -- at least
    23 number I-2002-010."                                23 according to this, the Inspector General report
    24     Q. And I'll represent to you that this is a    24 done in 2012 -- excuse me -- 2002, approximately

                                               Page 103                                              Page 105
     1 report that came out September of 2002. Cardinal   1 510 DEA investigators related to diversion of
     2 also recognizes that it's the DEA which regulates  2 controlled substances in this country; is that
     3 wholesale distributors; is that correct?           3 right?
     4     A. Among other bodies, yes.                    4        MS. MAINIGI: Objection; form, scope,
     5     Q. Maybe some state entities and others out    5 time period.
     6 there, but as far as the federal government, one   6    A. I believe that's what this says.
     7 of the main ones is the DEA?                       7                 ---
     8     A. Yes.                                        8     (Cardinal-Norris Exhibit 11 marked.)
     9     Q. Is it the DEA that generally                9                 ---
    10 investigates and deals with diversion of          10    Q. Now, let's continue to the next
    11 controlled substances?                            11 document. The next document is going to be
    12     A. I believe so.                              12 Plaintiff's Norris 13, which is going to be
    13     Q. If you'll turn to page 12. When you get    13 Exhibit 11 to this deposition.
    14 there, let me know when you're ready.             14        Now, I'll represent to you that
    15     A. Okay. Just a second.                       15 Plaintiff's 11 is part of a bigger Congressional
    16     Q. Yes, ma'am.                                16 record. It's about 900 pages. I decided not to
    17     A. Okay.                                      17 print all 900 pages for you.
    18     Q. If you turn to page 12. Do you see the     18    A. I and our environment appreciate that.
    19 highlighted section there?                        19    Q. You are welcome. You are welcome.
    20     A. I do.                                      20        This is a report done by the Honorable
    21     Q. If you'll read that aloud for us,          21 Rudolph Giuliani before the U.S. Senate Permanent
    22 please.                                           22 Subcommittee on Investigations.
    23     A. "Diversion investigators represented       23        Do you see that?
    24 10 percent, or 523, of the DEA's 5,124 authorized 24    A. I do.

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     1     Q. And it's dated June 17th of 2004.                 1 hired by PhRMA to look into this issue of Canadian
     2     A. That is the date on the front.                    2 and foreign medicines, right?
     3     Q. What is the title of this report?                 3        MS. MAINIGI: Objection; form and
     4     A. Buy --                                            4 time -- or excuse me. Objection; scope and time
     5     Q. I'm sorry. Go ahead.                              5 period.
     6     A. "Buyers Beware: The Dangers of                    6    A. I believe that's what the language says.
     7 Purchasing Pharmaceuticals Over the Internet."           7    Q. And if you'll turn to -- now to page 4.
     8     Q. Now, you're aware that during this time           8    A. Can you give me just a second, please?
     9 frame, that there was a concern about Internet           9    Q. Sure. I'm sorry. I apologize.
    10 pharmacies; is that right?                              10    A. That's okay. Okay.
    11        MS. MAINIGI: Objection; form, time               11    Q. Ma'am, on page 4, read that first
    12 period.                                                 12 highlighted sentence for us, please.
    13     A. I am aware that Internet pharmacies              13    A. "On its face, it appears that the
    14 generally during this time period were on folks'        14 distribution chain for prescription medicines in
    15 minds, yes.                                             15 the United States is fairly straightforward.
    16     Q. And it was an issue of concern, because          16 Manufacturers sell their products to wholesalers
    17 in 2008, Cardinal paid a $34 million fine related       17 who in turn sell the products to retail pharmacies
    18 to Internet pharmacies and the distributions            18 or stores who in turn dispense medicines to
    19 thereto, correct?                                       19 patients with prescriptions."
    20        MS. MAINIGI: Objection; form, scope.             20    Q. Okay.
    21     A. I believe it was an issue of concern             21    A. "It is not until the" --
    22 because we had communications with the DEA as far       22    Q. Hold on. Just the first sentence.
    23 back as, I believe, 2005 regarding Internet             23 That's all I asked.
    24 pharmacies.                                             24    A. Oh, I'm sorry.
                                                     Page 107                                                  Page 109
     1     Q. And then in 2008, Cardinal entered a             1     Q. And you would agree with us -- or agree
     2 Memorandum of Agreement with the DEA related to 2 with the statement that on its face, it's a pretty
     3 distributions pertaining to Internet pharmacies;        3 simplistic system; manufacturers to wholesalers,
     4 is that correct or incorrect?                           4 then to retail pharmacies or drugstores, correct?
     5     A. Cardinal entered into a Memorandum of            5          MS. MAINIGI: Objection; scope.
     6 Agreement in 2008 in which it made no admissions.       6     A. I would say that is the system. Not
     7     Q. It made no admissions, but the basis of          7 even on its face, but yes.
     8 the allegations were related to distributions           8     Q. And I was saying it was pretty
     9 related to Internet pharmacies; is that correct or      9 simplistic on its face, correct?
    10 incorrect, ma'am?                                      10          MS. MAINIGI: Objection; scope.
    11     A. It is correct that the allegations              11     A. I think it's -- it is simplistic.
    12 related to Internet pharmacies.                        12 It's -- that's the --
    13     Q. Okay. And we'll get into more of those          13     Q. Fair enough.
    14 later, but that's fine.                                14          Then the report goes on to say, "It is
    15        If you'll turn to page 2. It says,              15 not until the system is studied in greater detail
    16 "Giuliani Partners LLC has been retained by the        16 that one begins to appreciate both the
    17 Pharmaceutical Research and Manufacturers of           17 complexities and the vulnerability of the
    18 America (PhRMA) to evaluate the risks, if any,         18 distribution chain and the potential for
    19 associated with the importation of Canadian and        19 exploitation or abuse."
    20 foreign medicines."                                    20          Correct?
    21        Do you see that there?                          21          MS. MAINIGI: Objection.
    22     A. I see that language.                            22          Are you asking her if she agrees or
    23     Q. And that's telling us, is it not, that          23 whether that's what it says?
    24 the Giuliani group, for lack of a better term, was     24          MR. FULLER: Yes, ma'am. I'm asking her

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     1 if that's what it says first.                         1 Q.    So Cardinal  has -- so Cardinal agrees
     2     A. That is what the sentence says, yes.        2 that it has had allegations as well as admitted
     3     Q. And do you agree that the chain is          3 violations related to this vulnerable chain of
     4 subject to potential exploitation and abuse?       4 distribution related to controlled substances;
     5         MS. MAINIGI: Objection; scope.             5 correct?
     6     A. Not necessarily.                            6         MS. MAINIGI: Objection; form.
     7     Q. Has Cardinal been fined in the past for     7 Objection; scope.
     8 potentially exploiting or abusing this closed      8    A. Cardinal Health agrees that it made
     9 system distribution?                               9 payments related to allegations and made a
    10         MS. MAINIGI: Objection; form.             10 settlement payment with regard to specific
    11     A. Are you referring to the 2005 settlement   11 admissions.
    12 with New York?                                    12    Q. So it made a $34 million payment related
    13     Q. I'm referring to the 2005 settlement       13 to allegations in 2008; is that correct?
    14 with New York, the 2008 settlement with the       14    A. It made a $34 million payment as a
    15 Department of Justice, the 2012 settlement with   15 settlement with the DEA.
    16 the Department of Justice where they admitted     16    Q. It also made a $34 million payment
    17 violations, and the 2016 admission with the State 17 related to not just allegations but admissions in
    18 of New York related to additional violations.     18 2012, correct?
    19     A. I'm not --                                 19    A. Cardinal Health made a $34 million
    20         MS. MAINIGI: Question?                    20 payment   in 2012 pursuant to a settlement agreement
    21     Q. Yes, ma'am. You can go ahead.              21 in which it made very limited admissions.
    22         MS. MAINIGI: Is there a question          22    Q. And then in 2016, Cardinal made another
    23 pending?                                          23 admission of liability and paid another
    24         MR. FULLER: Yeah. She asked me what I 24 $10 million to New York, is that correct, for
                                                 Page 111                                                Page 113
     1 was referring to. I explained what I was              1 similar type of allegations?
     2 referring to. And she can answer the question         2          MS. MAINIGI: Objection; form.
     3 that is still pending.                                3     A. Let me clarify because I just misspoke.
     4        MS. MAINIGI: Could we have that read           4 In 2012, no payment was made. In 2016,
     5 back, please?                                         5 34 million -- a total of $44 million was paid in
     6        (Record read back as follows:                  6 connection with a very limited settlement and very
     7        "Question: Has Cardinal been                   7 limited admissions contained therein.
     8        fined in the past for potentially              8     Q. Okay. So, again, just to clean it up,
     9        exploiting or abusing this closed              9 Cardinal's admitted violations as well as paid
    10        system distribution?")                        10 fines for allegations related to the -- related to
    11        MS. MAINIGI: Objection; form.                 11 allegations that -- well, strike that. Let me do
    12 Objection; scope.                                    12 it a little easier.
    13    A. I don't agree with the term                    13          Cardinal has paid fines related to
    14 "exploiting." Cardinal Health has paid fines in      14 simply allegations of violations to the Controlled
    15 the past related to particular settlements.          15 Substances Act and distribution of controlled
    16    Q. For settlements for allegations as well        16 substances, correct?
    17 as admitted violations of these laws related to      17     A. No. Cardinal Health paid fines as part
    18 this distribution chain; is that accurate?           18 of a settlement agreement in which it made no
    19        MS. MAINIGI: Objection; form.                 19 admissions.
    20 Objection; scope.                                    20     Q. But those settlement agreements were
    21    A. We made settlement payments pursuant to        21 related to allegations of violations of the
    22 a settlement agreement with no admissions. We        22 Controlled Substances Act; yes or no?
    23 made a very limited admission and made a             23          MS. MAINIGI: Objection; form.
    24 settlement payment.                                  24     A. There were allegations made. Cardinal

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     1 Health made no admissions.                         1         MR. FULLER: Hey, did you change out my
     2     Q. What were those allegations?                 2 strips?
     3        MS. MAINIGI: Objection; form.                3        THE COURT REPORTER: I added more.
     4        Do you have the agreement so she can         4 You're on 12.
     5 look at it?                                         5        MR. FULLER: Oh, am I? Okay.
     6     A. In order to be clear, it would be            6        MS. MAINIGI: Did you get like a speaker
     7 helpful to have the document so we can go through 7 over there?
     8 the specific allegations, if that's what we want    8        MR. FULLER: Yeah, I don't know what it
     9 to do.                                              9 is, but I hear myself talking, and it's weird.
    10     Q. No, ma'am. I just want a general idea.      10        MS. MAINIGI: I agree.
    11 Do you know any of the allegations?                11        MS. VELDMAN: Do you want him to lower
    12        MS. MAINIGI: Objection; form.               12 that?
    13     Q. Did it have to do with the distribution     13        THE VIDEOGRAPHER: I did. It should be
    14 of controlled substances?                          14 better now.
    15        MS. MAINIGI: Objection; form.               15        MR. FULLER: How about now? Better?
    16     A. I believe it had to do with the             16        MS. MAINIGI: (Indicates affirmatively.)
    17 distribution of controlled substances to certain   17                ---
    18 customers. But, again, without the document in     18      (Cardinal-Norris Exhibit 12 marked.)
    19 front of me, I am not going to go into the         19                ---
    20 particulars. I want to ensure that I am accurate   20        MR. FULLER: This is Norris 8, it's
    21 for the record.                                    21 going to be Plaintiff's Exhibit Number 12.
    22     Q. And Cardinal also admitted to violations    22 BY MR. FULLER:
    23 of the Controlled Substances Act and as it relates 23     Q. And, ma'am, have you seen this case
    24 to this distribution of controlled substances,     24 before?

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     1 correct?                                           1     A. I have.
     2        MS. MAINIGI: Objection; form and scope.     2     Q. And what case is it?
     3    A. Again, in the 2016 settlement                3     A. Masters Pharmaceutical, Inc. v. DEA.
     4 agreement -- and, again, without having it in      4     Q. Okay. And you're aware this decision
     5 front of me and being very clear about the         5 came out in June of last year; is that correct?
     6 particulars -- there was a settlement made and     6     A. I believe so.
     7 admission related to certain discrete issues.      7     Q. And it deals with the Controlled
     8    Q. And let's just make sure the record is       8 Substances Act and the shipping and reporting
     9 clear -- and we'll get it out later.               9 requirements; is that correct?
    10        But the Memorandum of Understanding        10     A. I believe it mentions the shipping
    11 entered and signed off on in 2012 actually        11 requirement, and the reporting requirement is sort
    12 contains those admissions, correct?               12 of the central issue.
    13        MS. MAINIGI: Objection; form.              13     Q. So it discusses both; is that correct?
    14 Objection; scope.                                 14     A. It makes reference to both, yes.
    15    A. Without the documents in front of me --     15     Q. And if you'll turn to page 7 of the --
    16    Q. Fair enough.                                16 now, in -- let's back up for a second.
    17    A. I just want to be clear.                    17        You've had an opportunity to read this
    18        MR. FULLER: Sure, sure. Let's take         18 opinion before today?
    19 another quick break.                              19     A. I have.
    20        THE VIDEOGRAPHER: The time is now          20     Q. And you're probably aware -- and tell me
    21 11:03. Going off the record.                      21 if you're not -- that the -- some of the other
    22        (Recess taken.)                            22 Defendants in this case, AmerisourceBergen and
    23        THE VIDEOGRAPHER: Okay. The time is        23 McKesson, have also designated 30(b) witnesses?
    24 now 11:22. Back on the record.                    24     A. Yes, I am aware.

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     1     Q. Have you reviewed any of their                 1   Q.   And   what did Todd   answer?
     2 testimony?                                          2     A. Todd answered that upon the decision, he
     3     A. No, I have not.                              3 reviewed    the decision, reviewed it with counsel,
     4     Q. Okay. In preparation for this                4 Cardinal Health counsel.
     5 deposition, did you actually read this opinion?     5     Q. Internal counsel, or you're not sure?
     6     A. I did.                                       6     A. I'm not positive if it was also outside
     7     Q. Okay. And let me ask you, how much time      7 counsel. We do have internal counsel, so ... and
     8 have you spent preparing for this deposition?       8 determined that --
     9     A. The last three and a half weeks from         9         MS. MAINIGI: And one thing I will
    10 the -- beginning the -- Monday the 16th, I believe 10 caution you, Ms. Norris, is to not reveal any
    11 it was, through today.                             11 privileged information that Mr. -- any privileged
    12     Q. And I won't say 24 hours a day. Mainly      12 exchanges Mr. Cameron may have had with counsel.
    13 your working hours of your day have been           13     A. And based on those reviews --
    14 encompassed by preparing for this 30(b) notice --  14         MS. MAINIGI: Perhaps you could phrase
    15     A. Yes.                                        15 it after his communications with counsel, what
    16     Q. -- or the notices, correct?                 16 actions he took.
    17     A. Yes. I'm sorry.                             17     A. After Mr. Cameron's review of the case
    18     Q. Okay. And tell me -- again, other than      18 and with counsel, he determined that no changes
    19 counsel, who else have you spoken with related to 19 were needed to our program, that it was in
    20 the preparation for this 30(b) notice?             20 compliance with the decision.
    21     A. I spoke to a variety of individuals at      21     Q. All right. So let's look at Masters
    22 Cardinal Health. I'll try to remember them all.    22 Pharmaceutical. And if you'll turn to page 7 for
    23 Michael Mone, Todd Cameron, Gilberto Quintero. 23 me.
    24     Q. Hold -- slow down a little bit for me.      24     A. Yes, I'm there.

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     1    A. Sorry. Michael Mone.                            1     Q. Okay. And if you will read where it
     2    Q. Mr. Cameron?                                    2 starts, "The security requirement."
     3    A. Todd Cameron.                                   3     A. "The 'security requirement' at the heart
     4    Q. Roberto?                                        4 of the case mandates that distributors 'design and
     5    A. Gilberto Quintero.                              5 operate a system' to identify 'suspicious orders
     6    Q. Yes, ma'am.                                     6 of controlled substances' and report those to DEA
     7    A. Danny Roberts.                                  7 (the Reporting Requirement)."
     8    Q. Yes, ma'am.                                     8     Q. Does Cardinal Health agree that it has a
     9    A. Linden Barber.                                  9 reporting requirement to identify and report
    10    Q. Yes, ma'am.                                    10 suspicious orders of controlled substances?
    11    A. Steve Reardon, Sean Callinicos.                11     A. Yes.
    12    Q. Spell the last name for me.                    12     Q. And what is Cardinal's position --
    13    A. I believe it is C-a-l-l-i-n-c-o-s [sic]        13 strike that.
    14 or something to that effect.                         14         And Cardinal agrees that has been the
    15    Q. Fair enough. He'll forgive you.                15 obligation since the enactment of the Controlled
    16    A. Just one second. Let me try to                 16 Substances Act and particularly this regulation in
    17 remember. I believe that's everybody. I believe      17 1971, correct?
    18 that's everyone. If I -- if somebody pops into my    18         MS. MAINIGI: Objection; scope.
    19 brain, I will let you know.                          19 Objection; time period.
    20    Q. And who did you speak -- other than            20     A. Cardinal Health understands its
    21 counsel -- with about the Masters Pharmaceutical     21 reporting obligation pursuant to the Controlled
    22 case?                                                22 Substances Act.
    23    A. Todd Cameron and I -- Todd answered a          23     Q. No, ma'am. That's not my question.
    24 question regarding it.                               24 Okay. Let me ask it again.


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     1        Cardinal agrees that this reporting            1
                                                             supply chain and use that information to ferret
     2 requirement has been the obligation since the       2 out potential legal activity."
     3 enactment of the regulation that we looked at       3        MS. MAINIGI: Legally.
     4 earlier in 1971 related to suspicious orders,       4        MR. FULLER: I'm sorry. Where did I
     5 correct?                                            5 screw up?
     6        MS. MAINIGI: Objection; time period.         6        MS. MAINIGI: You said "legal," not
     7 Objection; scope.                                   7 "legally."
     8     A. This reporting requirement has existed       8        MR. FULLER: Potentially a legal
     9 since 1971 in the statute.                          9 activity. Sorry.
    10     Q. And the rendition of it that we just        10        MS. MAINIGI: "Along the legally
    11 read is the obligation that it places on Cardinal, 11 regulated supply chain."
    12 correct?                                           12 BY MR. FULLER:
    13        MS. MAINIGI: Objection; form.               13     Q. All right. Well, let's try this again.
    14     A. That is correct, as modified by the DEA 14            Ms. Norris, the case then reads, "The
    15 guidance we have received over the years, yes.     15 Reporting Requirement is a relatively modest one.
    16     Q. Well, now, that's a different               16 It requires only that a distributor provide basic
    17 qualification now. Okay.                           17 information about certain orders to the DEA so
    18        I believe you've already agreed -- and      18 that DEA investigators in the field can aggregate
    19 correct me if I am wrong -- that the reporting     19 reports from every point along the legally
    20 requirement requires Cardinal to identify and      20 regulated supply chain and use the information to
    21 report suspicious orders of controlled substances; 21 ferret out potential illegal activity."
    22 is that accurate?                                  22        Is that correct?
    23     A. That is what the regulation requires.       23     A. That is correct.
    24     Q. And that regulation has been in place       24     Q. And is that Cardinal's understanding of
                                                Page 123                                                Page 125
     1 since 1971 and has always required that; is that      1 the law?
     2 Cardinal's position?                                  2         MS. MAINIGI: Objection; scope.
     3         MS. MAINIGI: Objection; scope.                3     A. I believe so, yes.
     4 Objection; time period.                               4     Q. Okay. And let's break it down. It says
     5     A. The language of the statute has always         5 that it requires a distributor to provide basic
     6 required that. The DEA's guidance to us on how to     6 information about certain orders to the DEA. And
     7 implement that has changed over time.                 7 Cardinal would agree that the basic information is
     8     Q. And I'm not asking about implementation        8 at least to provide the order that's being
     9 right now.                                            9 submitted that qualifies as suspicious, correct?
    10     A. Okay.                                         10         MS. MAINIGI: Objection; scope.
    11     Q. So let's separate the two, okay?              11     A. Generally, yes.
    12     A. Okay.                                         12     Q. Okay. "And this is just a further
    13     Q. As far as the reporting requirement           13 explanation of the reporting requirement we just
    14 itself, has that been an obligation that's been on   14 talked about; therefore, it applies all the way
    15 Cardinal since the regulation was enacted in 1971    15 back to 1971 when the suspicious order regulation
    16 with the caveat whenever Cardinal started            16 was enacted."
    17 distributing controlled substances?                  17         Does Cardinal agree with that?
    18     A. Yes. Yes.                                     18         MS. MAINIGI: Objection; scope.
    19     Q. Then it reads, "The Reporting                 19 Objection; time period.
    20 Requirement is a relatively modest one that          20     A. I can't opine on that. This feels like
    21 requires only that a distributor provide the basic   21 more commentary about what they thought it meant
    22 information about certain orders to DEA so that      22 in the case that's then referenced there.
    23 DEA investigators in the field can aggregate         23     Q. So does -- I'm sorry. Go ahead.
    24 reports from every point along the legal regulated   24     A. But the reporting requirement went back

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     1 to 1971.                                           1      A. Yes.
     2     Q. So as it relates to what you've              2     Q. The other alternative is to conduct due
     3 qualified as commentary, does Cardinal agree or     3 diligence, and if it's able to -- or if Cardinal
     4 disagree with that, that that is their obligation?  4 is able to determine that the order is not likely
     5        MS. MAINIGI: Objection; form.                5 to be diverted into legal channels, then ship the
     6 Objection; scope. Objection; time period.           6 order? Is that Cardinal's understanding?
     7     A. I believe that that is Cardinal's            7     A. Correct.
     8 obligation.                                         8     Q. Prior to the enactment or the rendering
     9     Q. Now, let's go further down. Let's go         9 of this Masters Pharmaceutical opinion, when you
    10 down to the next sentence. "Once a distributor     10 mentioned there was a shipping requirement
    11 has reported a suspicious order, it must make one 11 Cardinal believes it had, how far back did that
    12 of two choices: Decline to ship the order or       12 same shipping requirement go?
    13 conduct some due diligence; and if it is able to   13     A. Back to approximately 2007.
    14 determine that the order is not likely to be       14     Q. We're going to baby step this, okay? So
    15 diverted into legal channels, ship the order," and 15 bear with me.
    16 then in parentheses "Shipping requirement."        16     A. Okay.
    17        Does Cardinal agree that based on this      17     Q. So from approximately some point in
    18 case, Masters Pharmaceutical, as of June of last   18 2007, Cardinal believes it had the shipping
    19 year, Cardinal now has a shipping requirement?     19 requirement that's set out in the Masters
    20        MS. MAINIGI: Objection; scope.              20 Pharmaceutical case applicable to them?
    21     A. In 2017, did Cardinal Health have a         21     A. Approximately, because obviously I think
    22 shipping requirement?                              22 we'll get there. The Dear Registrant letters
    23     Q. Yes, ma'am.                                 23 started coming out. So approximately that time
    24     A. Yes.                                        24 period.

                                               Page 127                                              Page 129
     1     Q. Prior to 2000- -- prior to the rendering    1     Q. So since 2007 or approximately that time
     2 of the Masters Pharmaceutical case, did Cardinal   2 period, Cardinal has not shipped suspicious
     3 have a shipping requirement?                       3 orders, correct?
     4     A. Yes.                                        4     A. Since 2007, Cardinal Health has not
     5     Q. How far back does Cardinal take the         5 shipped an order that it has reported as
     6 position that this shipping -- strike that.        6 suspicious to the DEA.
     7        Prior to 2017 and the rendering of this     7     Q. And since 2007, Cardinal has not shipped
     8 Masters Pharmaceutical opinion, does Cardinal      8 a suspicious order that it hasn't determined --
     9 believe its shipping requirement was the same as   9 that it hasn't done the due diligence on to
    10 outlined here in the Masters Pharmaceutical case? 10 determine it's not going to be diverted, correct?
    11     A. Generally, yes.                            11         MS. MAINIGI: Objection; form.
    12     Q. Okay. So as it relates to -- and we're     12     A. Since approximately 2007, Cardinal
    13 not going to talk necessarily about how far back  13 Health has not shipped an order it has reported as
    14 it goes yet.                                      14 suspicious to the DEA.
    15        So we have an understanding, the           15     Q. Okay. So how many orders since 2007 --
    16 shipping requirement gives you two choices,       16 how many suspicious orders has Cardinal shipped
    17 correct?                                          17 that it failed to report to the DEA --
    18     A. As it's laid out here, yes.                18         MS. MAINIGI: Objection; form.
    19     Q. And you agree -- Cardinal agrees with      19     Q. -- since 2007?
    20 that, correct?                                    20     A. None to Cardinal Health's knowledge.
    21     A. Yes.                                       21     Q. Prior to 2007, was Cardinal shipping
    22     Q. Okay. The first choice is you can          22 suspicious orders?
    23 decline the ship? You can cut the order as        23     A. Prior to its understanding from the DEA
    24 Cardinal uses the phrase, correct?                24 of the obligation, the change, the sea change in


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     1 the obligation to suddenly -- suddenly maybe is            1 comply with that required the reporting of
     2 the wrong word -- to not --                                2 suspicious orders, correct?
     3    Q. I mean, suddenly is good for you.                    3     A. Cardinal understood the language of the
     4    A. -- to not ship pursuant to the guidance              4 statute --
     5 by the DEA, it was a report only period. Cardinal          5     Q. Hold on. Hold on. I'm not --
     6 Health made the reports as required by the DEA.            6        MS. MAINIGI: Let her finish. Let her
     7    Q. So prior to 2007, Cardinal was shipping              7 finish.
     8 suspicious orders? Well, strike that. Let me               8        MR. FULLER: Okay.
     9 back up.                                                   9 BY MR. FULLER:
    10         Prior to this approximate time frame of           10     Q. Sorry. Go ahead.
    11 2007, which we have yet to nail down, Cardinal was        11     A. Cardinal Health understood the language
    12 shipping orders that it reported as suspicious?           12 of the statute and the guidance we received from
    13    A. During the time period prior to 2007,               13 the DEA and was making the reports accordingly.
    14 Cardinal Health's obligation was to report only.          14     Q. So my question is, did Cardinal file
    15    Q. Yes, ma'am. I got that. But my                      15 suspicious order reports prior to approximately
    16 question is, prior to this approximate 2007 time          16 2007?
    17 frame, Cardinal was shipping suspicious orders            17        MS. MAINIGI: Objection; form.
    18 after it reported -- well, strike that. Let me            18     A. I don't know that that's what they were
    19 ask it differently.                                       19 calling them at that time. Again, we filed per
    20         Prior to 2007, do you know whether                20 the DEA's guidance ingredient limit reports,
    21 Cardinal was reporting and then shipping                  21 excessive order reports.
    22 suspicious orders or shipping suspicious orders           22     Q. So prior to 2007 -- so prior to 2007,
    23 and then reporting?                                       23 Cardinal was knowingly shipping orders that it
    24         MS. MAINIGI: Objection; form.                     24 knew qualified as suspicious under the regulation,

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     1 Objection; time period.                                 1 correct?
     2        Go ahead.                                        2        MS. MAINIGI: Objection; form.
     3     A. In accordance from the guidance we               3 Objection; time period.
     4 received from the DEA, Cardinal Health was making 4          A. No, not necessarily.
     5 the reports as required by the DEA, the ingredient      5    Q. What you've told us -- and see if I
     6 limit reports and the excessive order reports, and      6 understand it correctly.
     7 it was shipping orders in accordance with the           7        You told us that prior to 2007, Cardinal
     8 guidelines from the DEA. If pursuant to one of          8 only had a reporting requirement according to
     9 those excessive order reports the DEA said "Do not      9 Cardinal, correct?
    10 ship," we did not ship.                                10    A. According to Cardinal and others, yes.
    11     Q. You mentioned excessive order reports           11    Q. And, therefore, Cardinal believes it was
    12 and some other type of reports.                        12 doing what it was supposed to do in reporting
    13     A. Ingredient limit reports.                       13 suspicious orders, but it was still shipping
    14     Q. Was Cardinal actually reporting                 14 suspicious orders, correct?
    15 suspicious orders prior to this time period in         15    A. Cardinal Health was doing what it was
    16 2007?                                                  16 directed to do by the DEA.
    17        MS. MAINIGI: Objection; time period.            17    Q. So I'm just asking, during this time
    18        Go ahead.                                       18 frame prior to 2007, did Cardinal report orders as
    19     A. As required by the DEA, we were                 19 potentially suspicious or suspicious orders and
    20 submitting the ingredient limit reports pursuant       20 then still send the shipments out?
    21 to the guidance we received, as well as the            21        MS. MAINIGI: Objection; time period.
    22 excessive order reports.                               22    A. Yes. That is the direction we received
    23     Q. But during this time prior to 2007,             23 from the DEA. We made the reports as required,
    24 Cardinal knew that it had a rule that it had to        24 and there was not a shipping requirement.


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     1     Q. Now, just so I understand, what is an --           1 BY MR. FULLER:
     2 you said "an excessive order report." What is             2     Q. Would you agree with that?
     3 that?                                                     3     A. I would agree with that.
     4     A. Within the distribution centers, the               4     Q. Okay. Now, conversely, when we say
     5 folks that are picking the orders have the ability        5 "reporting requirement," we don't mean not report?
     6 to identify an order of a new rule, size, pattern,        6     A. Correct.
     7 or frequency, and raise their hand, so to speak,          7     Q. Okay.
     8 to identify that order, and in doing so, during           8     A. We can blame Masters.
     9 this time period, we were submitting those to the         9     Q. Tell me what Cardinal's position --
    10 DEA as excessive order reports.                          10 strike that.
    11     Q. Would they be submitted order by order,           11         So it's Cardinal's position that the
    12 or was it a compilation of things that occurred          12 first time they were informed of a potential
    13 over a period of time?                                   13 shipping requirement was in Rannazzisi's 2006
    14     A. My understanding is order by order.               14 letter that was sent to all the distributors in
    15     Q. And what's an ingredient limit report?            15 the industry?
    16     A. An ingredient limit report is the report          16     A. Yes.
    17 that was required pursuant to the 1998 DEA report        17     Q. Cardinal also had meetings with the DEA
    18 to, I believe, the Attorney General. It included         18 around this time frame as well, correct?
    19 the algorithm for certain pharmaceuticals, and we        19     A. Yes.
    20 on a monthly basis provided the report of the            20     Q. When is the first meeting that Cardinal
    21 customers who had exceeded the designated amount         21 had with the DEA?
    22 that you achieve pursuant to doing the algorithm,        22         MS. MAINIGI: Objection to form.
    23 the math problem.                                        23         Starting when?
    24     Q. And that was done by ingredient,                  24     Q. Any time prior to this that you're aware
                                                   Page 135                                                 Page 137
     1 correct?                                            1 of.
     2     A. I believe so. I'm not -- I'm actually        2     A. Prior to the receipt of the first
     3 not positive.                                       3 Rannazzisi letter?
     4     Q. So does Cardinal believe -- well, let's      4     Q. Yes, ma'am.
     5 try to nail down this time frame in 2007 first,     5     A. I know we had a meeting with the DEA
     6 okay?                                               6 regarding Internet pharmacies in 2005, but not
     7     A. Okay.                                        7 with -- not the subject of what ultimately came
     8     Q. What is its -- what is Cardinal's            8 out in the Rannazzisi letter.
     9 position as to -- strike that.                      9     Q. Well, then let's backstep that. There
    10        Is it Cardinal's position or                10 was actually a meeting with Cardinal and the DEA
    11 understanding that the initial Rannazzisi letter   11 in approximately August of 2005; is that correct?
    12 in 2006 informed them of a shipping requirement as 12     A. I believe that's the time frame, yes.
    13 we've described it?                                13     Q. And this meeting included concerns
    14     A. Yes. That was the first communication       14 related to the Controlled Substances Act and the
    15 Cardinal received regarding this sea change of     15 distribution of controlled substances, correct?
    16 adding a shipping requirement to the obligations.  16        MS. MAINIGI: Objection; time frame.
    17        MS. MAINIGI: Can I just add a               17     A. I know the meeting -- the topic of the
    18 clarification, because when you see the phrase     18 meeting was Internet pharmacies. I don't know the
    19 "shipping requirement," it suggests you should     19 answer to that question.
    20 ship. But by "shipping requirement," you're both   20     Q. Ma'am, you referenced the meeting. The
    21 saying "do not ship;" is that fair?                21 topic was Internet pharmacies, but it also dealt
    22        MR. FULLER: I think that's fair. Thank      22 with the Controlled Substances Act and
    23 you.                                               23 distribution of controlled substances, correct?
    24                                                    24        MS. MAINIGI: Objection; time frame and

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     1 just continuing objection on --                           1        Again, I can't presently speak to every
     2        MR. FULLER: Sure.                                  2 single communication that Cardinal Health had.
     3        MS. MAINIGI: -- this 2005 meeting.                 3    Q. So is it Cardinal's position -- here.
     4        MR. FULLER: Right, right.                          4 We keep talking about it, so I'm just going to
     5        MS. MAINIGI: I won't put that objection            5 give it to you.
     6 in again for this.                                        6    A. That would be great.
     7        MR. FULLER: And "form" is fine. I get              7        MR. FULLER: There you go, Counsel.
     8 what you're preserving.                                   8        MS. MAINIGI: Thank you.
     9     A. I'm sorry. Repeat the question.                    9        MR. FULLER: Sure. And it's Norris 14,
    10     Q. Sure.                                             10 and it's going to be Plaintiff's Exhibit 13 for
    11     A. I apologize.                                      11 purposes of this deposition. And for the record
    12     Q. You referenced the meeting. The topic             12 and everybody listening in, now we finally have
    13 was Internet pharmacies, but it also dealt with          13 something with a Bates number on it, and it's
    14 the Controlled Substances Act and the distribution       14 CAH_MDL_PRIORPROD_ DEA07_00837645.
    15 of controlled substances, correct --                     15                ---
    16     A. I don't --                                        16      (Cardinal-Norris Exhibit 13 marked.)
    17     Q. -- or do you know?                                17                ---
    18     A. I don't recall. I saw a reference to              18 BY MR. FULLER:
    19 that meeting. I went over that in my preparation,        19    Q. And, Ms. Norris, this is, I believe, a
    20 but I can't recall whether that was -- those were        20 document that was provided to us by your counsel.
    21 specific topics. I know it was a meeting                 21        Do you see that in front of you?
    22 regarding Internet pharmacies.                           22    A. I see the document, yes.
    23     Q. Was there any more communication with             23    Q. Are you aware that this was a letter
    24 the DEA that Cardinal had between August of 2005         24 that the DEA did send back in 2006, and

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     1 and the receipt of the first Rannazzisi letter?           1 specifically September 27 -- God bless you --
     2 And I believe it's September of 2006.                     2 September 27, 2006 to Cardinal Health.
     3     A. I believe that's approximately correct.            3    A. Yes.
     4 I don't -- I am not aware of any specific                 4    Q. And in your preparation for this
     5 communications, but Cardinal Health communicates          5 deposition, you had this document obtained and
     6 regularly with the DEA.                                   6 you've reviewed this document; is that correct?
     7     Q. Was there any --                                   7    A. I have.
     8     A. I can't say right now what specific                8    Q. And does this copy of it appear to be
     9 communications or timing of the communications            9 the same as the copy that you pulled from
    10 there might have been.                                   10 Cardinal's files to review?
    11     Q. Was there any further communication               11    A. Yes. It appears to be the document I've
    12 between Cardinal Health and the DEA between              12 reviewed.
    13 September of '06 and December of '07 when the            13    Q. Now, you mentioned earlier just briefly
    14 second Rannazzisi letter came out?                       14 that there was a second and a third -- well, yeah,
    15     A. The second being the third, right?                15 a second and a third letter, right?
    16     Q. Technically, yes, ma'am.                          16    A. Yes.
    17     A. Yes.                                              17    Q. And that's because in the early part of
    18     Q. And what was that?                                18 2007, the DEA sent another copy of this letter out
    19     A. I don't know the specifics of the                 19 to all the wholesale distributors; is that
    20 communication, but I know that I was told by Steve       20 correct?
    21 Reardon there were communications with the DEA           21    A. That is what I understand, yes.
    22 regarding the Rannazzisi letter, as well as              22    Q. And you believe that letter to be a
    23 attendance at a meeting in, I believe it was the         23 pretty much identical copy of this one; is that
    24 fall of 2007, September maybe, with the DEA.             24 right?


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     1     A. Yes.                                           1 fair?
     2     Q. And then when I said the second DEA            2     A. Yes.
     3 letter, that is my fault, and I apologize. But it     3     Q. Okay. Go ahead, ma'am.
     4 was actually -- you're correct -- the third that      4     A. "The CSA was designed by Congress to
     5 was sent at the end of 2007.                          5 combat diversion by providing for a closed system
     6         Is that your understanding?                   6 of drug distribution in which all legitimate
     7     A. That is my understanding.                      7 handlers of controlled substances must obtain a
     8     Q. Okay. Fair enough. I apologize for             8 DEA registration, and as a condition of
     9 that confusion. Completely on me.                     9 maintaining such registration, must take
    10         So, ma'am, read the first two sentences      10 reasonable steps to ensure that their registration
    11 of this letter from the DEA to Cardinal Health.      11 is not being utilized as a source of diversion."
    12     A. "This letter is being sent to every           12     Q. Does Cardinal accept the DEA's statement
    13 commercial entity in the United States registered    13 that the CSA was designed by Congress to combat
    14 with the Drug Enforcement Administration to          14 diversion?
    15 distribute controlled substances. The purpose of     15        MS. MAINIGI: Objection; form.
    16 this letter is to reiterate the responsibilities     16 Objection; scope.
    17 of controlled substance distributors in view of      17     A. I agree that that's what it says there.
    18 the prescription drug abuse problem our nation       18     Q. And, yes, ma'am, I get that that's what
    19 currently faces."                                    19 it says there. But does Cardinal agree that that
    20     Q. Does Cardinal recognize that at this          20 was the design of the CSA, was to combat
    21 point of time in 2006, that we did have a            21 diversion?
    22 prescription drug abuse problem in our nation?       22        MS. MAINIGI: Objection; form.
    23         MS. MAINIGI: Objection; scope.               23 Objection; scope. Objection; time period.
    24     A. Yes.                                          24     A. I'm answering in my personal capacity.
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     1    Q. And Cardinal also recognizes that it is         1 That's what it says there.
     2 one of a multitude of players in this distribution    2    Q. Well, you'll notice under C, it asks for
     3 channel of prescription drugs, correct?               3 the past and present interpretation, compliance,
     4    A. Yes.                                            4 and agreement and/or disagreement with the Dear
     5    Q. And that -- strike that.                        5 Registrant letters from the DEA. And this is a
     6        If you'll go down to the Background            6 Dear Registrant letter from the DEA. We can agree
     7 section. Do you see that section next?                7 with that, correct?
     8    A. Yes.                                            8    A. Correct.
     9    Q. And if you'll read that first sentence,         9    Q. So I want to know if Cardinal agrees --
    10 "As each of you are -- or is undoubtedly aware."     10 not in your personal capacity. I want to know if
    11    A. "As each of you is undoubtedly aware,          11 Cardinal agrees with the statement that "The CSA
    12 the abuse (nonmedical use) of controlled             12 was designed by Congress to combat diversion."
    13 prescription drugs is a serious and growing health   13        MS. MAINIGI: So I'm just going to note,
    14 problem in this country."                            14 since you read the particular topic, Mike, that
    15    Q. Does Cardinal accept and adopt that            15 you think is applicable here --
    16 statement during this time frame, or does Cardinal   16        MR. FULLER: Yes, ma'am.
    17 reject that statement?                               17        MS. MAINIGI: -- it says -- the rest of
    18        MS. MAINIGI: Objection; scope.                18 the topic reads, "Disagreement" -- picking up
    19 Objection; form.                                     19 where you were, "Disagreement with the Dear
    20    A. I think it's a fair statement.                 20 Registrant letters from the DEA outlining the
    21    Q. If you'll go down to the next paragraph        21 duties imposed on a distributor under federal
    22 and read that next sentence there for me, please,    22 law." The topic is not "let us know if every
    23 "The CSA was." And so we're clear when we say        23 single sentence in the Dear Registrant letter is a
    24 "CSA," we mean Controlled Substances Act; is that    24 sentence you agreed with."


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     1        MR. LEVIN: And "object to form" is                  1     Q. Does that mean prevent diversion?
     2 fine, Counsel. Please.                                     2        MS. MAINIGI: Objection; form and scope.
     3        MS. MAINIGI: Thank you.                             3     A. It means maintain effective controls
     4 BY MR. FULLER:                                             4 against diversion.
     5    Q. Does Cardinal agree or disagree that the             5     Q. Against would be preventing, right?
     6 CSA was designed to combat diversion?                      6        MS. MAINIGI: Objection; scope.
     7        MS. MAINIGI: Objection; time period,                7     A. Generally, yes.
     8 Objection; scope. Objection; form.                         8     Q. I mean, it's sort of like going back to
     9    A. I agree that that's the statement that's             9 the shipping requirement. It's really a not
    10 made here.                                                10 shipping requirement, right?
    11    Q. Do you agree that that was the design               11     A. Correct.
    12 behind the CSA --                                         12     Q. Okay. Does Cardinal or is Cardinal --
    13        MS. MAINIGI: Same.                                 13 strike that.
    14    Q. -- or do you disagree --                            14        Is Cardinal required to take reasonable
    15        MS. MAINIGI: Excuse me. Same --                    15 steps to ensure that the registration isn't being
    16    Q. -- or do you not know?                              16 utilized as a source of diversion?
    17        MR. FULLER: Sorry.                                 17     A. I don't recall that being anywhere in
    18        MS. MAINIGI: Same objections.                      18 the statute or the regulations. Cardinal Health's
    19    A. I can't speak to all of what is behind              19 obligation is to comply with the statute,
    20 the design of the CSA. I can say that that is             20 regulations, and guidance provided by the DEA.
    21 what this sentence says.                                  21     Q. So -- and I understand your response,
    22    Q. So sitting here today, Cardinal doesn't             22 but now I'm asking you whether Cardinal has to
    23 know what the design or the purpose behind the CSA        23 take reasonable steps to ensure that the
    24 was, correct?                                             24 registration is not being utilized as a source of

                                                    Page 147                                                Page 149
     1        MS. MAINIGI: Objection; time period.                1
                                                            diversion.
     2 Objection; scope.                                  2     A. That is a statement in this letter.
     3    A. That's not what I said. I said --            3     Q. And Cardinal either agrees, the answer
     4    Q. So does Cardinal do know?                    4 is yes; or disagrees, the answer is no; or I don't
     5        MS. MAINIGI: Same objections.               5 know?
     6    A. I said I can't -- I can't opine on the       6        MS. MAINIGI: Objection.
     7 entire thought process behind the CSA. I can tell 7      Q. So let me --
     8 you that is what that sentence says.               8        MR. FULLER: I'm sorry. Go ahead.
     9    Q. Okay. But we know from reading earlier       9        MS. MAINIGI: No. Go ahead.
    10 that Congress has said that the design is to      10        Are you done with your question?
    11 prevent diversion, correct?                       11        MR. FULLER: No. I was going to ask a
    12        MS. MAINIGI: Do you want to refer her 12 cleaner one, which I imagine is what you wanted.
    13 to a particular exhibit?                          13 BY MR. FULLER:
    14        MR. FULLER: She's welcome to flip          14     Q. Ms. Norris, speaking on behalf of
    15 through.                                          15 Cardinal, does Cardinal agree that it has to take
    16    A. Part of the design is to ensure that        16 reasonable steps to ensure that their registration
    17 there are effective controls against diversion.   17 is not being utilized as a source of diversion?
    18    Q. To prevent diversion, right?                18     A. Cardinal Health has an obligation to
    19    A. To maintain --                              19 comply with the statute, the regulations, the law
    20        MS. MAINIGI: Objection; form.              20 that applies, and the guidance provided by the
    21    Q. I'm sorry?                                  21 DEA.
    22        MS. MAINIGI: Objection; scope.             22     Q. And does that mean they have to take
    23    A. To maintain effective controls against      23 steps to prevent their registration from being
    24 diversion, yes.                                   24 used as a source of diversion; yes or no?


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     1     A. That is guidance provided by the DEA.        1 vigilant in deciding whether a prospective
     2     Q. So being that this letter is guidance        2 customer can be trusted to deliver controlled
     3 provided by the DEA, then the answer is yes,        3 substances only for lawful purposes; correct?
     4 Cardinal has to take steps to prevent its           4        MS. MAINIGI: Objection; form.
     5 registration from being used as a source of         5    A. In maintaining effective controls
     6 diversion, correct?                                 6 against diversion, yes.
     7     A. Generally, yes.                              7    Q. So if Cardinal has a basis or a reason
     8     Q. Generally, yes, or yes?                      8 for knowing a customer of theirs, a drugstore or
     9     A. Generally, yes, in accordance with the       9 pharmacy, may be obtaining controlled substances
    10 statute, the regulations, and the guidance         10 for an unlawful purpose, Cardinal has an
    11 provided by the DEA.                               11 obligation not to participate in that scheme,
    12     Q. Well, you've told me that several times.    12 correct?
    13 And then I asked the follow-up, being that this    13        MS. MAINIGI: Objection; form.
    14 letter is guidance from the DEA, you would agree 14      A. If Cardinal Health is aware that a
    15 with that, correct?                                15 customer is doing that, Cardinal Health would not
    16     A. Um-hmm, yes.                                16 sell to that customer.
    17     Q. Cardinal agrees that this September 27,     17    Q. Now, let me ask you, as it relates to
    18 2006 letter provided by Rannazzisi, who was at the 18 Cardinal's obligation, does Cardinal actually have
    19 DEA, is providing guidance to the wholesale        19 to be aware of actual diversion by the drugstore
    20 distributor industry, correct?                     20 or pharmacy or the potential for diversion by that
    21     A. Correct.                                    21 drugstore or pharmacy?
    22     Q. Okay. And as part of that guidance,         22        MS. MAINIGI: Objection; scope.
    23 he's telling wholesale distributors, including     23    A. What obligation are you referring to?
    24 Cardinal, that they need to take steps to prevent  24    Q. The obligation where it's going to sell
                                                Page 151                                              Page 153
     1 the registration from being used as a source of     1 those drugs to that pharmacy.
     2 diversion; yes or no?                               2        MS. MAINIGI: Objection; form and scope.
     3     A. Yes, that is the guidance provided in        3    A. Under the statute, Cardinal has an
     4 this letter.                                        4 obligation to identify and report suspicious
     5     Q. Fair enough. Thank you. Read the rest        5 orders, and then under the additional guidance
     6 of that paragraph for me, please.                   6 provided by the DEA, the further obligation to not
     7     A. "Distributors are, of course, one of the     7 ship those orders that it has reported as
     8 key components in the distribution chain. If the    8 suspicious.
     9 closed system is to function properly, as Congress 9     Q. And as we talked earlier, Cardinal has
    10 envisioned, distributors must be vigilant in       10 an affirmative obligation to maintain effective
    11 deciding whether a prospective customer can be     11 controls against diversion, correct?
    12 trusted to deliver controlled substances only for  12    A. Correct.
    13 lawful purposes."                                  13    Q. That's separate from the suspicious
    14        "This responsibility is critical as         14 order regulation; isn't that true?
    15 Congress has expressly declared that the illegal   15    A. Correct.
    16 distribution of controlled substances has a        16    Q. So in order to --
    17 substantial and detrimental effect on the health   17    A. Not completely separate, but yes.
    18 and general welfare of the American people."       18    Q. It's in the Controlled Substances Act, I
    19     Q. And Cardinal agrees and accepts that        19 will give you that.
    20 distributors are one of the key components in the  20    A. Yes.
    21 distribution chain; is that right?                 21    Q. And the Controlled Substances Act
    22        MS. MAINIGI: Objection; form.               22 spawned the regulation created by the DEA for
    23     A. Yes.                                        23 suspicious orders, fair enough?
    24     Q. And that the distributors must be           24    A. Yes.

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     1     Q. Okay. So the requirement to maintain         1    A. If they pose an unreasonable risk of
     2 effective controls against diversion means we have 2 diversion or we know they are diverting, Cardinal
     3 to try to prevent diversion; is that correct?       3 Health will not sell to them.
     4        MS. MAINIGI: Objection; scope.               4    Q. What is an unreasonable risk of
     5 Objection; form.                                    5 diversion? It's basically they might be
     6     A. Cardinal Health has an obligation to         6 diverting, right?
     7 maintain those effective controls against           7        MS. MAINIGI: Objection; form.
     8 diversion.                                          8    A. We have reason to believe, based on the
     9     Q. And maintaining effective controls           9 totality of circumstances, they present a risk of
    10 against diversion is not shipping requirements,    10 diversion, an unreasonable risk of diversion.
    11 shipping pills, shipping opioids to entities that  11    Q. So -- and that's what I'm trying to find
    12 we suspect may be diverting them, correct?         12 out, what that unreasonable qualification is
    13        MS. MAINIGI: Objection; form.               13 there.
    14     A. If we have a reasonable belief, if we       14        MS. MAINIGI: Is that a question?
    15 know they are diverting, then we do not ship to    15        MR. FULLER: No. It's a statement.
    16 them.                                              16 We're going to jump around a little bit, and I
    17     Q. Now, let's break that answer down,          17 apologize.
    18 because that's two. Is it a reasonable belief or   18                 ---
    19 we know they're diverting? Do you actually have    19      (Cardinal-Norris Exhibit 14 marked.)
    20 to know they're diverting before you hold a        20                 ---
    21 shipment --                                        21        MR. FULLER: Gina, this is Norris 24.
    22        MS. MAINIGI: Objection; form.               22        And for the record, this is Plaintiff's
    23     Q. -- at least according to Cardinal?          23 Exhibit 14.
    24        MS. MAINIGI: Objection; form.               24

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     1     A. No.                                          1 BY MR. FULLER:
     2     Q. So if Cardinal suspects diversion from a     2     Q. Ms. Norris, have you ever seen this
     3 pharmacy or a drugstore, it has the affirmative     3 document before?
     4 obligation to not sell opioids to that drugstore,   4     A. I have not.
     5 correct?                                            5     Q. And I'll represent to you that it is
     6        MS. MAINIGI: Objection; scope.               6 from the United States District Court, District of
     7 Objection; form.                                    7 Arizona.
     8     A. Cardinal Health's anti-diversion program     8        Do you see that?
     9 is designed to identify those customers that we     9     A. I see that.
    10 suspect of diversion through our Know Your         10     Q. And it's a case in which Arizona
    11 Customer policy, through the other -- the          11 Pharmacy, LLC sued Cardinal Health 110, Inc., et
    12 suspicious order monitoring, and if we have reason 12 al. And this document is actually Defendant
    13 to believe, we suspect that they are diverting,    13 Cardinal's -- Cardinal Health 110, Inc., and
    14 then we will not ship to them.                     14 Cardinal Health 411, Inc.'s Response to
    15     Q. So let me see if I can use what you just    15 Plaintiff's Hearing Brief.
    16 told me to clean up the question and answer, okay? 16        And what I'm going to tell you is that
    17 So bear with me.                                   17 the basis of this action is that Arizona Pharmacy,
    18        So under Cardinal's obligation to           18 LLC filed a lawsuit requesting a restraining order
    19 maintain effective controls against diversion, if  19 against Cardinal for stopping shipments. Okay?
    20 Cardinal's anti-diversion program identifies a     20     A. Mm-hmm, yes.
    21 drugstore or a pharmacy that may be diverting      21     Q. And this is Cardinal's response to that
    22 controlled substances, Cardinal is not going to    22 temporary restraining request, okay?
    23 sell to them, correct?                             23     A. Okay.
    24        MS. MAINIGI: Objection; form.               24     Q. So it was written by Cardinal's lawyers

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     1 and filed in the Federal District Court in               1 Health has an obligation to avoid filling orders
     2 Arizona. All right?                                      2 that might be diverted."
     3     A. Okay. Can you give me a minute to read            3        Is that correct? Does Cardinal Health
     4 through it?                                              4 have an obligation to avoid filling orders that
     5     Q. You certainly may, yes, ma'am.                    5 might be diverted?
     6        MS. MAINIGI: Do you want to focus us on           6     A. That is the statement that --
     7 what topic you're concentrating on so she can --         7        MS. MAINIGI: Objection. Excuse me.
     8        MR. FULLER: Well, there's highlights in           8 Objection to scope.
     9 there, like there have been with all the                 9     A. That is the statement that is made here.
    10 documents, but I think the witness generally likes      10     Q. Is that an obligation that Cardinal has,
    11 to flip past that like she's been doing. So we'll       11 is to prevent from filling orders that might be
    12 just let her take her look.                             12 diverted?
    13 BY MR. FULLER:                                          13     A. Cardinal Health has an obligation to
    14     Q. Ms. Norris, you can take as much time as         14 maintain effective controls against diversion.
    15 you want and review the document, but I'm going to      15     Q. So you agree with this statement made by
    16 focus on the bottom of page 6 where it talks about      16 Cardinal's lawyers to the District Court in
    17 "might."                                                17 Arizona, in an attempt to prevent from having a
    18     A. I've just gotten there.                          18 restraining order put on them, to actually provide
    19     Q. Perfect timing then, huh?                        19 controlled substances, correct?
    20     A. Yep.                                             20        MS. MAINIGI: Objection to form.
    21     Q. And you just let me know when you're             21 Objection to scope.
    22 ready. We've got all day, until about 7:30              22     A. Cardinal Health has an obligation to do
    23 tonight.                                                23 its due diligence and understand all of the
    24        MR. FULLER: It's not that long of a              24 factors related to that order and determine

                                                   Page 159                                                Page 161
     1   drive.                                                 1
                                                            whether or not that order poses an unreasonable
     2        MS. MAINIGI: We'll find out.                      2
                                                            risk of diversion.
     3      A. Okay.                                      3    Q. And if there's a risk of diversion, it
     4      Q. Okay, ma'am. So if you'll turn to page     4 has to not ship that order; do you agree?
     5 6.                                                 5        MS. MAINIGI: Objection to form.
     6     A. Yes.                                        6    A. If Cardinal Health identifies an
     7     Q. And you've had a chance to review this      7 unreasonable risk of diversion, we will not ship
     8 document, at least most of it, correct?            8 the order.
     9     A. Just now, yes.                              9    Q. And the lawyer in this brief goes on to
    10     Q. Yes, ma'am. And it is practically what     10 say, "Any emphasis on whether the Plaintiff is
    11 I -- well, I say practically. It is what I        11 actually diverting controlled substances is a red
    12 explained to you. It's an action by a pharmacy    12 herring that has no bearing on whether its
    13 or -- a former customer of Cardinal because they 13 ordering pattern indicates -- or its ordering
    14 cut -- Cardinal cut them off in trying to get a   14 patterns indicate that it might be engaged in
    15 restraining order to continue shipments of        15 diversion."
    16 controlled Schedule II substances, opioids,       16        Do you agree with that statement, ma'am?
    17 correct?                                          17    A. One of the ways that Cardinal Health has
    18        MS. MAINIGI: Objection to form.            18 determined   whether a customer poses an
    19     A. The last piece, the specifics aren't       19 unreasonable risk of diversion is to look at
    20 included here, but the distribution of controlled 20 ordering patterns and determine whether those are
    21 substances I believe is what is at issue.         21 similar to other customers who we have terminated
    22     Q. Fair enough.                               22 for diverting. That was an element of our
    23        And then if you look down there at the     23 program, an anti-diversion program.
    24 bottom, do you see that, where it says, "Cardinal 24    Q. And so is that yes to the question?

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     1        MS. MAINIGI: Objection to form.                1      Q. Okay. And what Cardinal is attempting
     2    Q. And, ma'am, you can say "no." You can           2 to do is to operate in the safest way possible
     3 disagree with the statement that Cardinal's           3 when it's dealing with controlled substances; is
     4 lawyers put before the Federal District Court in      4 that true?
     5 Arizona. That's okay.                                 5        MS. MAINIGI: Objection; scope.
     6    A. I understand. One of the indications            6      A. Cardinal Health takes very seriously its
     7 that Cardinal Health looks at for purposes of         7 obligations related to all of the work it
     8 determining whether a customer poses an               8 provides, but also in regard to its distributing
     9 unreasonable risk of diversion is ordering            9 of controlled substances, yes.
    10 pattern.                                             10      Q. And it wants to do it the safest way
    11    Q. So is that a yes?                              11 possible; one, for the general public and, two, to
    12    A. Yes what?                                      12 comply with the regulations; is that fair?
    13    Q. Yes to my question.                            13        MS. MAINIGI: Objection; scope.
    14        MS. MAINIGI: Do you want to ask it            14 Objection; form.
    15 again?                                               15      A. Cardinal Health wants to ensure that
    16    Q. The question was, "And the lawyer in           16 it's complying with the obligations under the
    17 this brief goes on to say, 'Any emphasis on          17 statute and the guidance.
    18 whether the Plaintiff is actually diverting          18      Q. Does it also want to ensure that it does
    19 controlled substances is a red herring that has no   19 what it can to prevent the public from harm?
    20 bearing on whether the ordering -- order             20        MS. MAINIGI: Objection; scope.
    21 pattern -- ordering pattern indicates or it --       21 Objection; form.
    22 ordering pattern." I'll try it again. Jeez           22      A. I don't know that Cardinal owes a duty
    23 Louise.                                              23 to the public regarding that. Cardinal Health has
    24        And, ma'am, I'm looking at the second         24 an obligation to comply with its obligations under

                                                Page 163                                                Page 165
     1 sentence there in that paragraph. And does            1 the law and the guidelines --
     2 Cardinal agree that any emphasis on whether a         2    Q. And I'm just --
     3 Plaintiff is actually diverting a controlled          3    A. -- guidance.
     4 substance is a red herring, and it has no bearing     4    Q. I'm sorry. Go ahead.
     5 on whether its ordering patterns indicate that it     5    A. Guidance instead of guidelines. Sorry.
     6 might be engaged in diversion."                       6    Q. And I'm just asking if Cardinal wants to
     7        Does Cardinal agree; yes or no?                7 do what it can to help protect the public from
     8        MS. MAINIGI: Objection to form.                8 harm; yes or no?
     9     A. Not necessarily. It's looking at the           9       MS. MAINIGI: Objection; scope.
    10 circumstances in total.                              10 Objection; form.
    11     Q. Right.                                        11    A. Cardinal Health operates in accordance
    12     A. I guess --                                    12 with the applicable laws, statutes, regulations,
    13     Q. I'm sorry. Go ahead.                          13 and guidance.
    14     A. But I guess I'm having a hard time            14    Q. Does Cardinal Health operate with a
    15 parsing out exactly what you're asking here.         15 moral compass, too?
    16     Q. Well, let's break it down a little bit.       16       MS. MAINIGI: Objection; form.
    17     A. Okay.                                         17 Objection; scope.
    18     Q. Cardinal's obligation to maintain             18    Q. Or does Cardinal not care if --
    19 effective controls against diversion doesn't mean    19       MS. MAINIGI: I think soon it should be
    20 it has to actually go out and prove that the         20 time for a lunch break, Mike, because I think
    21 drugstore or pharmacy is diverting?                  21 we're --
    22        MS. MAINIGI: Objection; form.                 22       MR. FULLER: As soon as we finish this
    23 Objection; scope.                                    23 document, yes, ma'am.
    24     A. Correct.                                      24       MS. MAINIGI: Fine. Then go back to the

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     1 document, because there's nothing about a moral         1
                                                             question.
     2 compass in the document.                            2        We'll take a lunch break.
     3    A. I'm sorry. What was your question?            3        MS. MAINIGI: I thought you wanted to
     4    Q. Does Cardinal not feel that it has an         4 finish this document? Why don't we finish the
     5 obligation to the general public?                   5 document.
     6       MS. MAINIGI: Objection to scope.              6        MR. FULLER: Okay.
     7 Objection to form.                                  7        MR. FARRELL: Well, at this pace, we'll
     8    A. Cardinal Health does not have an              8 be here all day.
     9 obligation to the general public. Cardinal Health   9        MR. FULLER: That's all right.
    10 has an obligation to perform its duties in         10        MS. MAINIGI: Talk to your guy.
    11 accordance with the law, the statute, regulations, 11        MR. FARRELL: Well, talk to your
    12 and guidance.                                      12 witness. She hasn't answered the question yet.
    13    Q. And I got it. So the answer is no,           13        MS. MAINIGI: If he's got more
    14 Cardinal Health does not believe it has an         14 questions --
    15 obligation to the general public, correct?         15        MR. FULLER: Oh, he's got to switch the
    16       MS. MAINIGI: Objection to form.              16 media anyway.
    17 Objection to scope.                                17        MR. FARRELL: Let's take a lunch break.
    18    A. No.                                          18        THE VIDEOGRAPHER: The time is now
    19    Q. No, that's not correct, or no, you agree     19 12:39. Going off the record.
    20 with me?                                           20                ---
    21       MS. MAINIGI: Objection to form.              21       Thereupon, at 12:39 p.m. a lunch
    22 Objection to scope.                                22       recess was taken until 1:49 p.m.
    23    Q. Let me ask it a different way. Yes or        23                ---
    24 no, does Cardinal have a general obligation to     24

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     1 protect the public?                                     1                    Tuesday Afternoon Session
     2         MS. MAINIGI: Objection to form.                                      July 7, 2018
     3 Objection to scope.                                     2                    1:49 p.m.
     4     A. Cardinal Health has an obligation to             3                ---
     5 comply with the laws that apply to the services it      4       THE VIDEOGRAPHER: All right. The time
     6 provides.                                               5 is now 1:49. Back on the record.

     7                                                         6                ---
           Q. Yes, ma'am. But that wasn't my
     8 question. Not even close.                               7            CROSS-EXAMINATION
                                                               8 BY MR. FARRELL:
     9         My question is simply does Cardinal
                                                               9     Q. Good afternoon. My name is Paul
    10 believe that it has an obligation to the general
                                                              10 Farrell, and I'm going to be covering some of the
    11 public in distributing controlled substances?
                                                              11 subject matters in the first notice of the
    12 It's either yes, we do, or no, we don't. We know
                                                              12 30(b)(6) deposition.
    13 about the regs.
                                                              13       I'd like to reference where we left off,
    14         MS. MAINIGI: Objection to form. She's          14 which is Norris 14 or the deposition -- Plaintiff
    15 been asked that question a number of times and
                                                              15 Exhibit 13, and it was the September 27, 2006
    16 answered it a number of times. Objection to
                                                              16 correspondence from DEA to Cardinal Health.
    17 scope.
                                                              17       You recognize this document, yes?
    18     Q. Go ahead.                                       18     A. I do.
    19     A. I'll say it again. Cardinal Health has          19     Q. Now, one of the questions I have is when
    20 an obligation to comply with the applicable laws,      20 you look at the addressee, it says Knoxville,
    21 rules, regulations, and guidance in the                21 Tennessee. Can you confirm whether one of these
    22 performance of its services.                           22 Dear Registrant letters, identical to the
    23         MR. FULLER: And I'll reserve my right          23 September 27, 2006 letter to Knoxville, Tennessee,
    24 to come back and have you compelled to answer that 24 was also sent to all of the other Cardinal Health


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     1 distribution centers.                                1   A.  Yes.
     2     A. That is my understanding, yes.              2     Q. And from that point forward, that was
     3     Q. Without belaboring the point, when you      3 the law in the United States of America according
     4 review this 2006 correspondence from the DEA, 4 to Cardinal?
     5 sitting here today, does Cardinal Health affirm    5        MS. MAINIGI: Objection to form.
     6 and ratify the statements regarding the law        6     A. From that point forward, that was the
     7 contained therein?                                 7 guidance the DEA was providing to Cardinal Health
     8         MS. MAINIGI: Objection; scope.             8 regarding its obligations.
     9 Objection; form.                                   9     Q. And according to the DEA, if you did not
    10         MR. FARRELL: Well, it can't be outside 10 follow this guidance, you may be engaging in
    11 the scope. It like literally was written in there 11 unlawful conduct?
    12 because I typed it myself.                        12        MS. MAINIGI: Objection to form.
    13         MS. MAINIGI: That's my objection.         13 Objection to scope.
    14         MR. FARRELL: Okay.                        14     A. We may be engaging in activities that do
    15         MS. MAINIGI: If you want to point her     15 not comply with the statute, regulations, and
    16 to a particular sentence that happens to relate   16 DEA's guidance.
    17 back to your topic, that's fine.                  17     Q. Okay. Has Cardinal Health since
    18         MR. FARRELL: That's okay.                 18 September   27, 2006 accepted the duties set forth
    19 BY MR. FARRELL:                                   19 in the Dear Registrant letter?
    20     Q. So what I'm asking, sitting here today,    20        MS. MAINIGI: Objection to form.
    21 representing Cardinal Health, do you accept the 21       A. Generally, yes, as further modified by
    22 statements set forth in the September 27, 2006    22 additional DEA guidance.
    23 letter from the DEA related to the duties under   23     Q. Very good. So sitting here today, you
    24 the regulations?                                  24 can tell me that as of September 27, 2006,

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     1        MS. MAINIGI: Objection to form.              1 Cardinal Health's position has been that it will
     2 Objection to scope.                                 2 comply moving forward with the Dear Registrant
     3    A. I accept that this letter laid out            3 letter?
     4 duties and regulations, but that it also presented  4         MS. MAINIGI: Objection to form.
     5 new duties that Cardinal Health was to comply with 5      A. Generally speaking, yes, as modified by
     6 under the regulations.                              6 the additional guidance Cardinal Health received
     7    Q. So as of September 27, 2006, you              7 over time.
     8 acknowledge that this letter sets forth the         8     Q. Is there anything set forth in the 2006
     9 obligations under the Controlled Substances Act     9 Dear Registrant letter that Cardinal Health
    10 and under the Code of Federal Regulations for      10 objects to, disagrees with, or takes exception to?
    11 Cardinal Health?                                   11         MS. MAINIGI: Objection to form.
    12        MS. MAINIGI: Objection; scope.              12         Do you want her to take a look at the
    13 Objection; form.                                   13 letter?
    14    A. As to the reiteration of the reporting       14         MR. FARRELL: I'm assuming she already
    15 requirement, yes. Again, the "shipping             15 has since it's listed specifically in the subject
    16 requirement," to use short form, was a new -- new  16 matter for this deposition.
    17 idea to Cardinal Health at the time they received  17     A. Generally speaking, at least one of the
    18 this letter. So it was not -- I do not agree that  18 issues that Cardinal Health took umbrage with was
    19 that was an obligation in the statute going back.  19 that -- the idea that the shipping requirement had
    20    Q. Okay. So let's start over.                   20 always existed.
    21        Do you agree that on September 27, 2006,    21     Q. Okay.
    22 Cardinal Health got instructions with a new        22     A. It had not.
    23 requirement called the shipping requirement?       23     Q. Okay. So do you believe that within the
    24        MS. MAINIGI: Objection to form.             24 2006 registrant letter, there is a statement

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     1 imposing a shipping requirement?                      1 third letter; although, it is the second from a
     2         MS. MAINIGI: Objection; asked and             2 substantive standpoint.
     3 answered.                                             3    Q. So you recognize this as a true and
     4      A. Generally speaking, yes.                      4 accurate copy of that document?
     5         MS. MAINIGI: And, again, shipping             5    A. Yes.
     6 requirement being defined right now for the           6    Q. In fact, does it have a Bates stamp in
     7 purposes of our conversation by how Masters           7 the bottom right-hand corner?
     8 defined it, which is a do not ship requirement.       8    A. It has a stamp in the bottom right-hand
     9         MR. FARRELL: So raise your right hand.        9 corner.
    10         MS. MAINIGI: Do you agree?                   10    Q. Okay. And read those letters and
    11         MR. FARRELL: Well, I have to raise my        11 numbers.
    12 right hand if I'm going to testify. So I'll make     12    A. CAH_MDL_PRIORPROD_DEA12_00010980.
    13 you a deal. Let's both raise our right hands.        13    Q. All right. So have you reviewed this
    14         MS. MAINIGI: I'm asking you a question.      14 document before coming here today?
    15 BY MR. FARRELL:                                      15    A. Yes.
    16      Q. Okay. So I'm now going to have marked        16    Q. All right. You'll agree with me that it
    17 the next sequential exhibit, which is the            17 further clarifies the shipping requirement as the
    18 Deposition Exhibit 15, but is Norris 15, which       18 DEA was interpreting it in 2007?
    19 I'll represent to you is the December 27, 2007 DEA   19        MS. MAINIGI: Objection to form.
    20 letter that you just referenced.                     20    A. Yes.
    21                 ---                                  21    Q. And you agree that as of this letter,
    22       (Cardinal-Norris Exhibit 15 marked.)           22 there can be no doubt that a shipping requirement
    23                 ---                                  23 exists in the United States of America?
    24                                                      24        MS. MAINIGI: Objection to form.

                                                Page 175                                                         Page 177
     1 BY MR. FARRELL:                                       1    A. This letter clarifies DEA's guidance
     2     Q. And, again, what you'll note is that it        2 that there was a shipping requirement.
     3 is addressed to Syracuse, New York. I'm assuming      3    Q. Has Cardinal Health always taken that
     4 that Cardinal Health will acknowledge this 2007       4 position?
     5 Dear Registrant letter was, in fact, sent to every    5        MS. MAINIGI: Objection to form.
     6 one of the distribution facilities Cardinal Health    6 Objection; time period.
     7 had at the time across the country.                   7        Go ahead.
     8     A. Yes.                                           8    A. Always in what -- I don't know what time
     9     Q. Do you recognize this document?                9 period you're referring to as "always," because we
    10     A. I do.                                         10 didn't receive the letter until December 27, 2007.
    11     Q. Is this, in fact, the second Dear             11    Q. Fair enough.
    12 Registrant letter sent by the DEA to Cardinal        12        After December 27, 2007, has Cardinal
    13 Health?                                              13 Health always taken the position that there was a
    14     A. Technically the third, but yes.               14 shipping requirement?
    15     Q. Okay. So tell me -- explain that to me.       15        MS. MAINIGI: Objection to form.
    16     A. I think, as we talked about --                16    A. Yes.
    17        MS. MAINIGI: Objection; asked and             17    Q. So since 2007, Cardinal Health has
    18 answered.                                            18 always taken the position there was a duty to stop
    19     A. As we talked about this morning, there        19 shipment of suspicious orders?
    20 were actually two different -- two different         20        MS. MAINIGI: Objection to form.
    21 versions of letter one. "Versions" is not the        21    Q. That's your position today?
    22 right word, because they sent almost an identical    22        MS. MAINIGI: Sorry. Objection; form.
    23 copy in February, I believe, of 2007 of what they    23 Objection; scope.
    24 had sent in 2006. So this is technically the         24    A. Cardinal Health designed the

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     1 enhancements to its program after 2007 to ensure         1
                                                           don't understand the question. We designed our
     2 that suspicious orders were not shipped. Orders   2 program to comply with the guidance.
     3 reported as suspicious were not shipped.          3        MS. MAINIGI: And I'll interpose an
     4    Q. That wasn't my question.                    4 objection to form. Objection to scope.
     5        My question is, since 2007, has Cardinal   5    Q. Since 2007, has Cardinal Health always
     6 Health always taken the position that there is a  6 taken the position that there is a shipping
     7 duty to stop shipment of suspicious orders?       7 requirement as outlined in Masters Pharmaceutical?
     8        MS. MAINIGI: Objection; form and scope. 8       A. Taken the position where?
     9    A. Cardinal Health designed its program        9        MS. MAINIGI: Same objections.
    10 after 2007 -- in 2007, the enhancements to its   10    Q. Anywhere. Why don't we just say first
    11 program, to ensure that it didn't ship orders it 11 the public record.
    12 had reported as suspicious.                      12        MS. MAINIGI: Objection to form.
    13    Q. I think that must be written behind me     13    A. This -- to the best of my knowledge,
    14 somewhere. Let me ask again.                     14 this was the program -- we designed the program to
    15        Since 2007, has Cardinal Health always    15 comply, and there was a shipping -- we do not ship
    16 taken the position that there is a duty to stop  16 the orders that we report as suspicious.
    17 shipment of suspicious orders?                   17    Q. Have you changed that position in a
    18        MS. MAINIGI: Objection; asked and         18 court of public record since 2007 --
    19 answered. Objection; scope.                      19        MS. MAINIGI: Objection to form.
    20    A. I'm not sure I understand the nuance in    20    Q.   -- to the best of your knowledge?
    21 your question. We designed the program --        21    A. Not to my knowledge.
    22    Q. There is no nuance.                        22    Q. Okay. Will you -- I'm going to bring up
    23        MS. MAINIGI: Can you let her finish?      23 now a transcript from June 20, 2017 in the United
    24    A. We designed the program to comply with 24 States District Court for the Southern District of
                                                    Page 179                                               Page 181
     1 the guidance --                                          1 West Virginia. So we'll go to the front page
     2    Q. I know. This is the third time you've              2 first, and I'll show it to you.
     3 said that. What I'm trying --                            3         MS. MAINIGI: Can we have a copy?
     4        MS. MAINIGI: Would you just let her               4         MR. FARRELL: I don't have one.
     5 explain?                                                 5 BY MR. FARRELL:
     6        MR. FARRELL: No, I'm not, because we've           6     Q. So you see the date June 20?
     7 moving through this.                                     7         MS. MAINIGI: You've got to let her read
     8        MS. MAINIGI: You're going to --                   8 the transcript.
     9        MR. FARRELL: Yes, I'm going to                    9     Q. Do you see the date June 20?
    10 interrupt her.                                          10     A. I do.
    11 BY MR. FARRELL:                                         11     Q. Okay. This is ten days before the
    12    Q. I'm asking you whether or not the                 12 Masters Pharmaceutical case was released. I'll
    13 position you're taking today about the 2007 letter      13 represent that to you. Now I'm going to go to
    14 and the shipping requirement has changed over time      14 page 88. This is counsel for Cardinal Health.
    15 since 2007?                                             15         MS. MAINIGI: Can we go all the way up
    16        MS. MAINIGI: So phrase it in the form            16 to the top?
    17 of a question --                                        17     Q. So I'd ask for you to read what's
    18        MR. FARRELL: I'm not.                            18 highlighted. Read it aloud.
    19        MS. MAINIGI: -- and she'll answer it.            19     A. "Because there is no statute, no
    20        MR. FARRELL: I'm not. I can't be any             20 regulation at the federal or state level that says
    21 clearer.                                                21 distributors should stop shipments if there's
    22        MS. MAINIGI: Object.                             22 suspicious orders."
    23        Is that your question?                           23     Q. Now I'm going to have you look down to
    24    A. I guess I don't -- I'm sorry. I guess I           24 the provision that's highlighted below that.


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                                                 Page 182                                                 Page 184
     1 Would you read that aloud?                            1   Q. Was Cardinal Health -- did Cardinal
     2    A. "There's no duty, there's no regulation       2 Health approve or ratify it prior to its filing?
     3 that says we're supposed to stop shipment."         3        MS. MAINIGI: Objection to form.
     4    Q. That's what I was trying to figure out,       4     A. Cardinal Health provided commentary on
     5 is whether or not -- it looks like ten days before  5 it prior to its filing.
     6 the Masters case came out, Cardinal Health's        6     Q. Did Cardinal Health approve it?
     7 position was there was no duty to stop shipment.    7     A. Cardinal Health provided commentary.
     8        MS. MAINIGI: Objection; form.                8     Q. Did Cardinal Health approve it?
     9 Objection; scope.                                   9        MS. MAINIGI: Objection to form. Asked
    10    A. The language says there's no statute, no     10 and answered.
    11 regulation at the federal or state level, which is 11     A. Cardinal Health provided commentary.
    12 true. There is no statute and no regulation that   12     Q. Did Cardinal Health approve it?
    13 says distributors should stop shipments if there's 13        MS. MAINIGI: Objection to form. Asked
    14 suspicious orders. Cardinal Health's position has  14 and answered.
    15 not changed on that.                               15     A. It provided commentary on it.
    16    Q. Do you recognize that the Masters            16     Q. Did Cardinal Health approve the document
    17 Pharmaceutical case that came out rejected that    17 prior to filing? Fifth time I'm asking.
    18 position?                                          18     A. I understand.
    19        MS. MAINIGI: Objection to form.             19        MS. MAINIGI: Objection to form. Asked
    20    A. I don't believe they rejected the            20 and answered.
    21 position regarding the statute or the regulation   21     A. Cardinal Health provided commentary on
    22 statement.                                         22 the amicus brief.
    23    Q. You understand that Masters                  23     Q. Let me give you a hint. I'm not going
    24 Pharmaceutical, as you went through this morning, 24 to ask you a question that I probably don't know

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     1 has a shipping requirement?                          the
                                                             1   answer   to.
     2    A. Yes.                                         2          So are you aware of whether or not
     3    Q. It says you have a duty to stop shipment     3 Cardinal    Health approved the amicus brief prior to
     4 of suspicious orders?                              4 filing?
     5        MS. MAINIGI: Objection to form.             5          MS. MAINIGI: Objection to form. Asked
     6    A. It refers to a shipping requirement,         6 and answered.
     7 yes.                                               7     A. It provided commentary. I don't know if
     8    Q. So I'm asking you, sitting here today,       8 that commentary rose to the level of approval.
     9 does Cardinal Health believe there is a shipping   9                  ---
    10 requirement as set forth in Masters               10       (Cardinal-Norris Exhibit 16 marked.)
    11 Pharmaceutical?                                   11                  ---
    12        MS. MAINIGI: Objection to form.            12     Q. I'm going to have marked now Deposition
    13    A. Yes.                                        13 Exhibit 16. I'm going to hand it to you. It is
    14    Q. And it has been so since at least the       14 Bates-stamped ABDCMDL00275057. It is the
    15 2007 Dear Registrant letter according to Cardinal 15 Healthcare Distribution Management Association's
    16 Health?                                           16 Executive Committee Meeting summary from June 12,
    17    A. I believe that's also the reference in      17 2016 held in Colorado Springs, Colorado.
    18 Masters.                                          18          Have you seen or are you familiar with
    19    Q. Very good. Now what I'm going to ask        19 this document?
    20 you to go and look at is -- you're familiar with  20     A. I am not. I have not.
    21 the amicus brief in Masters Pharmaceutical?       21     Q. When you flip to page 2, you'll notice
    22    A. I am.                                       22 that  it says June 12, 2016, or on the front page
    23    Q. Did you participate in writing it?          23 as well.
    24    A. I did not.                                  24     A. Yes, it says June 12, 2016.

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                                                Page 186                                               Page 188
     1     Q. The first thing I'd like to direct your        1
                                                            suspicious order reporting. Notice-and-comment
     2 attention to is the very beginning on page 4. And 2 rule-making required."
     3 you'll notice at the top, these are the minutes    3        Do you see that?
     4 from the Pebble Beach, California Executive        4     A. I see that.
     5 Committee meeting. And you'll see in               5     Q. So when you look below at the actions,
     6 attendance -- well, you see the second person who 6 you'll see that it was subject to a vote and
     7 is in attendance?                                  7 approved to submit an amicus brief, agreed?
     8     A. Yes.                                        8        MS. MAINIGI: Objection to form.
     9     Q. Who is that?                                9     A. The executive committee approved filing
    10     A. John Giacomin, Vice Chairman.              10 of the brief.
    11     Q. Of?                                        11     Q. Right. Now, flip to the previous page.
    12     A. CEO, Pharmaceutical Segment, Cardinal 12 And the interesting thing is that they're talking
    13 Health, Inc.                                      13 about the West Virginia litigation.
    14     Q. So Cardinal Health, Inc. sent their CEO    14     A. I'm sorry. Flip to what page? I
    15 of the Pharmaceutical Segment to this meeting,    15 apologize.
    16 correct?                                          16     Q. That's all right. The previous page.
    17     A. Well, I believe John serves on the         17 It will be 5 at the bottom of the page, I think.
    18 Executive Committee.                              18     A. Yes.
    19     Q. Cardinal Health sent its CEO to attend     19     Q. And you'll see that there's a provision
    20 this meeting?                                     20 in there about the West Virginia litigation under
    21        MS. MAINIGI: Objection; scope.             21 Item 4. And the paragraph at the bottom of the
    22     A. The CEO of the Pharmaceutical Segment 22 page --
    23 who was on the Executive Committee.               23        MS. MAINIGI: I think she's reading it.
    24     Q. Of HDMA?                                   24 Can you give her a moment to take a look at it?
                                                Page 187                                               Page 189
     1    A. Yes.                                            1     A. Okay.
     2    Q. Now, if you look down at the bottom at          2     Q. Now, the last paragraph that's on that
     3 the Welcome and Administrative Matters, actually      3 page starting with "Counsel Frank," will you read
     4 Mr. Giacomin from Cardinal Health chaired this        4 that aloud, please?
     5 meeting, correct?                                     5     A. "Counsel Frank characterized the series
     6    A. That's what it appears from the                 6 of DEA and state actions as efforts to improperly
     7 language, yes.                                        7 expand distributors' responsibilities beyond
     8    Q. Now, if you flip to the next page under         8 simply reporting suspicious orders to actually
     9 paragraph C, Legal Issues, the first item is the      9 preventing the distribution of controlled
    10 Masters Pharmaceuticals case.                        10 substances to licensed dispensers. States are
    11        Would you read aloud what the summary         11 bringing these actions for similar reasons but
    12 says?                                                12 also in an effort to collect monetary damages and
    13    A. "The status of the Masters litigation as       13 penalties."
    14 well as discussion of the draft amicus curiae        14     Q. So now you understand my confusion from
    15 brief to be possibly filed on behalf of HDMA will    15 this morning when it seems as if Cardinal Health
    16 be discussed later in the meeting led by President   16 is participating in an amicus brief and
    17 Gray and HDMA General Counsel Gallenagh."            17 characterizing the DEA and the state actions as
    18    Q. Now, if you flip to the next page,             18 actually requiring you, Cardinal Health, to
    19 you'll see that there is a provision -- no. We're    19 prevent distribution of controlled substances to
    20 going to go down to the Masters first. You're        20 licensed dispensers.
    21 going to see that under Masters amicus brief, it     21        So, again, my question goes back to it.
    22 states, "The central theme of the draft brief is     22 Prior to the release of Masters Pharmaceutical,
    23 that DEA must follow statutory and regulatory        23 are you sure Cardinal Health hadn't flip-flopped
    24 requirements regarding the imposition of             24 its positions regarding the shipping requirement?


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     1        MS. MAINIGI: Objection to form.                1 through the fact that this amicus brief was
     2 Objection to scope.                                   2 approved for filing by HDMA and was eventually
     3     A. No, I do not believe Cardinal Health           3 filed by HDMA?
     4 flip-flopped its position. We designed our            4     A. Correct. It was approved for filing
     5 program to comply with the shipping requirement.      5 subject to final review and approval.
     6 The fact that we participated in these briefs         6     Q. And that chairman of that committee was
     7 doesn't mean that we were not complying with the      7 who?
     8 requirements as we understood the DEA to have         8     A. The chairman at the time was Ted
     9 provided us guidance for.                             9 Schurer.
    10     Q. Understood. We'll get to the brief now,       10     Q. The acting chair?
    11 which is going to be marked as Exhibit 17. It's      11     A. Yes. I assume where you're going is
    12 Norris 20.                                           12 John was chairing the meeting that day.
    13                ---                                   13     Q. So this nonsense objection gets right
    14      (Cardinal-Norris Exhibit 17 marked.)            14 back to where we were. This is the amicus brief
    15                ---                                   15 that Cardinal Health, as a member of HDMA,
    16 BY MR. FARRELL:                                      16 submitted in the Masters Pharmaceutical case,
    17     Q. Have you seen and read this brief             17 agreed?
    18 before?                                              18        MS. MAINIGI: Objection to form.
    19        MS. MAINIGI: Well, can you let her lay        19     A. This is the amicus brief that HDMA
    20 eyes on it, and then she can tell which one you're   20 filed.
    21 talking about.                                       21     Q. All right. Now, if you flip to page 5,
    22     Q. Have you reviewed this document prior to      22 Norris 20-005.
    23 today?                                               23     A. Yes.
    24     A. I have.                                       24     Q. So at the very -- the first highlighted
                                                Page 191                                             Page 193
     1     Q. You're aware that it's one of the items        1
                                                            provision in there, I'll read it aloud to make
     2 listed in the 30(b)(6) notice?                     2 this quicker. "The public health dangers
     3     A. I am.                                       3 associated with diversion and abuse of controlled
     4     Q. This is the amicus brief that was           4 prescription drugs have been well recognized by
     5 approved by HDMA during a meeting chaired by 5 Congress, DEA, public health authorities, and
     6 Cardinal Health's CEO.                             6 others, including HDMA and NACDS and their
     7     A. Approved to be filed, yes.                  7 members."
     8     Q. Approved to be filed. Ratifying its         8        Do you see that?
     9 truth and accuracy?                                9     A. I do.
    10        MS. MAINIGI: Objection to form.            10     Q. Sitting here today, does Cardinal Health
    11        And I hope you're not mischaracterizing    11 ratify and agree with that statement?
    12 facts to this witness. Did you show her where it 12         MS. MAINIGI: Objection to form.
    13 was approved?                                     13 Objection; scope.
    14        MR. FARRELL: Yeah. Again, this is          14     A. Cardinal Health agrees with this
    15 about your 15th speaking objection. She can       15 statement.
    16 answer the question.                              16     Q. So if controlled substances that
    17        MS. MAINIGI: I don't think so.             17 Cardinal Health sells gets diverted, it has the
    18     A. The action was --                          18 potential to cause public health dangers, agreed?
    19        MR. FARRELL: Gee, that's amazing that 19             MS. MAINIGI: Objection; scope.
    20 she picked up right on what your objection was.   20 Objection; form.
    21 Enu, that's not an appropriate objection. She can 21     A. Can you repeat the question?
    22 ask or answer herself.                            22     Q. Cardinal Health has an obligation --
    23 BY MR. FARRELL:                                   23 well, wait a minute. Where am I here?
    24     Q. The fact of the matter is we walked        24        If controlled substances that Cardinal

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     1 Health sells gets diverted, it has the potential          1 they have a duty to guard against diversion?
     2 to cause public health dangers, agreed?                   2        MS. MAINIGI: Objection; asked and
     3        MS. MAINIGI: Objection to form.                    3 answered. Objection; scope.
     4 Objection to scope.                                       4     A. Cardinal Health has regulatory and legal
     5     A. Not necessarily.                                   5 obligations that it must comply with in performing
     6     Q. So you disagree with the statement that            6 its services, which is what it does.
     7 your trade organization submitted in the Masters          7     Q. We're going to get to your tag line
     8 Pharmaceutical case?                                      8 later. Again, your answer was clear before. You
     9        MS. MAINIGI: Objection; form.                      9 don't have to repeat it. You can just say "ditto"
    10 Objection; scope.                                        10 to save time.
    11     A. I don't think I'm disagreeing with the            11        I'm asking you whether or not you
    12 statement.                                               12 acknowledge that the amicus brief submitted on
    13     Q. Okay. So how about this: Let's play               13 behalf of Cardinal Health's trade organization
    14 true or false. I'll read the sentence, and you           14 states that as responsible members of society, you
    15 say true or say false, okay?                             15 have a duty to guard against diversion?
    16        MS. MAINIGI: The witness can answer as            16        MS. MAINIGI: Objection to form. Asked
    17 she likes.                                               17 and answered. Objection; scope.
    18     A. Okay.                                             18     A. That is a statement in the amicus brief.
    19     Q. "The public health dangers associated             19     Q. I'm going to ask you for a third time.
    20 with the diversion and abuse of controlled               20 Do you agree with this statement, yes or no?
    21 prescription drugs have been well recognized by          21        MS. MAINIGI: Objection to form. Asked
    22 Congress, DEA, public health authorities and             22 and answered. Objection; scope.
    23 others, including HDMA and NACDS and their               23     A. I believe I answered. I don't believe
    24 members."                                                24 that -- with the statement in total.

                                                     Page 195                                               Page 197
     1        True or false?                                     1    Q. So it's false; you do not believe
     2        MS. MAINIGI: Objection; form.                      2 there's a duty?
     3 Objection; scope.                                         3        MS. MAINIGI: Objection to form.
     4    A. True.                                               4 Objection; asked and answered. Objection; scope.
     5    Q. "HDMA and NACDS members not only have               5    A. No, I don't believe there is a duty.
     6 statutory and regulatory responsibilities to guard        6    Q. Yet Cardinal Health approved the
     7 against diversion of controlled prescription drugs        7 submission of this document to the D.C. Circuit
     8 but undertakes such efforts as responsible members        8 Court of Appeals?
     9 of society."                                              9        MS. MAINIGI: Objection; form.
    10        True or false?                                    10    A. Yes. Cardinal Health approved this to
    11        MS. MAINIGI: Objection; form.                     11 be filed.
    12 Objection; scope.                                        12    Q. Now, if you go down to the next part,
    13    A. I disagree with the "undertake such                13 you'll see where it says "But in certain recent
    14 efforts as responsible members of society." We           14 pronouncements."
    15 have a statutory and regulatory obligation that we       15        Would you read that?
    16 comply with.                                             16    A. Yes.
    17    Q. So it's false?                                     17    Q. It says, "DEA has required distributors
    18        MS. MAINIGI: Objection to form.                   18 not only to report suspicious orders, but to
    19 Objection to scope.                                      19 investigate orders; as an example, interrogating
    20    A. No, not in total.                                  20 pharmacies and physicians and take action to halt
    21    Q. You're sitting here on behalf of                   21 orders before they are filed.
    22 Cardinal Health today, not in-house counsel.             22        "Those added obligations would
    23        Does Cardinal Health accept or reject             23 significantly expand the report only duty of
    24 the fact that as responsible members of society,         24 distributors under the longstanding regulatory


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     1 scheme and impose impractical obligations on            1        That's the position Cardinal Health was
     2 distributors."                                          2 taking through its trade group in June of 2016 --
     3         Does Cardinal Health agree or disagree          3 2017. That's not true, is it?
     4 with that statement?                                    4        MS. MAINIGI: Objection to form.
     5         MS. MAINIGI: Objection to form.                 5 Objection to scope.
     6 Objection; scope.                                       6    A. It is true. There is nothing in the
     7     A. Cardinal Health agrees that the                  7 regulation. The guidance provided by the DEA
     8 reporting obligation was a new obligation imposed       8 provided the shipping requirements.
     9 by -- sorry. I misspoke. The shipping obligation        9    Q. So, again, with the word games.
    10 was a new obligation imposed by the DEA which          10        Go to the next provision. "There is no
    11 Cardinal Health complied with once they were made      11 prohibition on shipment of suspicious orders."
    12 aware of it.                                           12        Does Cardinal Health agree with that?
    13     Q. This is -- listen. This amicus brief            13        MS. MAINIGI: Objection to form.
    14 was submitted in what year?                            14 Objection to scope.
    15     A. 2016, '17.                                      15    Q. Your lawyer is telling a West Virginia
    16     Q. Okay. And what year did Cardinal Health         16 federal court there is no duty. You're saying --
    17 receive the shipping requirement Dear Registrant       17 your amicus brief is saying there is no duty.
    18 letter?                                                18 Cardinal Health has been fined for a violation of
    19     A. Initially in 2006.                              19 that duty, and yet you're saying you've been in
    20     Q. So a decade earlier, correct?                   20 compliance with this since at least 2007.
    21         MS. MAINIGI: Objection to form.                21        Is that your testimony today?
    22     A. Correct.                                        22        MS. MAINIGI: Objection to form.
    23     Q. This document submitted by Cardinal             23 Objection; scope.
    24 Health's trade group seems to indicate a rejection     24    A. There is no obligation in the statute
                                                  Page 199                                               Page 201
     1 of the shipping requirement ten days before the         1
                                                             regarding the shipping requirement, but the
     2 Masters Pharmaceutical case was released.           2 guidance provided by the DEA provided that, and
     3         MS. MAINIGI: Objection to form.             3 Cardinal Health has complied.
     4 Objection; argumentative. Objection; scope.         4     Q. And the D.C. Circuit Court of Appeals
     5     A. I believe when you read the brief in         5 has affirmed the DEA's position, agreed?
     6 total, it refers clearly to the 2006 DEA letters.   6        MS. MAINIGI: Objection. Outside the
     7 So the -- if there is an insinuation that they are  7 scope.
     8 somehow saying that it's new then in 2016, '17,     8        MR. FARRELL: It is not. It's actually
     9 that's not the -- that's not what the entire        9 listed in the scope. I'll repeat the question.
    10 letter says.                                       10 BY MR. FARRELL:
    11     Q. Well, let's go to page 9 where the brief 11        Q. The D.C. Circuit Court of Appeals in
    12 literally says, "Nothing" --                       12 Masters Pharmaceutical affirmed the position taken
    13         MS. MAINIGI: Can you wait until she        13 by the DEA in its 2006 and 2007 Dear Registrant
    14 gets to page 9, please?                            14 letters --
    15         And then do you want to draw her           15        MS. MAINIGI: Objection.
    16 attention to where on page 9 you are?              16     Q. -- agreed?
    17     A. I'm on page 9.                              17        MS. MAINIGI: Excuse me. Objection;
    18     Q. I'll give you one hint to what I'm going    18 scope.
    19 to read next. It's highlighted.                    19     A. It affirmed that there is a shipping
    20     A. Okay.                                       20 requirement.
    21     Q. "Nothing in Sections 1301.72 to 1301.76 21         Q. So the answer to my question is yes?
    22 requires distributors to investigate the           22        MS. MAINIGI: Objection; form.
    23 legitimacy of orders or to halt shipment of any    23 Objection; scope.
    24 orders deemed to be suspicious."                   24     A. Yes. They affirmed there is a shipping

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     1 requirement.                                        1     A. I believe I answered this morning. I
     2    Q. Now, you testified earlier that there         2 don't know specifically. I know the topic of the
     3 were -- that the DEA told Cardinal Health that the 3 meeting was Internet pharmacies.
     4 duty was report only prior to 2006.                 4     Q. You're not aware of what the Internet
     5        Do you remember that testimony?              5 pharmacies was, what they talked about, what the
     6    A. I don't know that I said the DEA told         6 issue was?
     7 us. It was our understanding that it was report     7        MS. MAINIGI: Objection; asked and
     8 only based on the guidance we had received from     8 answered.
     9 the DEA prior to 2006.                              9        She discussed it this morning. I don't
    10    Q. I've got to write that word down.            10 know if you were in the room or not when she did,
    11 Guidance.                                          11 because you might have been wandering in and out.
    12        What guidance did you receive? Is it in     12        MR. FARRELL: Ooh, that was a little
    13 writing somewhere?                                 13 catty.
    14    A. There's the 1998 DEA report to the           14     A. I can't recall all the specifics of the
    15 Attorney General that speaks to the required       15 meeting, as I stated this morning.
    16 reporting.                                         16     Q. All right. So let's -- then let's put
    17    Q. So wait a minute. You're relying upon a      17 it even broader.
    18 1998 letter to the Attorney General as the basis   18        When is the earliest that you believe
    19 for compliance with your duty to prevent           19 Cardinal Health had interactions with the DEA
    20 diversion, yes?                                    20 regarding diversion of controlled substances?
    21        MS. MAINIGI: Objection; scope.              21        MS. MAINIGI: Objection; scope.
    22 Objection; form.                                   22 Objection; time period.
    23        MR. FARRELL: Well, hold on. You can't 23           A. I can't speak to all of the interactions
    24 object to the scope when she's relying on a 1998   24 that Cardinal Health had with the DEA. Again,

                                               Page 203                                              Page 205
     1 document for her deposition today.                  1 pursuant to the 1998 DEA report to the Attorney
     2        MS. MAINIGI: I'm objecting to scope.         2 General, that provided guidance to us as to what
     3 BY MR. FARRELL:                                     3 we were supposed to be doing regarding the
     4    Q. So I'm asking you again. Other than the       4 reporting of controlled substances.
     5 1998 letter, are there any other written documents  5    Q. You paid a fine in 2008, correct?
     6 that you rely upon as guidance that your duty was   6        MS. MAINIGI: Objection.
     7 report only?                                        7    A. We paid a settlement.
     8    A. At this time, I'm not aware of any            8    Q. You paid a settlement in 2008, right?
     9 specific other written documents.                   9    A. Yes.
    10    Q. Okay. This 1998 letter, who was it to        10    Q. Did it include conduct prior to '08, to
    11 and from?                                          11 the best of your knowledge?
    12    A. It wasn't a letter. It was a report by       12    A. Without the document in front of me, I
    13 the DEA to the Attorney General.                   13 cannot be positive. I believe there were years
    14    Q. Of the United States?                        14 referenced prior to 2008.
    15    A. Yes.                                         15    Q. Okay. Because I haven't seen it, and
    16        MR. FARRELL: Well, don't huff. There's 16 one of the subject matters is Cardinal Health's
    17 like 50 of them. You should know. They all sued 17 interactions with the DEA. I'm trying to figure
    18 you.                                               18 out if those interactions go prior to 2006. And
    19 BY MR. FARRELL:                                    19 what you're telling me is at a minimum, there's a
    20    Q. You also talked about a 2005 meeting         20 1998 letter. Are you aware of anything else, any
    21 with the DEA regarding Internet pharmacies.        21 other meetings, presentations, documents?
    22    A. Yes.                                         22    A. I'm not aware --
    23    Q. Was that related to diversion of             23        MS. MAINIGI: Objection. Excuse me.
    24 controlled substances, including opioids?          24 Objection to form.


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     1     A. I'm not aware of anything specifically.        1 question." Right?
     2 The company presently doesn't have that               2         MS. MAINIGI: No.
     3 information, but I can't say with any specificity.    3         MR. FARRELL: That's the wrong thing.
     4     Q. Since at least 2007, do you agree that         4         MS. MAINIGI: Let's see where your
     5 shipping a suspicious order without conducting due    5 question is pending.
     6 diligence is unlawful?                                6         Let's see. The last thing I believe you
     7        MS. MAINIGI: Objection to form.                7 said, "You're good. You've got this down. Let's
     8 Objection; scope.                                     8 get to multiple choice since I can't get the
     9     A. Shipping a suspicious order without            9 fill-in-the-blank."
    10 conducting due diligence, an order that has been     10         I think that was the precursor to
    11 reported as suspicious without conducting due        11 something or other, but there's no question
    12 diligence, does not comport with the guidance that   12 pending, so I'd like to take a break.
    13 we've received from the DEA.                         13         MR. FARRELL: There is a question
    14     Q. So is shipping a suspicious order             14 pending, and so I'm going to object to breaking
    15 illegal?                                             15 while this subject matter is pending.
    16        MS. MAINIGI: Objection to form.               16         MS. MAINIGI: Okay. You can't object to
    17 Objection; scope.                                    17 that. I would like to go off the record.
    18     A. It does not comply with the guidance          18         THE VIDEOGRAPHER: The time is now 2:32.
    19 provided by the DEA.                                 19 Going off the record.
    20     Q. Does that make it illegal or unlawful?        20         (Recess taken.)
    21        MS. MAINIGI: Objection; form.                 21         THE VIDEOGRAPHER: The time is now 2:54.
    22 Objection; scope.                                    22 Back on the record.
    23     A. It does not comply with the guidance          23         MS. MAINIGI: Counsel, I did notify
    24 provided by the DEA.                                 24 Mr. Cohen of what we thought was inappropriate

                                                 Page 207                                                  Page 209
     1     Q. So let's play fill-in-the-blank.            behavior
                                                             1       on  your behalf. We   are moving   forward,
     2 Halting a suspicious order is?                   2 but I think he's available later if we feel the
     3        MS. MAINIGI: Objection to form.           3 need to engage him.
     4 Objection; scope.                                4        MR. FARRELL: Understood.
     5     Q. Fill in the blank.                        5                 ---
     6     A. An obligation that Cardinal Health has    6      (Cardinal-Norris Exhibit 18 marked.)
     7 under the guidance provided by the DEA.          7                 ---
     8     Q. You're good. I mean, you've got this      8 BY MR. FARRELL:
     9 down. Let's get to -- let's get to a multiple    9     Q. I'm going to have marked next which is
    10 choice since I can't get the fill-in-the-blank. 10 Plaintiff's Exhibit 18. It is Bates-stamped
    11        MS. MAINIGI: You know what? I'd like 11 ABDC_MDL_00278063. And I'm going to show it to
    12 to take a break.                                12 you and ask if you've seen this document before.
    13        MR. FARRELL: Well, I'm almost done. 13             MS. MAINIGI: Counsel, did you receive
    14        MS. MAINIGI: I'd like to take a break.   14 permission from ABDC to utilize this at the
    15        MR. FARRELL: Yeah, as soon as I finish 15 deposition?
    16 my question that's pending. Because if we break 16        MR. FARRELL: I did not, nor do I think
    17 right now, you can't talk to her --             17 I need to under 33M of the protective order.
    18        MS. MAINIGI: That's fine.                18        MS. MAINIGI: Okay. We will check that
    19        MR. FARRELL: -- while there's a          19 while you're questioning. I believe the process
    20 question pending.                               20 at least is that you do need to get permission,
    21        MS. MAINIGI: I don't need to talk to     21 but we'll let you keep going for now, and if
    22 her. I don't think there's a question pending.  22 there's a dispute about that, we'll take it up.
    23 What is the question pending?                   23        MR. FARRELL: It's marked as
    24        MR. FARRELL: She says, "Repeat the       24 confidential.   And under 33M, what it states is

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     1 that there are limitations on use, and one of the   1     A. Agreed.
     2 exceptions is it can be used with in-house counsel  2     Q. On page 3, it identifies the objectives
     3 as well as parties.                                 3 of this Crisis Playbook, and would you read the
     4        So my interpretation of the rule is          4 first two.
     5 since this is an HDMA document, it isn't an         5     A. "Provide clear" --
     6 internal document from AmerisourceBergen or an      6         MS. MAINIGI: Excuse me. Objection;
     7 internal trade secret or proprietary information.   7 scope.
     8 And, in fact, on page 2 of the document, it         8     A. "Provide clear guidelines for
     9 indicates that Cardinal Health was a part of the    9 classifying crisis situations. Define roles and
    10 crisis executive committee.                        10 responsibilities in a crisis situation."
    11 BY MR. FARRELL:                                    11     Q. And read the very last entry point.
    12     Q. So if you want to take a minute to          12         MS. MAINIGI: Objection; scope.
    13 review it, you can do so.                          13     A. "Have ready-to-use response materials on
    14        MS. MAINIGI: Well, I'll certainly let       14 hand for high risk scenarios."
    15 the witness review it, but we'll take your         15     Q. Now, this was created in the year 2013,
    16 position under advisement and let you keep going.  16 and as Cardinal Health, are you familiar with it
    17        Can you identify the year this document     17 at all?
    18 is from?                                           18         MS. MAINIGI: Objection; scope.
    19        MR. FULLER: Only from metadata.             19     A. I am not.
    20        MS. MAINIGI: And what did you conclude? 20         Q. If you flip to page 4 where it says
    21        MR. FULLER: April 25, 2013. It was an       21 "Communicate Early." Can you read that aloud?
    22 attachment to an e-mail.                           22     A. "Getting ahead of an issue, or getting
    23 BY MR. FARRELL:                                    23 your message across as early as possible, is
    24     Q. I'm not going to spend a tremendous         24 always -- almost always the best way to minimize

                                                Page 211                                                Page 213
     1 amount of time on this document.                      1 damage from a negative event."
     2    A. That's fine. I'm sorry. I've never              2     Q. And then over where it says "Express
     3 seen this document before, so I'm not even clear      3 emotion appropriately," would you read that aloud?
     4 exactly what the purpose of it is. So I just          4     A. "The public demands more than the letter
     5 wanted to make sure I at least --                     5 of the law or minimum adherence to regulations."
     6    Q. I'll walk you through some of the               6     Q. You understand that today I am
     7 highlights.                                           7 representing a number of different public entities
     8        Will you identify the title of this            8 that are, in fact, demanding more than recitation
     9 document?                                             9 of your adherence to regulations?
    10    A. The title on the front page is "Crisis         10        MS. MAINIGI: Objection; scope, if that
    11 Playbook: An Interactive Guide to Crisis             11 is a question.
    12 Communications."                                     12     Q. The very thing that's in this crisis
    13    Q. And it's published by whom?                    13 plan management is what you've been repeating
    14    A. HDMA is listed on the front.                   14 today; would you agree with that?
    15    Q. And, again, this is the trade                  15        MS. MAINIGI: Objection; scope.
    16 organization which includes as its members, and on   16 Objection; form.
    17 the executive committee, Cardinal Health?            17     A. I don't agree with that.
    18    A. Yes.                                           18     Q. So we'll flip all the way over to page
    19    Q. And if you look on page 2, you'll notice       19 12, Communications Approach.
    20 that the Core Crisis Team is identified, and it      20        MS. MAINIGI: Can you give us the Bates
    21 appears to be internal employees of HDMA. And        21 number, please --
    22 underneath it is the executive committee, and at     22        MR. FARRELL: I gave you my copy.
    23 the time, it identifies Mark -- or Mike Kaufmann     23        MS. MAINIGI: -- because there's no page
    24 from Cardinal Health, agreed?                        24 numbers.


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                                                 Page 214                                                   Page 216
     1        THE WITNESS: I don't see a page number.        1 Objection; scope.
     2        MS. VELDMAN: 74 is the last four               2     A. I do not know.
     3 digits, 74.                                           3        MR. FARRELL: Exhibit page 19?
     4        THE WITNESS: 74?                               4        MS. VELDMAN: 81.
     5        MS. VELDMAN: The last two digits on the        5 BY MR. FARRELL:
     6 bottom.                                               6     Q. The last three digits are 081,
     7 BY MR. FARRELL:                                       7 Third-Party Outreach. It says, "Identify
     8     Q. So as of 2013, this crisis management          8 potential third parties who could speak
     9 plan provided by HDMA to its members includes a       9 knowledgably about the issue by noting individuals
    10 consideration of being able to drive the narrative   10 or groups who have commented on the issue in news
    11 in a crisis.                                         11 coverage, at conferences, or in published
    12        Do you see that?                              12 materials."
    13        MS. MAINIGI: Objection; scope.                13        Are you aware of any such coordinated
    14     A. I see a comment that says, "If you            14 activity?
    15 announce first, to what extent will you be able to   15        MS. MAINIGI: Objection; scope.
    16 drive the narrative?"                                16     A. I am not.
    17     Q. If you flip to the next page, you'll see      17        MR. FARRELL: Exhibit page 24?
    18 in 2013, HDMA has already used this chart to run a   18        MS. VELDMAN: 86.
    19 risk analysis of the controlled substance            19 BY MR. FARRELL:
    20 diversion issue.                                     20     Q. 086 on the Bates stamp. This Crisis
    21        Do you see that?                              21 Playbook identifies six issues related to
    22        MS. MAINIGI: Objection; scope.                22 diversion. If you flip to the next page, Scenario
    23     A. I see the bullet point.                       23 1 is a DEA Registration Suspension.
    24     Q. Are you aware of whether or not HDMA          24     A. I see "Scenario 1: DEA Registration

                                                 Page 215                                                  Page 217
     1 circulated to Cardinal Health bullet points to        1
                                                             Suspension."
     2 discuss diversion lawsuits or diversion issues?     2     Q. So if, in fact, this document was
     3        MS. MAINIGI: Objection; scope.               3 created  in 2013, this is after the DEA's attempt
     4    A. I am not.                                     4 to revoke Cardinal Health's registration, agreed?
     5    Q. Flip to --                                    5        MS. MAINIGI: Objection; scope.
     6        MR. FARRELL: It's my 16.                     6 Objection; form.
     7        MS. VELDMAN: 16? On the top?                 7     A. This is after the 2012 action taken by
     8        MR. FARRELL: Yeah.                           8 the DEA.
     9        MS. VELDMAN: Okay. 78.                       9     Q. But before the 2016 fine assessed by the
    10        MS. MAINIGI: Thank you.                     10 DEA?
    11 BY MR. FARRELL:                                    11     A. Before the 2016 settlement agreement,
    12    Q. On the last -- the page that's               12 yes.
    13 documented 078, Core Messaging. It says, "Draft 13        Q. And at the top right-hand corner, what
    14 topline messages, consisting of three to five      14 you'll see is one of the key considerations.
    15 message points that give an overview of the full   15        Would you read that aloud?
    16 narrative and that will likely be included in all  16     A. "Does this present an opportunity for
    17 communication materials."                          17 HDMA to proactively push its message of
    18        Are you aware of whether or not HDMA        18 misdirected DEA enforcement with national media."
    19 coordinated with its members, including the big    19     Q. Has Cardinal Health engaged in proactive
    20 three and those that are on the executive          20 efforts to shift the message toward misdirected
    21 committee, to coordinate core messaging related to 21 DEA enforcement?
    22 diversion or diversion lawsuits?                   22        MS. MAINIGI: Objection; scope.
    23    A. I do not know.                               23 Objection; form.
    24        MS. MAINIGI: Objection. Excuse me.          24     A. I do not recall specifically, no.

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     1     Q. If, in fact, Cardinal Health has in the              1 highlighted portion that states, "Although
     2 past intervening five years attempted to direct             2 distributors do not dispense drugs directly to
     3 blame toward the DEA, you would agree that it               3 patients and do not have" --
     4 happens to coincide with the 2013 playbook?                 4        MS. MAINIGI: There's nothing
     5        MS. MAINIGI: Objection; scope.                       5 highlighted. I'm sorry to interrupt, but you said
     6 Objection; form.                                            6 look at the highlighted. We don't see anything
     7     A. Just because HDMA published a playbook               7 highlighted.
     8 that I know Mike Kaufmann was on the executive              8    A. I see the sentence that begins "Although
     9 committee does not mean that that's necessarily             9 distributors."
    10 how Cardinal Health handled its communications             10    Q. We lost our screen somehow, so let me
    11 related to the issue at hand.                              11 just read it out loud. "Although distributors do
    12     Q. If you flip to the next page, "Scenario             12 not dispense drugs directly to patients and do not
    13 1: DEA Registration Suspension," there's a "Tough          13 have access to individual patient information, we
    14 Q&A" question. So this is a playbook that HDMA,            14 share a common goal with doctors, pharmacists,
    15 your trade group, circulated amongst its members,          15 manufacturers, law enforcement, and policymakers
    16 including Cardinal Health, and it's how to react           16 to ensure a safe and sufficient supply of
    17 in the media if one of your members gets its               17 medicines for patients in need while keeping
    18 registration suspended.                                    18 prescription drugs out of the hands of individuals
    19        And one of the tough questions it was               19 who abuse them."
    20 prepping its members for is, if it's asked, "What          20        This is a 2013 statement that mimics a
    21 is HDMA's perspective on the registration                  21 very good amount of the things you've been saying
    22 suspension? Was this action warranted?"                    22 here today, doesn't it?
    23        Would you read the next sentence?                   23        MS. MAINIGI: Objection; form.
    24        MS. MAINIGI: Objection; scope.                      24 Objection; scope. Objection; argumentative.

                                                       Page 219                                               Page 221
     1 Objection; form.                                            1     A. This language is generally aligned with
     2    A. "HDMA is not familiar with the                        2 the understanding that Cardinal Health has a
     3 particulars of this situation, but we are                   3 certain obligation in the supply chain, and it
     4 disappointed that the DEA appears to be pursuing a          4 follows the statute, regulations, guidance that
     5 path of conflict rather than collaboration with             5 govern that.
     6 our industry."                                              6     Q. And if you flip to the next page. The
     7    Q. So, again, in 2013, this is HDMA                      7 second sentence of the second paragraph is
     8 advising its constituents, including Cardinal               8 literally what you just said. It says, "We can
     9 Health, to push the message that the DEA's                  9 tell you that our members are registered with the
    10 enforcement actions are paths of conflict rather           10 DEA and follow rigorous statutory and regulatory
    11 than collaboration?                                        11 requirements to detect and prevent diversion."
    12        MS. MAINIGI: Objection; scope.                      12         Do you see that?
    13 Objection; form.                                           13         MS. MAINIGI: Objection; scope.
    14    A. It's providing guidance to the HDMA                  14     A. No. I'm sorry. I don't see it. Which
    15 members that the HDMA members can then choose to           15 paragraph?
    16 use at their discretion.                                   16     Q. It's the second full paragraph in the
    17        MR. FARRELL: Exhibit page 28?                       17 left-hand column, the second sentence. "We can
    18        MS. VELDMAN: 90.                                    18 tell you ..."
    19 BY MR. FARRELL:                                            19     A. And I'm sorry. What was your question?
    20    Q. 090 Bates stamp page. Literally this is              20     Q. That's literally what you've been saying
    21 a scenario in 2013 on how its members, including           21 all day today, and it's written in the 2013 crisis
    22 Cardinal Health, should respond in the media to            22 handbook.
    23 lawsuits on diversion. And if you look over on             23         MS. MAINIGI: Objection; form.
    24 the right-hand side of the draft statement, the            24 Objection; argumentative. Objection; scope.


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     1    A. Okay.                                               1     A. And I'm sorry. Which question are you
     2    Q. And if you flip to 32.                              2 looking at?
     3       MS. VELDMAN: Page 94 on the bottom.                 3     Q. The very first question. And I'm going
     4       MR. FARRELL: Mine doesn't have a Bates              4 to direct your attention to the answer. And this
     5 stamp.                                                    5 will be my hand-off point to Mr. Fuller to go back
     6       THE VIDEOGRAPHER: Okay. Page 94.                    6 to -- it's a perfect transition.
     7       MS. MAINIGI: 91?                                    7         It states in the second full sentence of
     8       THE WITNESS: 94.                                    8 the second paragraph, "Every distributor must
     9       MS. VELDMAN: 094.                                   9 monitor suspicious orders and report to the DEA if
    10       MS. MAINIGI: Okay.                                 10 it appears a pharmacy's controlled substances
    11 BY MR. FARRELL:                                          11 volume or pattern of ordering might signal
    12    Q. 094.                                               12 diversion."
    13    A. Yes.                                               13         So, again, in 2013, this is what the
    14    Q. So what is Scenario 4 that HDMA is                 14 HDMA, your trade group, is advising you to do or
    15 preparing for back in 2013?                              15 what to say about your duties if asked by
    16       MS. MAINIGI: Objection; scope.                     16 Congress, agreed?
    17    A. The title of the page is "Scenario 4:              17         MS. MAINIGI: Objection; form, scope,
    18 Congressional Inquiry."                                  18 argumentative.
    19    Q. So five years before Congress subpoenaed           19     A. It's guidance they provided. If we're
    20 Cardinal Health, McKesson, AmerisourceBergen, H.D.       20 testifying in front of Congress, we'll say what we
    21 Smith and Miami-Luken, HDMA was ahead of the wave        21 actually do.
    22 and already prepping and preparing and advising          22                  ---
    23 for media statements regarding a Congressional           23          CROSS-EXAMINATION (CONT'D.)
    24 inquiry.                                                 24

                                                   Page 223                                                 Page 225
     1        Do you agree with that?                            1
                                                            BY MR. FULLER:
     2        MS. MAINIGI: Objection; argumentative. 2         Q. All right, Ms. Norris. Then let's talk
     3 Objection; form. Objection; scope.                 3 about what you guys actually did.
     4     A. The document covers Congressional           4        Cardinal is required to have a
     5 inquiry. And, again, it's guidance to be provided  5 suspicious order monitoring program; is that
     6 to the members that the members can use at their   6 correct?
     7 discretion.                                        7    A. Cardinal is required to report
     8     Q. Five years before Congress had an           8 suspicious orders, and then as clarified and
     9 inquiry?                                           9 promulgated in the 2006-'07 Rannazzisi letters, to
    10        MS. MAINIGI: Objection; form.              10 not ship the suspicious orders.
    11 Objection; scope. Objection; argumentative.       11    Q. Is Cardinal required to have a
    12     A. Yes, five years prior to the inquiry       12 suspicious order monitoring program?
    13 you're referencing.                               13    A. Cardinal Health is required --
    14     Q. Now, under "Tough Q&A," there's a          14    Q. No, I know the suspicious order
    15 question and then the second full sentence that   15 requirement. I'm talking about a suspicious order
    16 starts "Every distributor."                       16 monitoring program. Is Cardinal Health required
    17        MS. MAINIGI: Can you tell us where you 17 to have one?
    18 are?                                              18        MS. MAINIGI: Objection; form.
    19        MS. VELDMAN: It's 095.                     19    A. Cardinal Health is required to comply
    20        MR. FARRELL: It's the same page.           20 with the statute that it is to report suspicious
    21        MS. MAINIGI: No, it's a different page. 21 orders. If it designs a program called suspicious
    22        MS. VELDMAN: It's 095.                     22 order monitoring system, that's the method in
    23        MR. FARRELL: Did I flip pages? Oh,         23 which we're complying with our obligation to --
    24 yeah, she's right. 095.                           24 part of the way we're complying with our


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     1 obligation to report the suspicious orders as         1
                                                             reports, the ingredient limit  reports, the ARCOS
     2 required by the statute -- the regulation. Sorry.   2 reports, the excessive limit reports. Again, the
     3     Q. Does Cardinal have a suspicious order        3 ingredient limit report and ARCOS reports were
     4 monitoring program?                                 4 electronic. Beginning in 2007, as the program
     5     A. It does.                                     5 evolved, we developed the actual electronic order
     6     Q. And when did it first create it?             6 monitoring of our customers.
     7        MS. MAINIGI: Objection; time period.         7     Q. Okay.
     8     A. Cardinal Health has had a suspicious         8                ---
     9 order monitoring system specifically since about    9       (Cardinal-Norris Exhibit 19 marked.)
    10 2007.                                              10                ---
    11     Q. So prior to 2007, Cardinal Health did       11     Q. So Norris 62 -- I'm sorry it's so big
    12 not have a specific suspicious order monitoring    12 and bulky, but it is what it is. It's now going
    13 program --                                         13 to be marked as Plaintiff's Number 19.
    14        MS. MAINIGI: Object.                        14         MR. FULLER: Right?
    15     Q. -- is that correct?                         15 BY MR. FULLER:
    16        MS. MAINIGI: Excuse me. Objection;          16     Q. 19. And have you seen this document
    17 form.                                              17 before?
    18     A. Cardinal Health maintained the program      18     A. Yes. I believe this is the document
    19 as it understood as directed by the DEA to report  19 I've seen.
    20 the orders pursuant to the ingredient limit        20         MR. FULLER: Okay. And for the record,
    21 reports we talked about this morning, as well as   21 it is CAH_MDL_PRIORPROD_DEA07_01383895.
    22 the excessive order reports. But as far as an      22                ---
    23 electronic suspicious order monitoring system, our 23       (Cardinal-Norris Exhibit 20 marked.)
    24 program evolved in 2007 to include that.           24                ---

                                                 Page 227                                                 Page 229
     1    Q. So prior to 2007, Cardinal was not              1         MR. FULLER: Now I'm going to hand
     2 monitoring suspicious orders electronically; can      2 counsel what is Norris Exhibit 63, Plaintiff's
     3 we agree on that?                                     3 Exhibit Number 20, which for the record has a
     4    A. No. Cardinal Health -- the reports were         4 Bates number similar. Although, it's
     5 generated electronically, the ingredient limit        5 HOUSE_0002197.
     6 reports, as well as the ARCOS reports actually,       6 BY MR. FULLER:
     7 but --                                                7     Q. I'm going to try to simplify things just
     8        (Reporter clarification.)                      8 a little bit. If you'll flip to page 43 of the
     9    A. As well as the ARCOS reports. So they           9 book, which is Number 19. Is that the same as
    10 were produced electronically.                        10 what I've handed you as Plaintiff's Exhibit Number
    11    Q. You mentioned "the ARCOS reports."             11 20?
    12 Those are basically data dumps into the DEA of the   12         MS. MAINIGI: 43 of the manual?
    13 ARCOS required data; is that correct?                13         MR. FULLER: It looks more like a book
    14    A. Those are the --                               14 to me.
    15        MS. MAINIGI: Excuse me. Objection;            15     A. It doesn't look to be exactly the same.
    16 form and scope.                                      16 This has 71 in the bottom, not 51. I believe what
    17    A. Those are the reports that we are              17 you're actually looking for is page 144.
    18 required to submit by the DEA, which we do.          18     Q. I'm sorry.
    19    Q. Let me ask it a little differently.            19     A. That would match what you provided me
    20        So prior to 2007, there was no system         20 separately.
    21 for electronically monitoring or analyzing orders,   21     Q. Help me out where you're at.
    22 correct?                                             22     A. Page 144 of the manual you provided to
    23        MS. MAINIGI: Objection.                       23 me actually matches with the excerpt you provided
    24    A. Prior to 2007, we were submitting the          24 separately as Exhibit 20.


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     1    Q. Yes. All right. And this -- thank you.        1refer to this document as?
     2 And this manual, did Cardinal create this?         2        MS. MAINIGI: Objection; form.
     3    A. To the best of my knowledge, yes.            3    Q. And we'll go with this one.
     4    Q. It wasn't created by the DEA, to your        4    A. This is our DEA compliance manual.
     5 knowledge?                                         5    Q. Okay. And is it the equivalent of the
     6    A. I don't believe so. Although, DEA --         6 standard operating procedures or the policies and
     7 references to DEA regulations are included in the  7 procedures that Cardinal had in place from
     8 manual.                                            8 approximately April of 2000 until sometime in
     9    Q. Certainly. And this was created in, I        9 2006?
    10 think you said what, 2000?                        10        MS. MAINIGI: Objection; time period.
    11    A. The date on the bottom is 4/ or 5/2000.     11 Objection; form.
    12 I do not know if that is the creation date.       12    A. I believe there is a later version
    13 There's multiple dates. For instance, I see 1995, 13 before 2006 of, for example, this required reports
    14 1999, 1998, 1995. So I actually don't know when 14 to the DEA. But beginning in 2000 until the later
    15 the manual was created as a whole.                15 version came into effect, this was the --
    16    Q. And is it your understanding that this      16    Q. And when do you believe that later
    17 was the policy and procedure, suspicious order    17 version was?
    18 monitoring manual, whatever you want to call it,  18    A. I believe it was 2005.
    19 that was in place for Cardinal from approximately 19    Q. And do you recollect -- have you
    20 April of 2000 until sometime in 2006?             20 reviewed that document?
    21    A. Are you referring to the excerpt?           21    A. I have reviewed the -- yes, I have --
    22    Q. Yes, ma'am. We can refer to it either       22 and specifically the excerpt related to required
    23 way, whether --                                   23 reports to DEA. I believe at that point, it's
    24    A. Well, I just wanted to make sure you        24 more clearly labeled SOP or policy and procedure,

                                               Page 231                                               Page 233
     1 weren't referring to something else in the manual.  1 something like that.
     2    Q. No, ma'am. Either the excerpt or the          2    Q. Okay. So then this was in place from
     3 pages that are the same in the manual.              3 2000 until sometime during 2005?
     4    A. This is our required reports to the DEA.      4        MS. MAINIGI: Objection; time period.
     5 At this time it was a report only requirement, and  5    A. This particular provision, yes.
     6 this is -- this is what represented our             6    Q. This manual?
     7 requirements under that.                            7    A. Again, the entire manual has other dates
     8    Q. Sure. And I'm trying to find out              8 that predate 2000, so -- and I don't know if,
     9 what -- and you call them SOPs, right, standard     9 like, this particular provision -- I'm sorry. I
    10 operating procedures?                              10 know the record can't see me showing it. The
    11    A. Call what SOPs?                              11 excerpt required reports to the DEA like that. I
    12    Q. Policies and procedures that you have        12 know that there's a particular later policy on
    13 within Cardinal.                                   13 that, 2005-ish. I don't know as to all of the
    14         MS. MAINIGI: Objection; form.              14 other pieces of this manual.
    15    Q. Do you not refer to them as SOPs?            15    Q. Fair enough. As it relates to what
    16         MS. MAINIGI: Objection; form.              16 we're talking about, suspicious order, controlled
    17    A. I guess sometimes we do.                     17 substance monitoring, we know this excerpt is what
    18    Q. Okay.                                        18 was in place from 2000 until approximately 2005?
    19    A. Yeah.                                        19        MS. MAINIGI: Objection; time period.
    20    Q. Because the more recent ones have -- say     20    A.    Yes.
    21 SOP?                                               21    Q. Okay. And it's Cardinal's position
    22    A. I believe so, yes.                           22 during this time frame that they only had a
    23    Q. Okay. So what do you guys refer to           23 reporting requirement, not a shipping requirement,
    24 this -- and I say "you guys." What does Cardinal 24 correct?


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     1     A. That is correct. The guidance we'd            1  Q. If you're spending three weeks, I
     2 received from the DEA was report only.             2 suspect you did.
     3        MR. FULLER: Next we'll mark 21 and 22. 3             And Exhibit 22 is signed off on and
     4                ---                                 4 approved by who?
     5    (Cardinal-Norris Exhibits 21 and 22 marked.)    5    A. Steve Reardon.
     6                ---                                 6    Q. And who is Steve Reardon?
     7        MR. FULLER: All right. 21 for the           7    A. He's listed as our vice president,
     8 record is going to be Norris 61, Norris 61. And    8 quality and regulatory affairs.
     9 it's going to be, again, Plaintiff's Exhibit       9    Q. Now, is it Cardinal's position at this
    10 Number 21. It's got a Bates number on it -- I'm   10 point in time that it was still just a reporting
    11 going to shorten it -- DEA07_01188323.            11 requirement, no shipping requirement?
    12        Exhibit 22 is going to be Norris 67,       12    A. Yes.
    13 Gina. And it's DEA07_01188147.                    13    Q. Did Cardinal have at this point in time
    14 BY MR. FULLER:                                    14 a suspicious order monitoring program?
    15     Q. And on the standard operating procedures 15      A. Cardinal Health had the anti-diversion
    16 manual that I've now marked 21 -- and I think you 16 program in place at the time that I've previously
    17 have a subpart of that as 22; is that right? I    17 discussed that required reports to the DEA, as
    18 think the subpart comes from about page 86.       18 well as the -- the ARCOS, the ingredient limit
    19        MS. MAINIGI: Is 22 a subpart of 21?        19 reports, the excessive order reports, and that was
    20        MR. FULLER: I believe so, but we're        20 our obligation pursuant to reporting of suspicious
    21 going to make sure.                               21 orders, as we understood it, from the DEA.
    22        MS. MAINIGI: That's the question.          22    Q. And if you turn to -- and, again, I'm on
    23     A. Yes, that appears to be correct.           23 Exhibit 22. Turn to page 5, down there near the
    24     Q. Okay. And I'm going to combine this        24 bottom, Number 5.

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     1 question for 19, 20, 21, and 22. You have            1     A. Yes.
     2 reviewed all these documents before, correct,        2     Q. Now, does that set out what Cardinal
     3 prior to coming here today?                          3 believed to be its suspicious order obligation at
     4     A. I have.                                       4 that time?
     5     Q. These appear to be a duplicate copy of        5     A. Yes.
     6 what you reviewed, correct?                          6     Q. Then around the 2005-2006 time frame,
     7     A. They do.                                      7 Cardinal Health had an issue arise in New York,
     8     Q. Okay. These are -- whether you want to        8 correct?
     9 refer to them as policies and procedures or          9        MS. MAINIGI: Objection to form.
    10 standard operating procedures, which this one       10     A. Can you be more specific?
    11 says, they are documents that Cardinal maintained   11     Q. Yes, ma'am. The New York Attorney
    12 in the normal course of business; is that true?     12 General brought an action against Cardinal related
    13        MS. MAINIGI: Objection; form.                13 to secondary sources for medication, as well as
    14     A. Yes.                                         14 potential diversion; is that right?
    15     Q. And, to your knowledge, these are fair       15     A. Yes, I believe potential price
    16 and accurate representations of what was in place   16 diversion.
    17 at the time, correct?                               17     Q. And that agreement, let me ask, was
    18     A. To my knowledge.                             18 actually executed I'll represent to you in
    19     Q. Now, you mentioned an '05, and I haven't     19 December of '06, but the investigation began in
    20 seen an '05, and that's why I wanted to try to      20 2005.
    21 clarify with Exhibit 22.                            21        In February 2006, Cardinal puts in place
    22     A. I apologize. It's '06.                       22 a new anti-diversion compliance policy. Do you
    23     Q. Okay.                                        23 see that? Oh, I'm sorry. It's Norris 57.
    24     A. I looked at a lot of documents.              24               ---

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     1      (Cardinal-Norris Exhibit 23 marked.)            1   Q. The price diversion is someone buying at
     2                ---                                  2 a discounted rate from Cardinal and turning around
     3    A. I see that that's the title of it. Can        3 and selling them on the open market at a higher
     4 you give me a second to review it? I've not seen    4 price, right?
     5 this particular policy.                             5        MS. MAINIGI: Objection; form and scope.
     6    Q. And I'll apologize. I tried to print          6    A. Correct.
     7 off with the Bates number at the bottom, but I      7    Q. Now, it still leaves open the issue of
     8 wasn't competent to do that.                        8 diversion; does it not?
     9        MS. MAINIGI: Is this from our                9        MS. MAINIGI: Objection; form.
    10 production?                                        10    A. I don't know what you mean by "open."
    11        MR. FULLER: Yes, ma'am.                     11 At this time, we still have our policy in place
    12        MS. MAINIGI: Okay.                          12 regarding our required reporting to the DEA to
    13        MR. FULLER: And as I just mentioned, I 13 comply with our obligations under the controlled
    14 apologize, I couldn't get it to print with a Bates 14 substance regulations and guidance.
    15 number.                                            15                 ---
    16        Ms. Wadhwani, this is the one you           16      (Cardinal-Norris Exhibit 24 marked.)
    17 pointed out to me some time ago.                   17                 ---
    18    A. Okay.                                        18    Q.    Yes,  ma'am.  And when we talk about --
    19    Q. So this anti-diversion compliance policy     19 well, let's just move to it.
    20 was enacted in February of 2006; is that correct? 20         Here's that New York agreement. And,
    21    A. Yes.                                         21 again, this was not produced. At least the copy I
    22    Q. And this is another policy and procedure 22 pulled was pulled off the Internet. And it's
    23 that Cardinal keeps in the normal course of        23 Norris 30.
    24 business?                                          24        In your review and preparation, have you
                                                Page 239                                               Page 241
     1    A. Yes.                                           1 seen this agreement before?
     2    Q. And I'll represent to you it was               2     A. In my review and preparation, no.
     3 provided by counsel related to some prior            3     Q. But you were yet aware of it, correct?
     4 productions, okay?                                   4     A. Yes.
     5    A. Okay.                                          5     Q. Why didn't you review this document?
     6    Q. And you had indicated you have not seen        6         MS. MAINIGI: Objection; scope and
     7 this one prior to today; is that correct?            7 perhaps privileged.
     8    A. I don't believe so. I don't recall             8     Q. Don't need to tell me anything counsel
     9 seeing this particular one.                          9 said. I'm not concerned about that. Let me ask
    10    Q. And it is for basically exclusively           10 it differently.
    11 closed-door pharmacies; is that right?              11         How did you know about this?
    12    A. Yes.                                          12     A. Because I worked at Cardinal Health
    13    Q. The issue with closed-door pharmacies         13 during this time period in the pharmaceutical
    14 was price diversion; is that correct?               14 distribution business and was aware of the issue.
    15    A. That is correct.                              15     Q. Okay. And this is an issue where the
    16        MS. MAINIGI: Objection; form.                16 Office of the Attorney General began investigation
    17    Q. And in --                                     17 in 2005 focusing on the secondary market for
    18    A. Correct.                                      18 pharmaceuticals; is that correct?
    19        MR. FULLER: I'm sorry.                       19         MS. MAINIGI: Objection; form.
    20        MS. MAINIGI: Objection; form. Sorry.         20     A. Generally speaking, yes.
    21 Objection; form. Objection; scope.                  21     Q. Well, I hope so, because I read it from
    22        Go ahead.                                    22 the first two lines there.
    23    A. That is correct. That's my                    23         Do you see that?
    24 understanding, yes.                                 24     A. Again, I haven't seen the document,

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     1 so -- in my preparation.                           1 absolutely. Go ahead.
     2        MS. MAINIGI: Do you want her to review      2    A. Just I want to make sure I'm familiar.
     3 it?                                                3        MR. FULLER: Why don't we take a break
     4     A. If you can give me a minute, I can          4 and let you read that. We've been going for a
     5 familiarize myself with it.                        5 while now.
     6     Q. Well, I'll just ask you questions, and      6        THE VIDEOGRAPHER: The time is now 3:49.
     7 if you need to take the time, you can take the     7 Going off the record.
     8 time then, okay?                                   8        (Recess taken.)
     9     A. We'll start with the first question, and    9        THE VIDEOGRAPHER: Okay. The time is
    10 we'll go from there.                              10 now 4:05. Back on the record.
    11     Q. Fair enough. Fair enough.                  11        MS. MAINIGI: Mr. Fuller, Ms. Norris has
    12        You mentioned you were involved. What      12 one clarification that she would like to put on
    13 was your involvement in this -- related to this   13 the record.
    14 issue, this potential investigation by the New    14        MR. FULLER: Okay.
    15 York Attorney General?                            15        THE WITNESS: I just want to make sure
    16     A. As a commercial attorney in the            16 that I was clear, because I think we were using
    17 pharmaceutical distribution business that works   17 "suspicious order monitoring system" and
    18 with -- that was working with hospital and        18 "suspicious order monitoring program" somewhat
    19 closed-door pharmacies -- that was part of the    19 interchangeably, and those are two different
    20 customer group that I supported -- I was aware of 20 things.
    21 the issue, and then ultimately was aware of the   21        Cardinal Health has had a suspicious
    22 policies, procedures we put in place. I don't     22 order monitoring program in place since the
    23 recall seeing this specific policy, but aware of  23 inception of the statute, which imposed the
    24 what we committed to the Attorney General that we 24 requirements on us to monitor for suspicious

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     1 would do going forward.                             1 orders.
     2     Q. Okay. And there's two issues raised in       2     Q. And does that include the documents that
     3 this agreement, is that correct, broad              3 we looked at, or is that a separate --
     4 picture-wise?                                       4     A. That's part -- you mean the compliance
     5        MS. MAINIGI: Objection; scope.               5 policies and procedures, the reporting
     6 Objection; form.                                    6 requirements?
     7        I think you've got to give her a chance      7     Q. Yes, ma'am. I'm not sure what you want
     8 to read the agreement if you want her to answer     8 to call them. I think it's 19, 21 -- 19, 20, 21,
     9 that question.                                      9 and 22.
    10     Q. Okay. Let me just ask it differently.       10     A. Those detailed --
    11 You're aware, are you not, that this -- the        11     Q. The suspicious ordering monitoring
    12 concerns that the New York Attorney General had    12 programs?
    13 was one with obtaining substances from alternate   13     A. Yes.
    14 source vendors, correct?                           14     Q. Was there anything else that was sent
    15        MS. MAINIGI: Objection; scope and form.     15 out in the suspicious order monitoring programs
    16        Go ahead.                                   16 other than what's in those documents? Are there
    17     A. Generally.                                  17 other documents that set out this, quote, unquote,
    18     Q. And then potentially diversion as well,     18 program?
    19 correct?                                           19     A. Not to my knowledge during that time
    20     A. Price diversion.                            20 period.
    21        MS. MAINIGI: Objection; form and scope.     21     Q. And these documents were in place up
    22     A. Can you give me a minute now before we      22 until the -- I think the 2006 document we looked
    23 get too far down into the questions?               23 at; is that right?
    24     Q. If you want to take the time,               24     A. They were -- the second packet was dated

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     1 2006.                                               1 alternative source vendors or AVS [sic].
     2    Q. Okay. Correct. So are there any other         2        "As one Cardinal employee wrote in a
     3 documents out there that would set out what         3 2001 e-mail to colleagues worried about risks of
     4 Cardinal's suspicious order monitoring system or    4 the AVS [sic] market, the firm 'must understand
     5 program was that you are aware of?                  5 the need not to kill the golden goose, ASV, who is
     6    A. The suspicious order monitoring program,      6 laying the golden eggs.'"
     7 not that I'm aware of, no.                          7        Do you know, because you were involved
     8    Q. Now, how about the suspicious order           8 to some degree with this, what risks he was
     9 monitoring systems?                                 9 referring to?
    10    A. When I refer to the suspicious order         10        MS. MAINIGI: Objection; form.
    11 monitoring system, I'm referring to the            11 Objection; scope.
    12 enhancement to the program that we made in the     12     A. I do not --
    13 2007 time frame, the electronic order monitoring   13        MS. MAINIGI: Objection; time period.
    14 program with thresholds.                           14     A. I do not know.
    15    Q. Okay. So prior to 2007 or whenever this      15     Q. Okay. If you'll go to page 4.
    16 new upgrade was rolled out, Cardinal did not       16     A. Yes.
    17 monitor thresholds, correct?                       17     Q. And there in paragraph 11, it talks
    18    A. We didn't call them thresholds, but the      18 about "Cardinal repeatedly sold pharmaceuticals to
    19 ingredient limit reports acted like a threshold.   19 customers that it knew or should have known were
    20 When the customer purchased the amount as          20 diverting pharmaceuticals."
    21 indicated by the DEA that they wanted reported, we 21        Correct?
    22 reported it, and we had the ingredient -- I'm      22     A. The sentence says that. It's talking
    23 sorry -- the excessive limit reports which were    23 about price diversion.
    24 guided somewhat in part by dosage limit charts     24     Q. Okay. And paragraph 12, "Similarly,
                                                     Page 247                                         Page 249
     1 that were posted in our cages and vaults that gave       1
                                                           starting in January of '03 -- or 2003, Cardinal
     2 guidance to appropriate amounts of the particular        2
                                                           was alerted that its customers in the Carrington
     3 drugs listed that should be ordered by that type  3 network of closed-door pharmacies were diverting
     4 of customer.                                      4 drugs."
     5    Q. Okay. Have you had a chance to review       5        Do you see that?
     6 the document that we were looking at?             6    A. I see that. Again, referring to price
     7    A. Yes, generally.                             7 diversion, yes.
     8    Q. Okay. And if you go to page 2.              8    Q. And ultimately Carrington ended up under
     9    A. Yes.                                        9 criminal investigation, correct?
    10    Q. Paragraph 2.                               10        MS. MAINIGI: Objection; scope.
    11    A. Yes.                                       11 Objection; form.
    12    Q. It says, "Cardinal is one of three         12    A. I see the note or the statement that
    13 primary distributors of pharmaceuticals in the   13 Carrington was under criminal investigation, yes.
    14 United States."                                  14                ---
    15        That's correct? Cardinal                  15      (Cardinal-Norris Exhibit 26 marked.)
    16 AmerisourceBergen, and McKesson. Would you agree 16                ---
    17 with that?                                       17    Q. This is Norris 66 and Plaintiff's
    18    A. The three you listed are the three         18 Exhibit Number 26.
    19 largest distributors in the market.              19        Ms. Norris, have you seen this document
    20    Q. And it says, "Up until the end of the      20 prior to today?
    21 practice in December of '05, or 2005, Cardinal,  21    A. I have.
    22 like the other national full-line distributors,  22    Q. And this is Cardinal's Anti-Diversion -
    23 bought and sold drugs in the secondary market    23 Know Your Customer Compliance Manual; is that
    24 buying from and selling to wholesalers known as  24 correct?


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     1    A. Yes. That's what it's labeled.                     1 AG_0000344 for the record.
     2    Q. And this was enacted in -- approximately           2        Again, is this a policy and procedure
     3 sometime in 2006; is that accurate?                      3 that's kept in the normal course?
     4    A. I believe the effective date is                    4     A. Yes.
     5 November 1, 2006 --                                      5     Q. And this was actually created or
     6    Q. Okay.                                              6 implemented or the issue date is December 22nd of
     7    A. -- on page 66.                                     7 2008?
     8    Q. And are you aware whether Cardinal had a           8     A. That is the issue date according to the
     9 prior Know Your Customer Compliance Manual?              9 document.
    10    A. Specifically titled that, I don't know.           10     Q. And these reports were provided to the
    11    Q. Do you know of any type of Know Your              11 sales personnel, correct?
    12 Customer Compliance Manual, whether it was titled       12     A. The Highlight Reports?
    13 that or not?                                            13     Q. Yes, ma'am.
    14    A. I know that part of what we were doing            14     A. Yes.
    15 prior to this time period was ensuring that we          15     Q. And it would warn the sales personnel
    16 obtained the license and verified the address of        16 about increases in customers' ordering practices;
    17 the customers that we were selling to as was            17 is that right?
    18 required.                                               18     A. It would notify the salesperson when the
    19    Q. Right. I'm just asking if there was an            19 customer was approaching a certain level of their
    20 earlier manual.                                         20 threshold.
    21    A. I don't know.                                     21     Q. Would these reports also be provided to
    22    Q. And now I think we're going to get into           22 the QRA, quality regulatory -- I think it's
    23 what you were talking about earlier, some of            23 assurance committee that you guys have?
    24 these -- and let me ask you on 26, I know you           24     A. The committee? I don't know what
                                                   Page 251                                               Page 253
     1 mentioned you reviewed that. Is that a document          1 committee you're referring to.
     2 that Cardinal usually keeps in the normal course         2    Q. Yeah, the quality regulatory group.
     3 of business?                                             3    A. The quality regulatory group?
     4     A. Yes.                                              4    Q. Yes, ma'am.
     5     Q. And it's a policy and procedure that              5    A. That's the group that's producing the
     6 applied across Cardinal nationwide; is that right?       6 report.
     7     A. To our pharmaceutical distribution                7    Q. So they created all these policies and
     8 business, yes.                                           8 procedures then, correct?
     9     Q. And according to you, it appears to be a          9        MS. MAINIGI: Objection; form.
    10 true and accurate copy of what you reviewed prior       10    A. "They" being?
    11 to today?                                               11    Q. QRA.
    12     A. Yes.                                             12    A. The anti-diversion team within QRA --
    13                ---                                      13    Q. Okay.
    14      (Cardinal-Norris Exhibit 27 marked.)               14    A. -- but they're also QRA.
    15                ---                                      15    Q. Got it. I apologize.
    16     Q. Okay. Now, going on to Number 27. 33.            16    A. That's all right. I just want to make
    17 Norris 33 is going to be Plaintiff's Exhibit            17 sure I'm understanding your questions.
    18 Number 27.                                              18    Q. Were there additional policies and
    19        This is another policy and procedure,            19 procedures that got created and implemented in
    20 correct? Highlight Report - Sales?                      20 2012?
    21     A. Yes.                                             21        MS. MAINIGI: Objection; form.
    22     Q. Is this something that would also be             22    Q. I'll strike that. That's a bad
    23 provided to the -- strike that.                         23 question.
    24        The Bates number on the bottom, it's             24        MR. FULLER: This is 37.

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                                                   Page 254                                                Page 256
     1               ---                                       1    Q.
     2     (Cardinal-Norris Exhibit 28 marked.)
     3               ---
     4 BY MR. FULLER:
     5    Q. This is going to be Plaintiff's Exhibit
     6 Number 28, AG_0000154. This is a policy and
     7 procedure related to detecting or reporting
     8 suspicious orders and responding to threshold
     9 events.
    10       Do you see that?
    11    A. I see that's the title.
    12    Q. And the purpose of this? Read the
    13 purpose to us, please.                                 13     A. Yes. Although, I think you're somewhat
    14    A.                                                  14 mixing two time periods through the evolution of
                                                              15 our program. The small, medium, large and class
                                                              16 of trade designations for determining thresholds
                                                              17 was during the 2008 to 2012 period.
                                                              18     Q. Okay.
                                                              19     A.




                                                                                   .

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     1                                                         1




                                                              22    Q. And did it also compare them to other
                                                              23 customers prior to 2012?
                                                              24    A. Yes. But then we set -- each customer

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     1 had an individual threshold based on the                  1
     2 comparisons and then the particular factors
     3 applicable to that customer.
     4




     8     Q. Okay. So, again, my question is, did we
     9 compare them to like customers prior to 2012? And
    10 the answer I believe, if I understood you, is yes,
    11 we did?
    12     A. Comparing them to like customers was one
    13 of the ways that we set the threshold.
    14     Q.




                                                     Page 259                                              Page 261
     1                                                           1




                                                                11        (Discussion held off the record.)
                                                                12        MR. FULLER: I'm going to provide a
                                                                13 thumb drive to the court reporter. This is what
                                                                14 we used with Ms. Justice previously.
                                                                15               ---
                                                                16      (Cardinal-Norris Exhibit 30 marked.)
                                                                17               ---
                                                                18        MS. MAINIGI: What do you want us to do
                                                                19 with that?
                                                                20        MR. FULLER: You can hold it. I'm just
                                                                21 giving you a copy of what the witness is going to
                                                                22 see.
                                                                23 BY MR. FULLER:
                                                                24    Q. And what we've done, Ms. Norris, is

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     1 we've been provided with the --                         1        And what we did is we overlaid the
     2        MR. FULLER: You can read it on the               2 suspicious order reports that were provided to us
     3 flight home.                                            3 by your counsel as well. I want to say it's Bates
     4 BY MR. FULLER:                                          4 numbers 12, 13, and 14 of the specific production
     5     Q. We've taken the detailed distribution            5 in this case.
     6 information that we've been provided by                 6        MR. FULLER: And, Counsel, for your
     7 Cardinal --                                             7 benefit, also included on the thumb drive. Okay.
     8        MS. MAINIGI: What topic does this                8 BY MR. FULLER:
     9 relate to?                                              9     Q. And what I've done is I've had the guys
    10        MR. FULLER: Complying with the policies         10 who've worked with the ARCOS data for us create a
    11 and procedures and how they interpret them.            11 code so I could basically have a numeric value for
    12        MS. MAINIGI: I'm sorry. Which topic?            12 the suspicious order plugged in, you know, bring
    13 Are you on Notice 1 or Notice 2?                       13 up that suspicious order and then substitute the
    14        MR. FULLER: That would be somewhere on          14 shipments of that same drug family.
    15 Notice 1.                                              15 BY MR. FULLER:
    16 BY MR. FULLER:                                         16
    17     Q. So what we have there --
    18        MS. MAINIGI: So, Counsel -- I'm sorry
    19 to keep interrupting you, but is this West
    20 Virginia distribution data? Because I don't
    21 understand how this is in within the geographic
    22 scope of what's currently allowed to be questioned
    23 on or where it is in the topics.
    24        MR. FULLER: Okay. So this is Summit                                .

                                                  Page 263                                                   Page 265
     1 and Cuyahoga County.                                    1    A.
     2        MS. MAINIGI: Okay. And so these are --
     3        MR. FULLER: So it's not West Virginia.
     4        MS. MAINIGI: This is Notice 2, and it's
     5 the CT-1 specific topics then? Because we agreed        5    Q. Okay.
     6 we would do those --                                    6       MR. FULLER: So if you'll plug in Number
     7        MR. FULLER: Yes. It's application of             7 43 for me. Actually, hold on.
     8 the policies and procedures we've just been             8       (Discussion held off the record.)
     9 talking about.                                          9       MR. FULLER: Yeah, so plug in 43.
    10        MS. MAINIGI: Okay. So if it relates to          10       MS. MAINIGI: Do you have a hard copy of
    11 the Notice 2, CT-1 specific topics --                  11 this?
    12        MR. FULLER: No. It would fall under             12       MR. FULLER: Of this big 'ole
    13 CT-1 related to the policies and procedures that       13 spreadsheet? No.
    14 were in place, the standard operating procedures.      14       MS. MAINIGI: Or any part of it that
    15 And I want to see if I'm understanding what the        15 you're intending to ask her about?
    16 witness has testified to.                              16       MR. FULLER: No. I'm attaching the
    17        MS. MAINIGI: Okay. Well, we'll wait             17 thumb drive as the page saver.
    18 for the question.                                      18       If you'll click on the purple display.
    19 BY MR. FULLER:                                         19 BY MR. FULLER:
    20    Q. All right. So what you see in front of           20    Q.
    21 you, Ms. Norris, is the detailed distribution
    22 data -- now that they've changed the screen on
    23 us -- was the detailed distribution data for
    24 Cuyahoga and Summit Counties.


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     1   BY MR. FULLER:                                     1
     2
                                                                            you know, the orders on the 21st
                                                            4 were cut, not shipped.
                                                            5   Q. Correct.
                                                            6   A.
     7     Q. I'll take your word on it. And this
     8 facility had --
     9        MR. FULLER: If you'll scroll over to
    10 the right some to the date.
    11     Q. -- had a threshold event --
    12        MS. VELDMAN: Right here?
    13        MR. FULLER: Yep.
    14 BY MR. FULLER:
    15     Q. -- on January 21st of '14.
    16     A. I lost the highlighting.
    17     Q. Yeah. It moved where we were in the
    18 document.
    19        MS. VELDMAN: All right. Hold on.
    20        MR. FULLER: There you go. Now just
    21 slide it over.
    22 BY MR. FULLER:
    23     Q. January 21st of '14. Do you see that?
    24     A. January 21st, 2014.
                                                Page 267                                              Page 269
     1                                                      1




                   then on January 22nd, we see more
     7 shipments going to this facility for
     8 hydrocodone -- or excuse me -- oxycodone, correct?
     9    A. The line right below the blue part?
    10    Q. Yes, ma'am.
    11    A. Yes.
    12    Q. You see we have a quantity ordered and a
    13 quantity shipped of 12 on January 22nd?
    14    A. Yes.
    15    Q. And then on January 23rd, we actually
    16 have three different orders for three different
    17 amounts of oxycodone.
    18




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     1                                                       1 more copies of it -- what I've been provided is a
                                                             2 custodial file.
                                                             3        MS. MAINIGI: Are you representing this
                                                             4 is the entire custodial file that you were
                                                             5 provided?
                                                             6        MR. FULLER: It is what I was able to
                                                             7 find and what you guys produced. And when you
                                                             8 produced them, you didn't separate them out in any
                                                             9 way, so I pulled it together the best I can. And
                                                            10 if you want to at the end, we can go through all
                                                            11 the different Bates numbers that are there. But
                                                            12 for the record, the first page of this composite
                                                            13 exhibit is CAH_MDL_2804_00001537.
                                                            14 BY MR. FULLER:
                                                            15




    21        MR. FULLER: Gina, run 98 for me.
    22        MS. VELDMAN: 94?
    23        MR. FULLER: 98.
    24        MS. VELDMAN: Sorry.                           24        MS. MAINIGI: Objection; form.
                                                 Page 271                                                   Page 273
     1   BY MR. FULLER:                                      1 Objection; scope.
     2                                                       2       MR. FULLER: Sure.
                                                             3       MS. MAINIGI: I was waiting for him to
     4        Do you see that?                               4 actually finish his paragraph long sentence.
     5     A. I see one line highlighted, yes.               5 BY MR. FULLER:
     6     Q.                                                6    Q. Go ahead.
                                                             7    A.




    20                ---
    21     (Cardinal-Norris Exhibit 29 marked.)
    22                ---
    23        MR. FULLER: And I'll attach as
    24 Plaintiff's Exhibit Number 29 -- and there's two     24       MS. MAINIGI: Objection; form.

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     1 Objection; scope.                                       1 think, Plaintiff's Exhibit 29; is that correct?
     2    A. Yes.                                       2     A. 20- --
     3    Q. If there is no gap and we're shipping      3     Q. 29?
     4 additional orders of the same oxycodone to this  4     A. It says 25.
     5 pharmacy, we should see some sort of documented 5      Q. Does it have a sticker that says 25 on
     6 explanation in their diligence file; is that     6 it?
     7 correct?                                         7     A. Yes.
     8       MS. MAINIGI: Objection; form.              8        MS. MAINIGI: Yes.
     9    A. Unless -- not necessarily, because then    9     A.  The document you handed to me just
    10 perhaps their accrual period started over.      10 before break is labeled 25.
    11                                                        11       Q. Okay. Well, let's go with that. 25 it
                                                              12 is.
                                                              13       A. Okay.
                                                              14    Q. And you've seen this document before?
                                                              15    A. I have.
                                                              16    Q. And you know this to be the Memorandum
                                                              17 of Agreement between the United States Department
                                                              18 of Justice, the DEA, and Cardinal Health, correct?
                                                              19       A. Yes. The Settlement and Release
                                                              20 Agreement and Administrative Memorandum of
                                                              21 Agreement, yes.
                                                              22   Q. And for the record, it's
    23    Q. Okay.                                            23 CAH_MDL_PRIORPROD_ HOUSE_0004009. And this
    24    A. There is a note about a threshold                24 included allegations related to several of

                                                   Page 275                                                        Page 277
     1 increase in the file, by the way.                       1 Cardinal's facilities; is that right?
     2    Q. On that date?                                     2     A. Allegations, yes.
     3    A. No, not on that date. Just generally.             3     Q. Against the Auburn, Washington
     4    Q. Yeah, I know. I saw others, but ...               4 distribution center, the Lakeland, Florida
     5    A. Can we take a break --                            5 distribution center, the Swedesboro, New Jersey
     6        MS. MAINIGI: Sure.                               6 distribution center, the Dublin Court and
     7    A. -- maybe before we start --                       7 Stafford, Texas distribution center, the McDonough
     8        MS. MAINIGI: Yeah.                               8 facility in Georgia, the Valencia facility in
     9    Q. Sure.                                             9 California, the Denver facility in Colorado; is
    10    A. Can we do that before we start --                10 that correct?
    11    Q. Absolutely, yes, ma'am.                          11     A. Those are the facilities listed, yes.
    12        THE VIDEOGRAPHER: The time is now 4:46.         12     Q. And Cardinal -- well, strike that.
    13 Going off the record.                                  13        The allegations were that Cardinal was
    14        (Recess taken.)                                 14 shipping suspicious orders, correct?
    15        THE VIDEOGRAPHER: Okay. The time is             15     A. The allegation in Number 8 is that
    16 now 5:02. Back on the record.                          16 Cardinal Health failed to report suspicious
    17        MR. FULLER: Where's that thumb drive?           17 orders.
    18 We're going to attach that thumb drive as              18     Q. And then if you'll turn to -- and along
    19 Plaintiff's Exhibit 30.                                19 with this -- and you've -- strike that.
    20                ---                                     20        This document, you understand, is kept
    21     (Cardinal-Norris Exhibit 25 marked.)               21 in the normal course there at Cardinal. You've
    22                ---                                     22 reviewed it prior to today, and it appears to be
    23 BY MR. FULLER:                                         23 accurate and complete; is that fair?
    24    Q. Now, Ms. Norris, you have before you, I          24        MS. MAINIGI: Objection to form.

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     1     A. This document I'm looking at right now,         1
                                                            correct?
     2 I don't understand what you mean by "kept in the 2       A. It was the allegation that was made.
     3 normal course of business."                        3     Q. I'm asking you if you agree or disagree
     4     Q. Cardinal maintains it. They have it in      4 with it.
     5 their filing system somewhere, correct?            5        MS. MAINIGI: Objection; scope.
     6        MS. MAINIGI: Objection to form.             6     A. Cardinal Health made no admission
     7     A. Yes.                                        7 related to the allegation.
     8     Q. Okay. And it appears to be accurate and     8     Q. It denied the allegations, didn't it?
     9 complete compared to the one that you previously 9       A. It made no admission related to the
    10 reviewed prior to today; is that correct?         10 allegation.
    11     A. It does, yes.                              11     Q. Do you know whether Cardinal denied the
    12     Q. Okay. And if you'll turn to page 21.       12 allegations? And if you don't know, just say you
    13 Because you're also aware that there were         13 don't know. That's fine by me.
    14 immediate suspension orders issued to each of     14     A. Cardinal Health made no admission
    15 these facilities as well, correct?                15 related to the allegations.
    16     A. Yes.                                       16     Q. Do you know whether Cardinal Health
    17     Q. And on page 21, we have I believe it's     17 denied the allegations?
    18 page 2 of the Lakeland, Florida distribution      18        MS. MAINIGI: Objection; asked and
    19 center immediate suspension order; is that right? 19 answered.
    20     A. Yes.                                       20     A. Cardinal Health made no admission
    21     Q. And it says -- right above the diagram,    21 related to the allegations that were made.
    22 it says, "Retail pharmacies in Florida order an   22     Q. All right. Let's look at the first one.
    23 average of less than 8,400 dosage units of        23 Medipharm-Rx, Inc. Monthly average --
    24 hydrocodone per month."                           24 understanding that the average for pharmacies in

                                                    Page 279                                                 Page 281
     1        Do you see that?                                1 Florida is less than 4,800 -- received over
     2     A. I see that sentence.                            2 155,000 per month for at least a four-month time
     3     Q. And hydrocodone excludes oxycodone and          3 frame.
     4 other derivatives, correct? We're just looking at      4        Do you see that?
     5 hydrocodone here, correct?                             5    A. I see that, and it's actually 8,400 is
     6        MS. MAINIGI: Objection; scope.                  6 the average, not 4,800.
     7     A. I don't know the statement just because         7    Q. Excuse me. 8,400. I'm a little
     8 I'm not familiar enough -- I'm not a pharmacist,       8 dyslexic. I apologize.
     9 but --                                                 9        DRM Enterprise, Inc., received nearly
    10     Q. Fair enough. Fair enough. I'll strike          10 just shy of a million dosages over 22 months, an
    11 it.                                                   11 average of over 42,000 per month from a period of
    12        It's referencing hydrocodone per month,        12 January of '06 to October of '07.
    13 correct?                                              13        Do you see that?
    14     A. Yes.                                           14    A. I see that information.
    15     Q. Okay. "Respondents distributed                 15    Q. Jen-Mar Pharmacy Services, Inc., over an
    16 hydrocodone to pharmacies engaged in the diversion 16 11-month period, for the first three months
    17 of controlled substances as reflected in the chart    17 received an average of 2,700 pills. In the last
    18 below. Respondent knew or should have known that 18 eight months, 43,000 pills.
    19 the pharmacies were diverting hydrocodone into        19        Does that seem suspicious, a jump like
    20 other than legitimate medical, scientific, and        20 that, an increase in -- what is that? -- about 15
    21 industrial channels."                                 21 times from one month to the next?
    22        And Cardinal denies that, correct?             22        MS. MAINIGI: Objection; form.
    23     A. That is the allegation that was made.          23 Objection; scope.
    24     Q. And Cardinal denies that still to today,       24    A. Not necessarily. I don't know the

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     1 circumstances surrounding the increase in             1 not; is that fair?
     2 purchases.                                            2        MS. MAINIGI: Objection to form.
     3     Q. National Pharmacy, over a 9-month period       3 Objection; scope.
     4 received 70,000 plus pills of hydrocodone. And,       4    A. We want to understand the totality of
     5 again, all in the Florida area, correct?              5 the circumstances, yes.
     6     A. Out of the Lakeland distribution center.       6    Q. United Prescription Services, Inc., over
     7 So generally the Florida and surrounding area I       7 a four-month period, 287,000 hydrocodone pills
     8 believe is what they service.                         8 dumped into one pharmacy, correct?
     9     Q. O-R-G, Inc., 1.2 million over a                9    A. 287,025 pills per month average were
    10 five-month period, 242,000 pills plus per month      10 shipped to that pharmacy.
    11 for a five-month time frame.                         11    Q. Satellite Drug and Pharmacy, the first
    12        Does that cause you any concerns sitting      12 four months of a 19-month time frame, 375 pills on
    13 here today?                                          13 average. The next 15 months, 69,500 pills on
    14        MS. MAINIGI: Objection; form.                 14 average per month into that pharmacy. That's not
    15 Objection; scope.                                    15 normal, is it, that type of increase?
    16     A. No, because I don't know the totality of      16        MS. MAINIGI: Objection to form.
    17 the circumstances related to those distributions.    17 Objection to scope.
    18     Q. And what documents would you want to see      18    A. Not necessarily. Without the totality
    19 to make that determination?                          19 of circumstances, I cannot say.
    20        MS. MAINIGI: Objection; scope.                20    Q. And if you turn to the next page. Do
    21     A. The Know Your Customer questionnaire, as      21 you see paragraph D there?
    22 well as any related documentation obtained as part   22    A. Yes.
    23 of the due diligence.                                23    Q. And who is Eric Brantley; do you know?
    24     Q. So there should be due diligence related      24    A. The manager of quality and regulatory
                                                Page 283                                                 Page 285
     1 to these transactions, right?                         1
                                                            affairs.
     2     A. There should be -- the Know Your            2     Q. So was he the guy that manages all of
     3 Customer process should be followed if thresholds  3 quality and regulatory affairs for Cardinal during
     4 were increased.                                    4 this time?
     5     Q. We should see documentation or              5     A. No. He's a manager within our quality
     6 explanation why, correct?                          6 and regulatory affairs department.
     7     A. Yes.                                        7     Q. So what does he manage, what area?
     8     Q. Okay. What else would you want to see?      8     A. I believe he was originally brought on
     9 Would you want to see any site visits?             9 as part of the Internet pharmacy initiative after
    10        MS. MAINIGI: Objection; form.              10 we had the meeting with the DEA, and -- I'm not
    11 Objection; scope.                                 11 positive, so I can't say for sure his -- his
    12     A. If site visits were warranted by the       12 obligations expanded over time.
    13 information in the Know Your Customer and other 13       Q. Are you aware that in September of 2006,
    14 information we gathered, yes.                     14 he sent an e-mail to the DEA saying that Cardinal
    15     Q. If they're there, you'd want to see        15 was discontinuing its sales to a pharmacy referred
    16 them, right --                                    16 to as RKR, and they didn't discontinue their
    17        MS. MAINIGI: Objection; form.              17 sales?
    18     Q. -- if they're available?                   18        MS. MAINIGI: Objection; form.
    19        MS. MAINIGI: Objection; scope.             19 Objection; scope.
    20     A. Yeah.                                      20     A. I'm not aware of that e-mail, no.
    21     Q. Because part of the process is you want    21     Q. And that they continued to provide that
    22 to collect as much information as you can to make 22 pharmacy with over 393,000 hydrocodone products?
    23 the right decision when you're dealing with these 23        MS. MAINIGI: Is that a question?
    24 controlled substances and whether to ship them or 24        MR. FULLER: Yes.

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                                                      Page 286                                                            Page 288
     1         MS. MAINIGI: Objection; form.                         1 record, P-31 appears to be a privileged document
     2 Objection; scope.                                   2 which obviously was inadvertently produced. And
     3     A. That is an allegation that's made.           3 so we request that pursuant to the protective
     4     Q. And I think you've testified                 4 order, that you give us back all copies that you
     5 consistently that Cardinal would not ship an order  5 have of this document. We'll send you a follow-up
     6 that it knew -- or that should have known it would 6 letter, and we will put it on the privilege log.
     7 be diverted, correct --                             7 Obviously, we will not let Ms. Norris be
     8         MS. MAINIGI: Objection to form.             8 questioned on it.
     9     Q. -- or had the potential for being            9        MR. FULLER: Sure. Fair enough. So
    10 diverted?                                          10 just to put it on the record, the Bates number is
    11         MS. MAINIGI: Objection to form.            11 CAH_MDL_PRIORPROD_DEA07_00968964. And we'll hold
    12     A. Cardinal Health does not ship orders        12 that issue until it's resolved.
    13 that it has reported as suspicious.                13        MS. MAINIGI: Okay. Thank you.
    14     Q. And even going back to -- prior to          14        MR. FULLER: Sure.
    15 2007 -- strike that.                               15        UNIDENTIFIED SPEAKER: Hey guys, are we
    16         And if Cardinal had reason to know that    16 on mute?
    17 a pharmacy or drugstore was diverting product, it 17         MR. FULLER: Probably.
    18 would not ship to that pharmacy, correct?          18        UNIDENTIFIED SPEAKER: I think so.
    19     A. If Cardinal Health determined that          19        THE VIDEOGRAPHER: Can you hear us?
    20 customer posed an unreasonable risk of diversion, 20         UNIDENTIFIED SPEAKER: Yeah, we can hear
    21 it would not ship to that customer.                21 you.
    22         MR. FULLER: This is going to be            22        MR. FULLER: We were just whispering and
    23 Plaintiff's Exhibit Number 31, and it's Norris 25. 23 messing with you guys to see if you were really
    24                ---                                 24 paying attention.

                                                         Page 287                                                         Page 289
     1      (Cardinal-Norris Exhibit 31 marked.)                     1               ---
     2                 ---                                           2      (Cardinal-Norris Exhibit 32 marked.)
     3        MS. MAINIGI: Was this produced by                      3               ---
     4 Cardinal?                                                     4 BY MR. FULLER:
     5        MR. FULLER: It was.                                    5     Q. All right. The next document you're
     6        MS. MAINIGI: And you don't have a Bates                6 being provided is Norris 74, I think. Do you have
     7 number?                                                       7 it?
     8        MR. FULLER: Yeah, I apologize. I'm not                 8     A. I don't see that number on here.
     9 great on -- I'll see if I can get one, though, for            9     Q. No. It was a last minute add, but for
    10 the record.                                                  10 the record, DEA07_01198345.
    11        MS. MAINIGI: You know, let me -- I'd                  11        Have you seen this document before?
    12 like to take a break, please, before we start. I             12     A. I have.
    13 just want to check on privilege status.                      13     Q. Okay. And did you review it in your
    14        THE VIDEOGRAPHER: The time is now 5:18.               14 preparation for the deposition today?
    15 Going off the record.                                        15     A. I did.
    16        (Recess taken.)                                       16     Q. And it appears to be a document or an
    17        THE VIDEOGRAPHER: Okay. The time is                   17 e-mail from Steve -- is it Reardon?
    18 now 5:24. Back on the record.                                18     A. Reardon.
    19        MS. MAINIGI: Counsel, what you just                   19     Q. Reardon. And this is a document that's
    20 marked as P-31 --                                            20 maintained in Cardinal's normal business, I'm
    21        MR. FULLER: I have the Bates number, if               21 assuming, on its e-mail server, correct?
    22 it helps.                                                    22     A. In accordance with its document
    23        MS. MAINIGI: Oh, you do? Okay. I                      23 retention policies, yes.
    24 think we found it, but just for the purpose of the           24     Q. Fair enough. And does this document and

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     1 the attachments thereto appear to be fair and          1
                                                             DEA's   expectations  and that it is not dictated to
     2 accurate to what the copy you reviewed?             2 us by the agency pursuant to a regulatory action."
     3     A. Yes.                                         3        Correct?
     4     Q. Okay. And this is actually a summary of      4     A. I see that sentence.
     5 a meeting that HDMA had with DEA, correct?          5     Q. And was this prior to the initiation of
     6     A. That's one part of it, yes.                  6 the regulatory action --
     7     Q. And this is an e-mail from Mr. Reardon       7        MS. MAINIGI: Objection to form.
     8 to a Mr. Brantley, who we mentioned earlier,        8     Q. -- or do you know?
     9 Carolyn McPherson, as well as others; is that       9     A. I believe that the orders to show cause
    10 right?                                             10 were issued after that.
    11     A. It is.                                      11     Q. And Mr. Reardon wanted to try to prevent
    12     Q. And what's the subject?                     12 a regulatory action being forced to adopt any sort
    13     A. The subject is "DEA suspicious order        13 of policies and procedures on suspicious order
    14 monitoring."                                       14 monitoring program, correct?
    15     Q. And it says, "The HDMA met with DEA 15             A. Mr. Reardon understood the obligations
    16 officials last Friday, September 7th, to discuss   16 that the DEA was implementing, the new obligations
    17 the agency's current policy position on suspicious 17 relating to the shipping requirement, and wanted
    18 orders of controlled substances."                  18 to make sure that we had a program implemented
    19        Do you see that there?                      19 that would comply with those new -- the new
    20     A. I see that sentence, yes.                   20 guidance.
    21     Q. And then it talks about a summary. And 21          Q. But you said they told you about them
    22 then it says, "The DEA is setting a new standard   22 way back in 2006, right?
    23 with which we must comply."                        23     A. The initial communication from
    24        Correct?                                    24 Rannazzisi was in 2006.

                                                  Page 291                                                  Page 293
     1     A. Correct.                                        1  Q.   And  you  still hadn't done anything to
     2     Q. And then Mr. Reardon says, "This is all      2 implement them now in September of 2007, correct?
     3 coming about as the result of problems with         3     A. I cannot --
     4 Internet pharmacies and controlled substance        4        MS. MAINIGI: Objection; form.
     5 diversion."                                         5     A. I cannot presently say the corporation
     6        Isn't that right?                            6 doesn't have present knowledge of the actions that
     7     A. That is what this sentence says.             7 we took and the timing of what those actions that
     8     Q. It then talks about that they                8 we took in that period.
     9 recently -- recently they suspended ABC -- which I 9      Q. So if I understand you correctly, you
    10 think, if you and I are on the same page, is       10 don't have knowledge as to what actions you,
    11 AmerisourceBergen, correct?                        11 Cardinal, took during that time frame; is that
    12     A. Correct.                                    12 correct?
    13        MS. MAINIGI: It's ABC registration.         13     A. I don't know the timing and the actions
    14        MR. FULLER: Yeah. Thank you. I got          14 taken during the time period --
    15 it.                                                15     Q. So you can't tell me --
    16 BY MR. FULLER:                                     16     A. -- based on current knowledge.
    17     Q. "They recently suspended an ABC             17     Q. So sitting here after prepping for
    18 registration and used the suspension to get them   18 three, three and a half weeks, whatever it was,
    19 to implement a complex and onerous suspicious      19 you still can't tell us what action Cardinal took
    20 order monitoring program that meets the criteria   20 from the time it was told it had a shipping
    21 spelled out in the HDMA meeting summary."          21 requirement for almost a year, as to what they did
    22        And then he goes on to say at the           22 in relation to that new obligation or what they
    23 bottom, "We need to be proactive and implement a 23 considered a new obligation?
    24 program that we develop that will satisfy the      24        MS. MAINIGI: Objection to form.

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     1 Misstates her testimony.                             1
                                                           "Key takeaways from the meeting were."
     2     A. The corporation does not have present      2     A. I'm sorry. Repeat your question.
     3 knowledge about the actions and timing of the     3     Q. Sure. In this summary being provided by
     4 actions that were taken during that period        4 HDMA to its members, which Cardinal is one of, as
     5 presently.                                        5 you testified earlier, a board member and an
     6     Q. How doesn't the corporation know what it 6 executive committee meeting and whatever else,
     7 did?                                              7 correct?
     8        MS. MAINIGI: Objection.                    8     A. Correct.
     9     Q. Was it taking any medication in the time   9     Q. It indicates the DEA is still of the
    10 that would inhibit its ability to remember?      10 position that the registrants have a shipping
    11        MS. MAINIGI: You don't need to answer 11 requirement to either hold shipment or do due
    12 that question.                                   12 diligence before the order gets shipped if it's a
    13     Q. How does the corporation not know what 13 suspicious order, correct?
    14 it did for a year?                               14     A. I'm sorry. Can you repeat the question
    15        MS. MAINIGI: Objection to form.           15 one more time?
    16     A. The corporation does not presently have   16     Q. Sure. Let's just keep going.
    17 knowledge of the timing and actions taken during 17        They say, "Simply complying with the
    18 the period presently.                            18 suspicious orders, regulatory requirement, does
    19     Q. Does it expect to somehow magically get 19 not mean in the agency's view that the registrant
    20 knowledge at some point in time?                 20 is maintaining effective program to detect and
    21        MS. MAINIGI: Objection to form.           21 prevent diversion."
    22 Outside the scope.                               22        Do you see that?
    23     A. I believe this case and the discovery     23     A. I do.
    24 related to it is continuing.                     24     Q. Cardinal knew that as far back as the
                                                Page 295                                                 Page 297
     1    Q. So you think the corporation may               1
                                                            first Rannazzisi letter in I believe it was
     2 discover what it did ten or eleven years ago at    2 September of '06, correct?
     3 some future point in time? Is that your            3         MS. MAINIGI: Objection to form.
     4 testimony?                                         4     A. That is the information provided in the
     5        MS. MAINIGI: Objection to form.             5 initial Rannazzisi letter.
     6    A. The corporation cannot presently say         6     Q. Okay. And then also the DEA goes on and
     7 that -- speak regarding what it was doing in the   7 indicates to the HDMA that they do not have the
     8 timing during that period.                         8 resources to inspect every pharmacy; therefore, it
     9    Q. When can it speak to when it first took      9 is important that the distributor know their
    10 action; do you know?                              10 customers, correct?
    11        MS. MAINIGI: Objection to form.            11     A. Correct.
    12    A. No.                                         12     Q. You would agree with me that that is a
    13    Q. So sitting here today, the corporation      13 good idea on behalf of Cardinal to know who it's
    14 can't answer when it first took action related to 14 distributing controlled substances to, correct?
    15 the Rannazzisi letter of 2006, correct?           15         MS. MAINIGI: Objection; scope.
    16    A. I cannot say right now.                     16 Objection; form.
    17    Q. Turn to the next page, please. Do you       17     A. The Knowing Your Customer is a component
    18 see "Key Takeaways"?                              18 of our anti-diversion program.
    19    A. Yes.                                        19     Q. And as you testified to earlier, even
    20    Q. And, there again, in this summary from      20 prior to that program going into place, you still
    21 HDMA being provided to its members is again the 21 would take steps to know the customer; is that
    22 DEA's position on suspicious orders and that they 22 fair?
    23 have a stop shipment or a due diligence           23     A. We've always had the anti-diversion
    24 requirement, correct? I'm sorry. It's under the   24 program, the suspicious order monitoring program.


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     1 But, yes, but Know Your Customer has been a part    1     A. I don't recall specifically.
     2 of that all along, yes.                             2     Q. So sitting here today, you don't know if
     3     Q. And I'm still taken aback.                   3 there was a shipping requirement in 2007, correct?
     4        Based on when Cardinal became informed       4        MS. MAINIGI: Objection to form.
     5 of this shipping requirement by the DEA, sitting    5 Misstates her testimony.
     6 here today, you can't tell us when they took any    6     A. My understanding is our suspicious order
     7 action in that regard, correct? Actually, let's     7 monitoring system, including the shipping
     8 backstep it.                                        8 requirement, was implemented in late 2007.
     9        The policies and procedures that were        9     Q. Well, just a minute ago you couldn't
    10 entered into in the latter part of '08 -- we       10 tell me when y'all first did something in relation
    11 looked at some of them earlier, right, December of 11 to the new shipping requirement.
    12 '08?                                               12        Wasn't that your testimony?
    13     A. Mm-hmm.                                     13        MS. MAINIGI: Objection to form.
    14     Q. Do you remember that?                       14 Misstates her testimony.
    15     A. Yes.                                        15     A. I don't believe so. I believe we were
    16     Q. Okay. Some of those, I believe -- and       16 talking about the period between 2006 and 2000- --
    17 correct me if I'm wrong -- include a shipping      17 the receipt of the first letter and when we did
    18 requirement; do they not?                          18 implement. We never established when we
    19     A. The policy that we looked at mentions       19 implemented.
    20 held orders.                                       20     Q. So you believe that you implemented a
    21     Q. So we know at least two years after         21 policy and procedure for the shipping requirement
    22 Cardinal was aware of the shipping requirement,    22 in late 2007?
    23 they did something, right?                         23        MS. MAINIGI: Objection to form.
    24        MS. MAINIGI: Objection; form.               24     A. We initiated our suspicious order
                                                Page 299                                              Page 301
     1     Q. September of '06 to December of '08. I       1 monitoring system in late 2007. I cannot speak to
     2 was giving you the benefit of the doubt. It's       2 policies and procedures.
     3 actually 26 months, a little over two years,        3     Q. Okay. Fair enough. Who is Dendright?
     4 correct?                                            4     A. Dendright?
     5     A. We have a policy dated 2008 that             5     Q. Yes, ma'am.
     6 mentions held orders. It does not -- it does not    6     A. My understanding is that Dendright is a
     7 make a statement about prior time period.           7 third party we engaged to perform, I believe, site
     8     Q. And sitting here today, can you tell the     8 visits.
     9 jury if Cardinal did anything prior to that policy  9               ---
    10 related to what Cardinal considers new obligation 10       (Cardinal-Norris Exhibit 33 marked.)
    11 as far as shipping requirement?                    11               ---
    12        MS. MAINIGI: Objection to form.             12         MR. FULLER: I apologize. This is
    13     A. Yes. Our anti-diversion program was         13 another e-mail that was produced. It's Norris 43.
    14 implemented -- anti-diversion system, suspicious 14 It will be Plaintiff's 33. And I'll get the Bates
    15 order monitoring system, was implemented in late 15 number to supplement it, Counsel.
    16 2007.                                              16         MS. MAINIGI: Okay.
    17     Q. And did it include a shipping               17 BY MR. FULLER:
    18 requirement?                                       18     Q. Ms. Norris, do you know if you've seen
    19     A. Yes.                                        19 this document before?
    20     Q. And where is the policy that                20     A. I have not.
    21 specifically provides the shipping requirement?    21     Q. And the subject line of this e-mail
    22     A. I don't have a copy of that particular      22 chain is "Lois & Clark 0102."
    23 policy.                                            23         Do you see that?
    24     Q. Did you review it?                          24     A. I see that subject line, yes.

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     1    Q. I guess you could say "Lois & Clark             1   MS.  MAINIGI:     Objection;  form.
     2 #0102."                                          2 Misstates her testimony.
     3    A. I'm assuming that's maybe their customer 3       Q. Actually, let me ask it differently. It
     4 number or something like that.                   4 didn't have a specific system in place to report
     5    Q. Sure. If you go back to the very           5 suspicious orders?
     6 beginning of it, there's an e-mail from a Kelly  6        MS. MAINIGI: Objection to form.
     7 Segee --                                         7     A. It had the -- as part of the program, it
     8    A. Yes.                                       8 had the system in place to calculate the
     9    Q. -- related to increases in thresholds.     9 algorithms to make the suspicious -- to make the
    10       Do you see those there?                   10 ingredient limit reports as required.
    11    A. I see the numbers she lays out.           11     Q. Okay. Right. No, I got that.
    12    Q. And if you go to the first page -- and    12        But, again, did Cardinal Health have a
    13 you can read the rest of it if you'd like.      13 system for detecting all suspicious orders prior
    14    A. Yes. Please give me a minute.             14 to January 2007?
    15    Q. Sure.                                     15        MS. MAINIGI: Objection to form.
    16    A. Okay.                                     16     A. I believe I stated that we had a program
    17    Q. So, Ms. Norris, if you look, Michael      17 in place to make the reports that we were required
    18 Mone sends an e-mail on January 25th. Just the 18 to make to the DEA on the ingredient limit report.
    19 second e-mail in the chain.                     19        MS. MAINIGI: Mike, I'd like to go off
    20    A. Yes.                                      20 the record for just a couple of minutes.
    21    Q. It says the Dendright report. Is that     21        MR. FULLER: Sure.
    22 the company you were referring to earlier that  22        MS. MAINIGI: I think we're about ten
    23 would provide -- what did you say? Site visits? 23 minutes out.
    24    A. I believe that's a third party we         24        THE VIDEOGRAPHER: The time is now 5:48.

                                                 Page 303                                                       Page 305
     1 engaged to perform site visits, yes.                  1 Going off the record.
     2     Q. For what time period was Dendright             2        (Recess taken.)
     3 providing site visits?                                3        THE VIDEOGRAPHER: The time is now 5:58.
     4     A. I don't recall specifically.                   4 Back on the record.
     5     Q. Are they still providing site visits?          5        MS. MAINIGI: I think there was some
     6     A. We have a third party providing certain        6 confusion, Mr. Fuller, before the break, so
     7 site visits. I can't remember if it's Dendright.      7 Ms. Norris is just going to clarify so that it's
     8     Q. But at least apparently in 2008, it was        8 clear.
     9 Dendright?                                            9 BY MR. FULLER:
    10     A. They performed this site visit, it            10    Q. Okay. Ms. Norris, what do you need to
    11 appears, yes.                                        11 clarify?
    12     Q. And when you say "site visit," is that        12    A. I think we're still talking past each
    13 like the investigative visit to a particular         13 other. On the suspicious order reporting
    14 pharmacy?                                            14 requirement, prior to 2007 Cardinal Health
    15     A. Yes. At the request of QRA, they would        15 complied with its suspicious order reporting
    16 go out to perform a site visit.                      16 requirement in the statute.
    17     Q. So prior to 2007, did Cardinal have a         17        In doing -- but they did that by
    18 system for detecting all suspicious orders?          18 submitting the ingredient limit reports and the
    19     A. Prior to 2007, Cardinal Health had a          19 excessive order reports. That constituted our
    20 suspicious order monitoring program that produced    20 suspicious order reporting.
    21 the reports as required by the DEA, the ingredient   21        MS. MAINIGI: And do you want to draw
    22 limit report, the excessive order report.            22 his attention to this document?
    23     Q. So it did not have a specific suspicious      23    A. And as further set forth in Cardinal
    24 order program, correct?                              24 Exhibit 20, Norris Exhibit 20, that we talked


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     1 about earlier.                                        1 this topic, you mentioned two reports when you
     2     Q. Okay. And did you talk about this              2 talked about the prior to '07 suspicious order
     3 change in your testimony with your counsel on the     3 reporting, the ingredient --
     4 break?                                                4     A. The ingredient limit report.
     5     A. It's not a change in my testimony. It's        5     Q. And then another one.
     6 a clarification. And we did talk about the need       6     A. Excessive order reports.
     7 to make the clarification, yes.                       7     Q. Where would I find those reports?
     8     Q. And based on the conversation you had,         8     A. My understanding is that some of them
     9 you've now come back in and clarified or changed      9 have been produced.
    10 or altered, whatever you want to label it, your      10     Q. And where does Cardinal keep those
    11 testimony, correct?                                  11 reports?
    12        MS. MAINIGI: Objection to form.               12        MS. MAINIGI: Objection; outside the
    13 Misstates her testimony.                             13 scope.
    14     A. I'm clarifying the position that I've         14     Q. Are they electronic reports? I think
    15 been testifying to throughout today.                 15 you testified earlier they were.
    16     Q. Okay. So I'll ask the question again.         16        MS. MAINIGI: Objection to form.
    17 Did Cardinal have in place a system for reporting    17     A. No, I didn't testify that those were
    18 all suspicious orders prior to 2007?                 18 electronic. I -- the reports I have seen appear
    19     A. Yes.                                          19 to be facsimiles, faxes, that were sent back and
    20                ---                                   20 forth. So I guess maybe that's electronic.
    21      (Cardinal-Norris Exhibit 34 marked.)            21     Q. Are they handwritten?
    22                ---                                   22     A. It's a form that's filled out with
    23     Q. Now, as Norris 19, I'm going to pass you      23 handwriting on it, yes.
    24 what has been marked as Plaintiff's 34. And I'm      24        MS. MAINIGI: I believe Ms. Norris
                                                Page 307                                                Page 309
     1 willing to bet you've looked at this before today.    1 referred you to Exhibit 20, which is a policy that
     2    A. Yes.                                            2 contains reference to them.
     3    Q. Does that appear to be a true and               3        MR. FULLER: Thank you.
     4 accurate copy of the Memorandum of Agreement          4 BY MR. FULLER:
     5 between the United States Department of Justice,      5     Q. Okay. So I believe -- and I may be
     6 the DEA, and Cardinal Health?                         6 wrong, but I believe earlier you testified that
     7    A. Yes. It's not the fully executed copy,          7 those were electronic reports.
     8 but ...                                               8        Are you now saying they are not
     9    Q. And if you turn to page 2 of that               9 electronic reports?
    10 document.                                            10        MS. MAINIGI: Objection to form.
    11    A. Yes.                                           11     A. The ingredient limit report is prepared
    12    Q. Do you see there in the first paragraph,       12 electronically. The excessive order reports are
    13 "Cardinal admits that its due diligence efforts      13 filled out when one comes up and sent to the DEA.
    14 for some pharmacy customers and its compliance       14     Q. So that's a system that's done manually,
    15 with the 2008 MOA in certain respects were           15 correct?
    16 inadequate."                                         16     A. Yes. These are the orders that are
    17         Correct?                                     17 identified in the distribution center as the folks
    18    A. I see that language, yes.                      18 are picking them.
    19    Q. Does Cardinal agree with that?                 19     Q. And based on the -- now I'm switching
    20    A. "Cardinal agrees that its due diligence        20 back gears to Exhibit 34.
    21 efforts for some pharmacy customers in certain       21     A. Okay.
    22 respects were inadequate and thus its compliance     22     Q. All right. So based on this Memorandum
    23 with the 2008 MOA."                                  23 of Understanding entered in 2012, there were fines
    24    Q. Oh, and then we -- before we finish with       24 of combined, I guess, $44 million paid by Cardinal


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     1 for its breaches of the Controlled Substances Act,   1actually adopting that as a policy, procedure, or
     2 correct?                                            2 in any other form or format, correct?
     3     A. There was a settlement of 44 -- a total      3        MS. MAINIGI: Objection; misstates her
     4 of $44 million. And in connection -- in the         4 testimony. Objection; time period.
     5 settlement agreement, there was an admission, a     5     A. That is the process that we were
     6 limited admission, as to certain actions by         6 following in order to comply with our obligations
     7 Cardinal.                                           7 under the suspicious reporting regulation as we
     8     Q. Well, it says the "Covered Conduct: The      8 talked about earlier pursuant to this policy.
     9 conduct in the February 2nd, 2012 order to show     9     Q. Sure. You explained that -- my question
    10 cause, the failure to maintain effective controls  10 is, did Cardinal ever formally adopt it? I think
    11 against diversion; C, the failure to detect and    11 we saw Mr. Reardon sign off on a policy and
    12 report suspicious orders and the failure to adhere 12 procedure previously approving it and accepting
    13 to the 2008 MOA."                                  13 it.
    14         Is that what it says?                      14        MS. MAINIGI: I'll let her answer the
    15     A. That's the definition of covered            15 question.
    16 conduct.                                           16     A. I don't specifically recall.
    17     Q. Okay. Now, let me show you -- and I         17     Q. Okay.
    18 know we're getting close on time.                  18        MS. MAINIGI: We are at seven hours, as
    19     A. Which is what the settlement relates to.    19 I understand it. The deposition is now over.
    20                 ---                                20 We will designate the transcript highly confidential,
    21      (Cardinal-Norris Exhibit 35 marked.)          21 and we will read and sign.
    22                 ---                                22        MR. FULLER: I'd like to finish with the
    23     Q. All right. And that's going to be           23 last exhibit that's already been entered.
    24 Exhibit 35.                                        24        MS. MAINIGI: I'm sorry. It's seven
                                                 Page 311                                               Page 313
     1        Now, ma'am, before we jump in real           1 hours. We're done.
     2 briefly to those threshold changes, you referenced  2       MR. FULLER: Okay. Well, we believe
     3 a 1998 report to the U.S. Attorney General. At      3 that will be good cause shown.
     4 what point in time did Cardinal adopt that          4       MS. MAINIGI: Well, we don't agree
     5 document as its policies or procedures?             5 pursuant to the agreement that we have. Thank
     6     A. 1998 when we received notice of it, I        6 you.
     7 believe.                                            7       MR. FULLER: Thank you.
     8     Q. So Cardinal officially adopted it into       8       We can go off the record.
     9 its policies and procedures in 1998 --              9       THE VIDEOGRAPHER: The time is now 6:09.
    10        MS. MAINIGI: Objection; time period.        10 This concludes the deposition. Going off the
    11     Q. -- correct?                                 11 record.
    12     A. I don't know the answer about policies      12       (Signature not waived.)
    13 and procedures. That was the guidance we received 13                 ---
    14 in 1998, which we followed.                        14       Thereupon, at 6:09 p.m., on Tuesday, July 7,
    15     Q. But this was a report provided to the       15 2018, the deposition was concluded.
    16 U.S. Attorney General. You mentioned that          16                ---
    17 earlier, correct?                                  17
    18     A. Correct, by the DEA.                        18
    19     Q. Not provided to the wholesale               19
    20 distributors?                                      20
    21     A. It wasn't a report directly to the          21
    22 wholesale distributors. It was to the Attorney     22
    23 General.                                           23
    24     Q. And you have no knowledge of Cardinal       24


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      1:17-md-02804-DAP Doc #:- 1957-11
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                                               Further81Confidentiality
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                                                                             Review
                                                             Page 314                                                           Page 316
     1         CERTIFICATE                                               1         DEPOSITION ERRATA SHEET
     2 STATE OF OHIO     :                                               2 Deposition of: Jennifer R. Norris
                     SS:                                                 3 Matter of: National Prescription Opiate Litigation
     3 COUNTY OF FRANKLIN :
                                                                         4 Page Line Correction or Change and Reason
     4
                                                                         5 ___ ____ ___________________________________________
     5       I, JENNIFER R. NORRIS, do hereby certify that
                                                                         6 ___ ____ ___________________________________________
     6 I have read the foregoing transcript of my
     7 cross-examination given on July 7, 2018; that together            7 ___ ____ ___________________________________________
     8 with the correction page attached hereto noting changes           8 ___ ____ ___________________________________________
     9 in form or substance, if any, it is true and correct.             9 ___ ____ ___________________________________________
    10                 ______________________________                   10 ___ ____ ___________________________________________
                       JENNIFER R. NORRIS                               11 ___ ____ ___________________________________________
    11
                                                                        12 ___ ____ ___________________________________________
    12       I do hereby certify that the foregoing
                                                                        13 ___ ____ ___________________________________________
    13 transcript of the cross-examination of JENNIFER R.
                                                                        14 ___ ____ ___________________________________________
    14 NORRIS was submitted to the witness for reading and
    15 signing; that after she had stated to the undersigned            15 ___ ____ ___________________________________________
    16 Notary Public that she had read and examined her                 16 ___ ____ ___________________________________________
    17 cross-examination, she signed the same in my presence on         17 ___ ____ ___________________________________________
    18 the _______ day of _________________________, 2018.              18 ___ ____ ___________________________________________
    19                                                                  19 ___ ____ ___________________________________________
                         ______________________________                 20 ___ ____ ___________________________________________
    20                   NOTARY PUBLIC - STATE OF OHIO
                                                                        21 ___ ____ ___________________________________________
    21
                                                                        22 ___ ____ ___________________________________________
    22 My Commission Expires:
    23 _________________, ______.                                       23 ___ ____ ___________________________________________
    24                                                                  24 Date ______________ Signature ________________________

                                                             Page 315
     1         CERTIFICATE
     2 STATE OF OHIO   :
                            SS:
     3 COUNTY OF FRANKLIN :
     4     I, Carol A. Kirk, a Registered Merit Reporter
         and Notary Public in and for the State of Ohio, duly
     5 commissioned and qualified, do hereby certify that the
         within-named JENNIFER R. NORRIS was by me first duly
     6 sworn to testify to the truth, the whole truth, and
         nothing but the truth in the cause aforesaid; that the
     7 deposition then given by her was by me reduced to
         stenotype in the presence of said witness; that the
     8 foregoing is a true and correct transcript of the
         deposition so given by her; that the deposition was
     9 taken at the time and place in the caption specified and
         was completed without adjournment; and that I am in no
    10 way related to or employed by any attorney or party
         hereto or financially interested in the action; and I am
    11 not, nor is the court reporting firm with which I am
         affiliated, under a contract as defined in Civil Rule
    12 28(D).
    13      IN WITNESS WHEREOF, I have hereunto set my
         hand and affixed my seal of office at Columbus, Ohio on
    14 this 10th day of July 2018.
    15
    16
    17
    18                 ______________________________
                         CAROL A. KIRK, RMR
    19             NOTARY PUBLIC - STATE OF OHIO
    20 My Commission Expires: April 9, 2022.
    21           ---
    22
    23
    24

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